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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                      Southern Division

   BLEACHTECH L.L.C., on behalf of itself
   and all others similarly situated,                       Case No. 2:14-cv-12719

             Plaintiff,
                                                            Hon. Denise Page Hood
    vs.

   UNITED PARCEL SERVICE CO.,                               CLASS ACTION

             Defendant.

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                                      AMENDED COMPLAINT

          Plaintiff BleachTech L.L.C., on behalf of itself and all others similarly situated, files this
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  Amended Complaint against United Parcel Service Co. In support hereof, BleachTech alleges as

  follows:

                                          INTRODUCTION

         1.       This is a class action seeking relief on behalf of all persons who contracted with

  UPS to ship an item and purchased additional coverage for loss or damage from UPS over

  certain amounts as set forth in this Amended Complaint. UPS has for years been systematically

  overcharging customers for the first $100 of “declared value” coverage, which UPS, in its

  published daily, standard and retail rates, promises to provide at no additional charge for each

  package. UPS thus accepts liability for loss or damage for all shipments up to $100 as part of its

  service at no additional charge. Customers shipping packages with a value in excess of $100 are

  able to purchase additional coverage for a fee.

         2.       For example, the July 9, 2013, UPS Rate and Service Guide (“Service Guide”;

  Exh. B, attached) states that “UPS’s liability for loss or damage to a shipment is limited to $100

  without a declaration of value” and “[t]he maximum declared value is $50,000.00 per package.

  UPS’s liability for loss or damage can be increased up to $50,000.00 (subject to terms and

  conditions) by making a declaration of value for an additional charge.”

         3.       The pricing table for “Value Added Services” for “Declared Value for Carriage”

  in the Service Guide then specifies the price for additional declared value coverage as follows for

  each package:




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           $0.00-$100.00                                $0.00
           $100.01–$50,000.00                           $0.85
           for each $100.00 (or portion
           of $100.00) of the total value
           declared

           Minimum                                      $2.55

  Thus, UPS plainly states in its Service Guide that the first $100 of coverage is at no additional

  charge, whether or not a shipper purchases additional declared value coverage.

         4.      Despite UPS’s promise that the first $100 of declared value coverage was at no

  additional charge, UPS systematically charged shippers an additional amount for the first $100

  coverage when they purchase excess declared value coverage over the amount that would

  otherwise equate with the minimum charge for the corresponding shipment.

         5.      For several years, shipping consultants—people who make a living by auditing

  large companies’ shipping costs looking for savings and overcharges—have known about this

  problem.

         6.      According to shipping consultants, UPS’s practice of charging for the first $100

  has been repeatedly brought to UPS’s attention. When that occurs, UPS routinely acknowledges

  the overcharge and credits the account, but it does not fix the problem.

         7.      UPS continues to overcharge most companies and individuals as they lack the

  means or sophistication to hire professional shipping consultants.

         8.      UPS’s overcharge for each affected package is small. UPS’s overcharges are

  typically less than $1.00 per shipment.

         9.      UPS’s overcharges for the first $100 of value for packages shipped with an excess

  declared value reflect a breach of contract with, and intentional effort to mislead, its customers.

  As part of this effort, UPS has implemented a practice of crediting with refunds those few



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  customers who complain about the overcharge, knowing that the number of customers who do

  not catch UPS’s breach of contract will far outnumber those that do.

                                                  PARTIES

         10.        This Amended Complaint seeks certification of a class that excludes persons who

  do not ship directly with UPS (i.e., did not have a UPS account at the time of shipment and did

  not ship at a UPS-owned facility), and therefore did not enter into a contract with UPS. It also

  excludes all shippers who did not contract with UPS for declared value coverage charged

  pursuant to the published pricing table in its Daily, Standard and Retail Service Guides.

         11.        Plaintiff BleachTech is a privately held Ohio company operating chlor-alkali

  plants to produce sodium hypochlorite (bleach) in Ohio and Virginia, with its principal place of

  business in Seville, Ohio. BleachTech’s customers are reside in the midwestern United States,

  including Michigan.

         12.        From time to time, BleachTech uses UPS’s package shipping services. For some

  of these packages, BleachTech purchases additional coverage with an excess declared value over

  $300. For instance:

               a.       On September 17, 2012, BleachTech paid for shipping of a package

                        with a declared value of $500;

               b.       On January 22, 2013, BleachTech paid for shipping of a package

                        with a declared value of $495;

               c.       On March 6, 2013, BleachTech paid for shipping of a package with a

                        declared value of $486;

               d.       On July 22, 2013, BleachTech paid for shipping of a package with a

                        declared value of $1,634;




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               e.       On August 21, 2013, BleachTech paid for shipping of a package

                        with a declared value of $326;

               f.       On September 19, 2013, BleachTech paid for shipping of a package

                        with a declared value of $503.50;

               g.       On November 5, 2013, BleachTech paid for shipping of a package with a

                        declared value of $1483.90 with Tracking Number

                        1ZX259760399524718; and

               h.       On November 26, 2013, BleachTech paid for shipping of a package

                        with a declared value of $400 with Tracking Number

                        1Z4902170367747850.

         13.        In each instance listed above, BleachTech paid an additional charge for the first

  $100 of the declared value coverage.

         14.        Before filing this lawsuit, BleachTech, through its previous counsel, gave UPS

  notice of its claims that UPS had overcharged it for excess declared value coverage in at least

  one of the ways set forth in UPS’s Tariff/Terms and Conditions of Service—United States (UPS

  Terms). A true and correct copy of the July 8, 2013, version of the Terms is attached as Exhibit

  A. Plaintiff does not concede that UPS’s notice provisions are applicable or enforceable.

         15.        On information and belief, UPS has the capacity to identify by date and invoice

  detail, including charges for excess declared value coverage, shipments made by its customers

  using customer name, account number, and tracking numbers, through computer records and

  databases over which it has possession, custody, control.

         16.        Defendant UPS is a Delaware corporation and a wholly owned subsidiary of

  United Parcel Service, Inc. UPS has its global headquarters at 55 Glenlake Parkway NE, Atlanta,




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  Georgia 30328.

                                     JURISDICTION AND VENUE

           17.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(d)

   because there are more than 100 class members and the aggregate amount in controversy

   exceeds $5,000,000, exclusive of interest, fees, and costs and at least one Class member is a

   citizen of a state different from Defendant.

           18.     UPS transacts business in Michigan, is registered to do business in Michigan,

   has designated an agent for service of process in this District, advertises and markets its

   products in Michigan, disseminates the representations set forth herein throughout Michigan,

   and derives substantial income from the sale and performance of services in Michigan,

   including without limitation package delivery and excess declared value income for

   shipments originating in or delivered to locations in Michigan and in this District.

           19.     Pursuant to 28 U.S.C. §1391 venue is proper in this District because a

   substantial part of the events, omissions and acts giving rise to the claims herein occurred

   in this District, Defendant is located in this District, and Defendant is subject to personal

   jurisdiction in this District.

                                    FACTS COMMON TO THE CLASS

           20.     UPS represents that it charges its shippers fees pursuant to the UPS

   Terms, which contains “the general terms and conditions of contract under which United

   Parcel Service (‘UPS’) is engaged in the transportation of shipments.” See Exhibit A at

   1.

           21.     Under Section 50 of the UPS Terms, UPS’s liability for each domestic

   package is limited to a value of $100. Id. In order to increase UPS’s limit of liability for




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   loss or damage above $100, the shipper must declare a value in excess of $100 for each

   package subject to maximum declared values and pay an additional charge. Id.

          22.     The cost for certain Value-Added Services for Domestic shipments,

   including additional coverage for loss or damage (i.e., analogous to insurance), are set

   forth in the UPS Rate and Service Guide (“Service Guide”) published by UPS and

   distributed through its agents and sales network. A true and correct copy of the July 8,

   2013, version of which is attached as Exhibit B hereto.

          23.     The July 2013 Service Guide with Standard Rates lists UPS’s pricing

   structure for additional coverage as follows:

                   Package
                   -$0.00 - $100.00                               $0.00
                   -$100.01-$50,000
                   For each $100.00 (or
                   portion of $100.00)
                   of the total value declared                    $0.85
                   -Minimum                                       $2.55

          24.     However, despite the explicit representation and/or contractual promise

   that the first $100 of liability coverage would be provided at zero cost when a customer

   purchased additional coverage for a declared value in excess of $300 for non-retail rate

   customers, UPS charged (in 2013) the customer $0.85 for the first $100 in coverage and

   an additional $0.85 for each additional $100 in coverage or portion thereof.

          25.     For example, when a non-retail customer in 2013 declared a value of

   $350.00, instead of charging $2.55 (the “minimum,” which is also 3 X $0.85 for each

   $100 or portion thereof in excess of $100), UPS charged $3.40. As a further example, in

   2013 for a declared value between $400.01 and $500, UPS charged $4.25, and so on.

          26.     The effect of this uniform practice is that non-retail customers who




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   purchased declared value coverage from UPS in excess of $300 under rates in effect as

   of July 8, 2013, were charged for the first $100 in coverage that UPS had promised to

   provide at no additional charge. Thus, in each instance UPS charged the customer an

   additional $0.85 per shipment in excess of the amounts set forth in the July 2013 Service

   Guide.

            27.   During the Class Period (defined below), UPS implemented a similar but

   distinct pricing structure for Retail Customers. For purposes of this Amended Complaint,

   “Retail Customer” means a retail customer as defined by UPS prior to January 1, 2014,

   for whom UPS applied a minimum charge for Declared Value Service for shipments

   with a declared value over $200.00, as opposed to a minimum charge for its Declared

   Value Service for shipments with a declared value over $300.00 for non-Retail

   Customers. For example, Retail Customers includes persons who shipped via a UPS-

   owned customer service center but did not have UPS account.

            28.   This is demonstrated in the UPS Rate and Service Guide effective January

   3, 2011 (Exhibit C, attached). At page 47 of that Service Guide, the pricing table for

   “Declared Value for Carriage” indicates that for a Declared Value of $0.00 to $100.00,

   the charge would be $0.00. It then indicates for a Declared Value of $100.01 to

   $50,00.00, “for each $100 (or portion of $100) of the total value declared,” the

   incremental charge would be $0.90, “with a minimum charge of $1.80.”

            29.   For each Retail Customer who shipped an item with a declared value in

   excess of $200 in 2011, UPS charged $0.90 in excess of its contractual promise. It

   continued to overcharge its Retail Customers in the amount of its published $100

   incremental declared value charge through 2013.




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           30.    UPS is aware of this issue as several consultants who represent large-

   volume shippers have brought it to UPS’s attention. Despite this knowledge, on

   information and belief UPS has not changed its practice of charging for the initial $100

   in coverage.

           31.    According to the 2012 Securities and Exchange Commission form 10-K

   filing filed by UPS’s parent company:

           Today, UPS is the world’s largest package delivery company . . . . We deliver
           packages each business day for 1.1 million shipping customers to 7.7 million
           consignees in over 220 countries and territories. In 2012, we delivered an
           average of 16.3 million pieces per day worldwide, or a total of 4.1 billion
           packages. Total revenue in 2012 was $ 54.1 billion.

   United Parcel Service, Inc., Form 10-K for period ended December 31, 2012, filed February

   28, 2013 (emphasis added.)

           32.    According to a 2018 SEC Form 8-K filed by the United Parcel Service,

   Inc.:

                  On December 23rd [2013], UPS delivered more than 31 million packages, the
                  most ever and 13% over the prior-year peak day.

   Form 8-K filed January 17, 2014.

                  UPS’S EFFORT TO ERECT AN EXCULPATORY WALL
                          OF ONE-SIDED CONTRACT PROVISIONS

           33.    UPS has sought to insulate itself from lawsuits by building into its

   standard Terms a series of one-sided requirements that have no purpose other than to

   exculpate it from lawsuits.

           34.    The UPS Terms are a classic adhesion contract presented on a take it or

   leave it basis to Plaintiff and class members. UPS never gave its 43-page, single-spaced

   document to Plaintiff or class members at the time of sale. Rather, UPS buried it several




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   layers deep in its website.

         35.       Further, UPS knows its billing can be complicated and that customers are

  unlikely to catch its overcharges. For example, UPS does not itemize its additional declared

  value charges so that customers can see the math. Instead, UPS merely lists a total charge, and

  customers need to back-out the math to calculate whether UPS charged them the correct amount.

  This is impracticable and all but impossible to do while standing in line at a UPS shipping

  counter or before a UPS drop box. UPS is aware of its customers’ reasonable limitations, and, on

  information and belief, deliberately obfuscates its overcharges.

           36.     Indeed, for certain large customers, a cottage industry has been spawned

   in the form of shipping consultants who make their living by scrutinizing larger shippers’

   invoices for mistakes. These shipping consultants often charge one third of the savings

   they obtain for their clients.

           37.     While the growth of shipping consultants gives testimony to the

   prevalence and scope of Plaintiff’s and the putative class members’ problem, it is not

   feasible or practical for the vast majority of UPS shippers to engage auditors considering

   the relatively low volume of their shipments and UPS’s small per-shipment overcharges.

           38.     UPS strives to cap its exposure by limiting liability to billing claims

   brought to its attention within 180 days of shipment even though no state has fraud or

   contract statutes of limitations anywhere near so short.

           39.     UPS also employs pre-suit notification as a means of avoiding exposure

   to class action lawsuits. On information and belief, UPS routinely credits clients whose

   shipping auditors make pre-suit notice of their declared value overcharge, and UPS

   acknowledges the impropriety of these charges. Still, UPS has not changed its behavior




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   and continues to overcharge its customers.

           40.       UPS can thus engage in a rational refund-mitigation scheme that the

   economic literature describes as critical-loss theory. The essence of critical-loss theory as

   applied here is that, assuming UPS earns $200 million in overcharges, and it refunds $10

   million to those who give notice, UPS knows that it will get away with a net profit from

   the scheme of $190 million without risk of being held accountable on a class basis

   because UPS tries to make potential class representative plaintiffs whole before they can

   file a lawsuit.

           41.       Further, the amount of effort a customer must exert to make pre-suit

   notification is not rationally worth the effort for an 85-cent overcharge, and UPS knows

   it.

           42.       In this context, the 180-day limitations and notice provisions are

   procedurally and substantively unconscionable.

           43.       It is unfair and inconsistent for UPS to insist that Plaintiff strictly adhere

   to its one-sided exculpatory terms when UPS has breached the parties’ agreement by

   charging Plaintiff for the first $100 of declared value coverage. Under general contract

   law principles, Because of UPS’s breach of contract it is estopped from enforcing its

   contract’s one-sided limitations period.

                                   CLASS-ACTION ALLEGATIONS

           44.       Plaintiffs bring this class action pursuant to Federal Rule of Civil

   Procedure 23(a), (b)(2), (b)(3) and/or (c)(4) on behalf of the following nationwide class

   (the “Class”):




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                 Except as excluded below, all persons or companies in the United States
                 who, from January 1, 2011, through December 29, 2013 (the “Class
                 Period”), shipped one or more U.S. origin packages with a declared
                 value in excess of $300 under contract with UPS and were charged
                 pursuant to its published non-Retail rates, or shipped one or more
                 packages with a declared value in excess of $200 and were charged
                 pursuant to its published Retail rates.

  Specifically excluded from the Class is any declaration of value later voided. Also excluded is

  any entity in which Defendant has or had a controlling interest or which has a controlling interest

  in Defendant, all The UPS Stores, and all other authorized UPS shipping agents and partners,

  including authorized outlets, to the extent that their shipments were not pursuant to a contract

  with UPS during the Class Period to purchase declared value coverage at the rates set forth in the

  pricing tables published in the applicable UPS Service Guide. Also excluded are UPS’s legal

  representatives, assigns, and successors; and the Court and any member of its staff.

          45.     In the alternative Plaintiff seeks, pursuant to Rule 23(c)(4), certification of

   one or more issue classes such as those identified in the declaratory judgment count,

   including whether UPS has breached its contract with Plaintiff and the Class by

   overcharging for excess declared value coverage.

          46.     Numerosity. Class members are so numerous that joinder is impracticable.

   The Class is comprised of hundreds of thousands of members geographically disbursed

   throughout the United States. On information and belief, the Class is reasonably

   ascertainable from UPS’s computerized records.

          47.     Commonality and Predominance. Common legal and factual questions

   and answers will drive the litigation, including:

                 (a)     Whether UPS charged shippers for the first $100 of declared value
                         coverage when those customers stated a declared value in excess of the
                         threshold necessary to trigger the minimum charge for Retail and non-
                         Retail customers, respectively;



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                 (b)     Whether UPS breached its contract with Plaintiff and class members;

                 (c)     Whether the Court should require UPS to refund its overcharges;

                 (d)     Whether UPS’s limitations period and pre-suit notification periods are
                         procedurally or substantively unconscionable and unenforceable; and

                 (e)     Whether UPS is estopped from enforcing any of its
                         contractual dispute requirements or limitations because of its
                         breach of contract.

          48.     Typicality. Plaintiff’s claims are typical of the Class members’ claims in

   that all claims arise out of UPS’s standard form documents and uniform pricing.

          49.     Adequacy of Representation. Plaintiff will fairly and adequately protect

   the Class members’ interests because Plaintiff has no interests antagonistic to, or in

   conflict with, them. Furthermore, Plaintiff has retained counsel experienced and

   competent in prosecuting complex class action litigation, including but not limited to

   consumer class actions.

          50.     Superiority. A class action is superior to other available means for fairly

   and efficiently adjudicating this dispute. The vast majority of Class members lack

   resources to undertake the burden and expense of individually prosecuting these claims,

   especially when compared with their individual recoveries. Individualized litigation

   increases delay and expense, multiplies the burden on the judicial system, and presents a

   potential for inconsistent or contradictory judgments. By contrast, a class action presents

   far fewer management difficulties and provides the benefits of a single adjudication,

   economy of scale, and comprehensive supervision by a single court.

          51.      UPS has acted or refused to act on grounds that apply generally to the

   Class so that declaratory and injunctive relief respecting the Class is appropriate.




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                                               COUNT I
                                               Breach of
                                               Contract

           52.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if

   fully set forth here.

           53.     Plaintiff and UPS entered into one or more uniform contract(s) for

   shipping services. The contract terms include(s) the Terms and the applicable Service

   Guide, including the Declared Value pricing table(s).

           54.     For each shipment Plaintiff made, the contract required UPS to provide

   Plaintiff $100 of coverage for loss or damage at no additional charge.

           55.     But when Plaintiff shipped items with a declared value in excess of $300,

   UPS breached the parties’ contract by charging Plaintiff for the initial $100 of coverage

   that UPS was required to provide Plaintiff at no additional charge.

           56.     UPS damaged Plaintiff by overcharging it for the initial $100 of coverage

   that UPS was required to provide Plaintiff at no additional charge when Plaintiff

   purchased declared value coverage in excess of $300.

                                            COUNT II
                                Declaratory Relief, 28 U.S.C. § 2201

           57.     Plaintiffs repeats the allegations contained in the foregoing paragraphs as

   if fully set forth here.

           58.     An actual controversy exists between Plaintiff and UPS regarding the

   marketing and sale of excess declared value coverage.

           59.     According to 28 U.S.C. § 2201, this Court may “declare the rights and

   legal relations of any interested party seeking such declaration, whether or not further

   relief is or could be sought.”



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           60.     The following genuine dispute exists: When customers purchase

   additional coverage on shipped items with a declared value in excess of $300 under

   standard rates, or in excess of $200 under retail rates, UPS charges them for the first

   $100 value of these shipments despite its promise to provide customers coverage for loss

   or damage for the first $100 at no additional charge. Plaintiff claims that this charge is

   improper; Defendant denies this claim.

           61.     A second genuine dispute exists between Plaintiff and UPS concerning

   the enforceability of UPS’s contractual exculpation provisions, such as the pre-suit

   notice requirement and the purported 180-day limitations period.

           62.     UPS has acted or refused to act on grounds that apply generally to the

   Class so that declaratory and injunctive relief is appropriate for the Class.

           63.     Plaintiffs seek declaratory and injunctive relief, through a order ruling

   that:

                 (a)     UPS is uniformly charging customers for coverage that its uniform
                         contract requires it provide for no additional charge;

                 (b)     UPS is not allowed to charge customers for their initial $100 of coverage;

                 (c)     UPS cease and desist its policy and practices of charging customers for
                         the initial $100 of declared value coverage when they choose to purchase
                         additional coverage; and/or, as to future shipments, change its pricing
                         tables in the published Rate and Service Guides accurately to reflect its
                         historical practice with respect to these charges;

                 (d)     UPS must notify its customers of its overcharges;

                 (e)     UPS must reimburse customers for all overcharges;

                 (f)     The UPS Terms imposing pre-suit notification and a purported
                         contractual 180-day limitations period are procedurally and substantively
                         unconscionable and are unenforceable; and

                 (g)     UPS is estopped from enforcing any purported contractual limitations



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                        such as pre-suit notification or the contractual 180-day limitations period
                        because UPS breached its contract by failing to provide customers’ first
                        $100 of coverage at no additional charge.


                                     REQUEST FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of itself and others similarly situated, seeks

   entry of judgment against UPS as follows:

          A.     For an order certifying the Class under Rule 23 of the Federal Rules of Civil
                 Procedure and naming Plaintiff as class representative and its attorneys as class
                 counsel;

          B.     Finding in favor of the Plaintiff and the Class, and against Defendant, on all
                 counts;

          C.     Awarding damages in an amount to be determined by the Court or jury;

          D.     For prejudgment interest on all amounts awarded;

          E.     For declaratory relief as described above;

          F.     For an order enjoining Defendant from breaching its Declared Value Coverage
                 contract with the Class, and/or ordering that Defendant change the contract
                 prospectively to bring its practices in compliance with the pricing terms;

          G.     For an order awarding Plaintiff and the Class reasonable attorneys’ fees
                 and expenses and costs of suit;

          H.     For all further relief as the Court deems just and appropriate.

                                   DEMAND FOR JURY TRIAL

          Plaintiff demands a trial by jury on all claims so triable.




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   Dated: December 22, 2020          Respectfully submitted,

                                     s/Andrew J. McGuinness
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UPS® TARIFF/TERMS AND CONDITIONS OF SERVICE — UNITED STATES
Effective July 8, 2013


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UPS® TARIFF/TERMS AND CONDITIONS OF SERVICE — UNITED STATES
Effective July 8, 2013


   1.     Introduction
   The following contains the general terms and conditions of contract under which United Parcel
   Service® (“UPS”) is engaged in the transportation of shipments itself and jointly through
   interchange with its affiliates via the services described below.
   The UPS Tariff/Terms and Conditions of Service (“Terms”) are effective on the date set forth
   above and are subject to change without prior notice. The Terms are published periodically in
   printed form in the UPS Rate and Service Guide (“Service Guide”) and electronically on the UPS
   website (ups.com®). The most current and controlling version of the Terms is published at
   www.ups.com/terms and is available at all local UPS offices. In tendering a shipment for service,
   the shipper agrees that the version of the Terms and the applicable Service Guide in effect at the
   time of shipping will apply to the shipment and its transportation. The Terms apply to the
   following services:


   –UPS Air Services                                   –UPS Hundredweight Service® UPS Next
                                                       Day Air Saver®
   –UPS Hundredweight Service® Air Services
                                                       –UPS Hundredweight Service® UPS 2nd
   –UPS 3 Day Select®                                  Day Air A.M.®
   –UPS Hundredweight Service® UPS 3 Day               –UPS Hundredweight Service® UPS 2nd
   Select®                                             Day Air®
   –UPS Ground                                         The Terms apply to the following
   –UPS Ground with Freight Pricing                    international services:
   –UPS Hundredweight Service® Ground                  –UPS Worldwide Express Plus®
   –UPS Returns® Services                              –UPS Worldwide Express NA1®
   “UPS Air Services” includes:                        –UPS Worldwide Express®
   –UPS Next Day Air® Early A.M.®                      –UPS Worldwide Express Freight™
   –UPS Next Day Air®                                  –UPS Worldwide Saver®
   –UPS Next Day Air Saver®                            –UPS Worldwide Expedited®
   –UPS 2nd Day Air A.M.®                              –UPS 3 Day Select® from Canada
   –UPS 2nd Day Air®                                   –UPS Standard™ services
   “UPS Hundredweight Air Services” includes:
   –UPS Hundredweight Service® UPS Next
   Day Air®
   2.     Terms Used
   –Alaska and Hawaii Rates refer to the effective UPS Rates for shipments originating in Alaska
   and Hawaii published in the effective Service Guide for Alaska and Hawaii, or Retail Rates
   established by UPS for the service selected by the shipper that apply to the shipper and the
   package, and are in effect at the time of shipping, plus any additional charges or rates for
   nonstandard service, additional or nonstandard usage, and any other additional charges

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referenced within the Terms or the Service Guide, or those applicable additional rates set out in
any customized contracts.
–“Business day” means Monday through Friday except the following holidays: New Year’s Day,
Memorial Day, Independence Day, Labor Day, Thanksgiving Day, Day after Thanksgiving Day,
Christmas Day (December 25), and New Year’s Eve.
–“Charges” means all applicable transportation and other charges including, but not limited to,
all applicable accessorial charges, brokerage service fees, surcharges, additional handling
charges and late payment fees.
–“C.O.D.” means for all purposes Collect on Delivery.
–“Daily Rates”, “Standard List Rates”, and “Retail Rates” refer to the effective UPS Rates for
shipments originating in the 48 contiguous United States established by UPS for the service
selected by the shipper that apply to the shipper and the package, and are in effect at the time of
shipping, plus any additional charges or rates for nonstandard service, or additional or
nonstandard usage, and any other additional charges referenced within the Terms or the Service
Guide, or those applicable additional rates set out in any customized contracts.
–“Delivery” shall be deemed to include, but not be limited to: delivery to the consignee or the
consignee’s actual or apparent agent or representative, or pursuant to consignee’s instructions,
delivery to the address or location specified in the UPS Shipping System, delivery to any person
present at the address or location specified in the UPS Shipping System, delivery to a
reasonable alternate address or location, delivery in accordance with trade custom or usage,
delivery pursuant to UPS’s driver release procedures, delivery pursuant to UPS’s Shipper
Release procedures, or delivery otherwise permitted under the Terms.
–“Drop Shipment” means any shipment tendered pursuant to a written agreement or prior
arrangement between UPS and a specific shipper that permits the shipper to tender quantities of
individual packages directly to UPS at a UPS pre-approved designated location.
–“Letter Rates” refers to the UPS Rates applicable to shipments using UPS Express® Envelope
or UPS Letter packaging containing correspondence, urgent documents, or electronic media,
with an actual weight of eight (8) ounces or less. (“UPS Express® Envelope” and “UPS Letter”
may be referred to interchangeably.)
–“Package” means any container and its contents, and includes an Express Envelope, as well
as any article that may be handled without packaging if the handling thereof can be
accomplished in a reasonably safe and practicable manner.
–“Perishable Commodity” refers to a perishable commodity or a commodity requiring
protection from heat or cold, including, but not limited to, live animals, foods, dry ice, flowers,
biological materials.
–“Receiver” or “Consignee” refers to the party to whom the shipment is being sent.
–“Residential” refers to a location that is a home, including a business operating out of a home.
–“Shipper” refers to the party contracting with UPS for services.
–“Shipment” means one or more packages, or one or more pallets in UPS Worldwide Express
Freight service, shipped under a single Source Document or UPS Automated Shipping System
entry to one receiver.
–“Third-Party Retailers” means locations of The UPS Store®, UPS Authorized Shipping Outlet
locations, and UPS Alliance Locations (located within Office Depot® and Staples® retail
locations).


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–“UPS Automated Shipping System” and “Source Document.” Source Document means a
shipping document provided by UPS for the purpose of tendering a shipment to UPS for
transportation. UPS Automated Shipping System means WorldShip®, UPS CampusShip®, UPS
Internet Shipping, UPS Developer Kit, iShip®, or an approved UPS Ready® solution that meets
UPS requirements at the time of shipment. The term “UPS Automated Shipping System” and
“Source Document,” individually or collectively, are sometimes referred to by the term “UPS
Shipping System.”
–“UPS Customer Center” means a UPS facility where shippers may tender packages to UPS
for transportation, and a consignee or other recipient may receive a package Delivery.
–“UPS Rates” refers collectively to Daily Rates, Standard List Rates, Retail Rates, Alaska and
Hawaii Rates, Letter Rates, Pak Rates, and UPS 10KG Box® and UPS 25KG Box® Rates.
–“UPS Returns Services” refers collectively to Authorized Return Services, Print Return Label,
Electronic Return Label, and Print and Mail Return Label, 1 UPS Pickup Attempt, 3 UPS Pickup
Attempts, UPS Returns® on the Web, UPS Returns® Flexible Access, and UPS Returns®
Exchange.
–“UPS Smart Label®” as defined here and described in the UPS Guide to Labeling includes but
is not limited to MAXICODE, postal code bar code, current UPS Routing Code, appropriate UPS
service level icon, and UPS 1Z tracking number bar code.
–“UPS Worldwide Express Freight™ Center” means a UPS facility where shippers may tender
UPS Worldwide Express Freight pallets to UPS for transportation, and a consignee or other
recipient may receive pallets.
3.     Commodities Handled and Restrictions on Service
UPS holds itself out to transport general commodities, as usually defined, subject to the following
restrictions.
       3.1      Items Not Accepted for Transportation
No service shall be rendered in the transportation of any of the prohibited articles listed in the
applicable Service Guide or the Terms.
UPS does not accept for transportation, and shippers are prohibited from shipping:
–Articles of unusual value, which shall be deemed to include, but are not limited to:
            Any package with an actual value of more than $50,000;
            Any pallet with an actual value of more than $100,000;
            Coins, cash, currency, bonds, postage stamps, money orders, and negotiable
             instruments (such as drafts, bills of exchange, or promissory notes, but excluding
             checks);
            Unset precious stones, and industrial diamonds;
            Any article that contains more than 50 percent by weight of gold or platinum, or any
             combination thereof in raw form including, but not limited to, bullion, bars, or scraps of
             these metals.
–Hazardous waste, defined as a solid waste that meets any of the criteria of the hazardous
waste as described in 40 C.F.R. § 261.3;
–Human remains, fetal remains, human body parts, or components thereof;


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–Common fireworks;
–Packages with an actual weight of more than 150 pounds, or packages that when measured to
determine the billable weight exceed 108 inches in length, or exceed a total of 165 inches in
length and girth [(2 x width) + (2 x height)] combined, or in the case of import shipments, exceed
130 inches in length and girth [(2 x width) + (2 x height)] combined. If found in the UPS system,
they are subject to one or more of the following additional charges: Over Maximum Weight, Over
Maximum Length, or Over Maximum Size;
–UPS Worldwide Express Freight™ pallets that exceed maximum size or weight restrictions
(which vary by origin and destination) as set forth at http://www.ups.com/palletmaximums. If
found in the UPS system, they are subject to an Oversize Pallet Handling Surcharge.
–Shipments tendered to a Third-Party Retailer containing any hazardous materials requiring
shipping papers, firearms, or ammunition;
–UPS Returns® Services shipments containing hazardous materials (except for Limited
Quantity/Other Regulated Materials Shipments (“ORM-D”) Ground packages, as set forth below),
or firearms, or requiring Delivery Confirmation Services; and
–Any other items prohibited by the Service Guide, or ups.com®.
Shippers are prohibited from shipping and UPS will not accept for transportation shipments
containing articles that UPS is not authorized to accept or that UPS states in the Terms that it will
not accept, including when such shipments are tendered for transportation at UPS Customer
Centers, UPS Worldwide Express Freight Centers or any Third-Party Retailer.
UPS reserves the right, but is not required, to return to the shipper any shipment containing a
prohibited article. Such return will be made solely at the shipper’s risk and expense.
       3.2    Maximum Values
UPS does not accept for service packages with values as set forth below:
–Any package with an actual value of more than $50,000;
–Packages with a value of more than $5,000 shipped as a result of a request for service made
through the internet;
–Domestic packages with a value of more than $1000 returned via Print Return Label, Print and
Mail Return Label, Electronic Return Label, or 1 UPS Pickup Attempt Return Services;
–International shipments with a value of more than $1000 per package or pallet returned via UPS
Print Return Label, UPS Print and Mail Return Label, Electronic Return Label, 1 UPS Pickup
Attempt, or 3 UPS Pickup Attempt Return Services (including via UPS Returns on the Web)
unless a UPS high-value shipment summary is obtained by the shipper or person tendering the
shipment and signed by the driver upon tender of the shipment;
–International UPS Import Control® shipments with a value of more than $1000 per package or
pallet unless a UPS high-value shipment summary is obtained by the shipper or person tendering
the shipment and signed by the driver upon tender of the shipment;
–Packages with a value of $1000 or more shipped via a Third-Party Retailer if such packages
were previously manifested in a UPS Shipping System prior to drop off at the Third-Party Retailer
or billed using Bill My Account;
–Packages with a value of more than $500 shipped via a UPS Drop Box;
–Prepaid Letters with a value of more than $100;


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–Packages with a value of more than $999 when Shipper Release is selected;
–Packages with a C.O.D. amount in excess of $500 shipped via a UPS Drop Box;
–International shipments containing jewelry (not including costume jewelry) having a value of
more than $500 per package or pallet;
–UPS Worldwide Express Freight™ Service shipments having a value of more than $100,000 per
pallet.
       3.3    Prohibited by Law
No service shall be rendered by UPS in the transportation of any shipment that is prohibited by
applicable law or regulation of any federal, state, provincial, or local government in the origin or
destination country. It is the responsibility of the shipper to ensure that a shipment tendered to
UPS, and any UPS Shipping System entry that the shipper prepares for that shipment, does not
violate any federal, state, provincial, or local laws or regulations applicable to the shipment.
       3.4    Alcoholic Beverages
Packages containing alcoholic beverages (wine, beer, or spirits) are accepted for transportation
only as a contractual service and only from shippers who are licensed and authorized under
applicable laws to ship alcoholic beverages. To receive service for packages containing alcoholic
beverages, the shipper must enter into an approved UPS agreement for the transportation of
wine, beer, or spirits, as applicable. For all packages containing alcoholic beverages, the shipper
must use Delivery Confirmation Adult Signature Required service requesting an adult signature
for each package containing alcoholic beverages, and must affix a special UPS alcoholic
beverages label to each package. For all U.S. inbound import shipments containing alcoholic
beverages, the receiver must be licensed and authorized to receive the alcoholic beverages.
UPS does not accept packages containing beer or spirits for delivery to a consumer. It is the
responsibility of the shipper to ensure that a package tendered to UPS does not violate any
federal, state, or local laws or regulations applicable to the package.
UPS reserves the right to dispose of any alcoholic beverages tendered for shipment which
shippers are prohibited from shipping, which UPS is not authorized to accept, which UPS states
that it will not accept, or which UPS has a right to refuse. UPS reserves the right to discontinue
service to any shipper for, among other reasons, tendering a package containing alcoholic
beverages that does not comply with all applicable laws or the Terms.
       3.5    Biological Materials
UPS accepts packages containing “Biological Substance, Category B” as defined in 49 C.F.R.
§ 174.134, which are prepared in accordance with all aspects of 49 C.F.R. § 173.199.
Transportation of other biological materials is limited, must be prearranged, and will only be
provided under the following conditions: the shipper has received prior written authorization from
UPS for the specific package tendered; and the shipper requests service in accordance with the
conditions set forth in the written authorization from UPS for the package tendered. Any package
containing biological materials shall be considered a Perishable Commodity.
       3.6    Firearms and Ammunition
UPS accepts packages containing firearms (as defined by Title 18, Chapter 44, and Title 26,
Chapter 53 of the United States Code) only (a) between licensed importers, licensed
manufacturers, licensed dealers, and licensed collectors (as defined in Title 18, Chapter 44 of the
United States Code), and government agencies; and (b) where not otherwise prohibited by
federal, state, or local law from (i) an individual to a licensed importer, licensed manufacturer,
licensed dealer or licensed collector; and (ii) from a licensed importer, licensed manufacturer,

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licensed dealer, or licensed collector to an individual. The shipper shall comply with and shall
ensure that each shipment containing firearms complies with all federal, state, and local laws
applicable to the shipper, recipient, and package.
–The shipper must use Delivery Confirmation Adult Signature Required service for each package
containing a firearm (including handguns). UPS, in its sole discretion, may require the shipper to
select a UPS Next Day Air® Service for any package containing a firearm. Handguns (as defined
by 18 U.S.C. § 921) will be accepted for transportation only via UPS Next Day Air Services.
–Firearms (including handguns) are not accepted for transportation via UPS Drop Boxes or UPS
Internet Shipping, in response to a request for UPS On-Call Pickup® service, or when presented
for shipment at any Third-Party Retailer. UPS Returns® Services are not available for packages
containing firearms.
–Small arms ammunition, as defined in 49 C.F.R. § 173.59, will be transported only when
packaged and labeled in compliance with 49 C.F.R. § 172 (Hazardous Materials). Ammunition
may not be shipped in the same package as a firearm.
–Firearm parts, which do not constitute firearms as defined under federal law (including without
limitation Title 18, Chapter 44, and Title 26, Chapter 53 of the United States Code), and which
otherwise comply with federal, state, and local law, will be accepted for transportation.
–Firearms (including handguns) and firearm parts are not accepted for shipment internationally.
See www.ups.com/content/us/en/resources/ship/packaging/guidelines/firearms.html or contact
UPS for more information.
       3.7    Food Transport; Assumption of Legal Responsibility
Shipments containing “food,” as defined in section 201(f) of the Federal Food, Drug, and
Cosmetic Act, will be accepted for transportation only according to the following terms. Shipper
assumes all responsibility with respect to establishing and maintaining all records required under
21 C.F.R. Part 1 Subpart J §§ 1.326-1.363. In so doing, shipper assumes the legal responsibility
under 21 C.F.R. § 1.363 for establishing and maintaining records that would otherwise be
required to be maintained by UPS. Shipper agrees its records will comply with 21 C.F.R. § 1.352
and shall identify the immediate recipient of the transported food; the origin and destination
points of shipment; the date the shipment is received and the date released; the number of
packages shipped; a description of the freight describing the type of food received and released;
and the route of movement. Shipper agrees expressly to make all records required by 21 C.F.R.
§ 1.352 available to FDA as required by 21 C.F.R. § 1.361. Shipper commits, and recognizes
that it has the responsibility, to ensure that all such records are maintained consistent with the
record retention requirements provided in 21 C.F.R. § 1.360 and the record availability
requirements provided in 21 C.F.R. § 1.363. Shipper agrees that within 45 days of the date of
shipment, Shipper will obtain or request from UPS any information needed from UPS to satisfy
Shipper’s responsibility to establish and maintain records. Shipper recognizes that the foregoing
obligations with respect to establishing and maintaining records cannot be terminated. Shipper
expressly agrees to immediately assume responsibility to establish and maintain records as
provided in this paragraph, regardless of any FDA-designated compliance date for any provision
of 21 C.F.R. Part 1 Subpart J.
       3.8    Hazardous Materials Service
Hazardous Materials, defined as those materials regulated under Title 49 of the Code of Federal
Regulations (49 C.F.R.) (excluding Limited Quantity/Other Regulated Materials (ORM-D) Ground
shipments, as referenced below), and Dangerous Goods, defined as those materials regulated
by the International Civil Aviation Organization (ICAO) and published in the International Air
Transport Association (IATA) Dangerous Goods Regulations (collectively referred to as
“Hazardous Materials,” or “Dangerous Goods,” or “International Dangerous Goods”), are

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accepted for transportation only as a contractual service and in accordance with the UPS Guide
for Shipping Ground and Air Hazardous Materials, or the UPS Guide for Shipping International
Dangerous Goods. To receive Hazardous Materials or Dangerous Goods service, the shipper
must sign and agree to the provisions set forth in an approved UPS agreement relating
specifically to the transportation of Hazardous Materials, Dangerous Goods, or International
Dangerous Goods (“Hazardous Materials Agreement”). Contact UPS for specific information,
including a list of “Common Items That May Be Classified as Hazardous Materials.”
An additional charge will be assessed for each Hazardous Materials shipment. UPS may also
assess an additional surcharge for packages or pallets containing certain types of Hazardous
Material. Applicable surcharges are described at ups.com.
It is the shipper’s responsibility to determine if a shipment contains a Hazardous Material and to
properly classify, label, mark, and package it in accordance with applicable governmental
regulations. When required, the shipper is responsible for ensuring that all of its employees
involved in the preparation of Hazardous Materials for transport are properly trained, tested, and
certified in accordance with 49 C.F.R. Part 172.700 through 172.704, or with IATA (Section 1.5)
and for ensuring that a program exists for the retraining, testing, and certification as required by
these rules.
All packaging used by the shipper for the transportation of Hazardous Materials, when required
by regulation, must pass UN performance testing in accordance with 49 C.F.R. Part 178.602
through 178.609 or IATA (Section 6.0).
The shipper must use a software system, such as the most current version of WorldShip® that is
acceptable to UPS for the preparation of documents for shipping Hazardous Materials, or an
alternative method determined by UPS in its reasonable discretion to perform the same
functions. UPS will provide shippers, upon request, a list of vendors who provide acceptable
software systems.
UPS reserves the right to refuse to accept, to return, or to dispose of, in compliance with
applicable laws and regulations, any Hazardous Material that it determines not to have been
prepared in accordance with the UPS Guide for Shipping Ground and Air Hazardous Materials,
the UPS Guide for Shipping International Dangerous Goods, and all applicable governmental
laws and regulations. The shipper agrees to reimburse UPS for any costs or expenses incurred
as a result of any improperly packed or prepared Hazardous Materials which shipper tenders to
UPS. In addition, the shipper agrees to reimburse UPS for any costs or expenses incurred by
UPS if Hazardous Materials tendered by the shipper are refused by the shipper upon return or
cannot otherwise be delivered for any reason including, but not limited to, wrong delivery address
or refusal of receiver to accept delivery.
UPS reserves the right, in its sole discretion and without prior notice to the shipper, to dispose of
any international shipment containing Dangerous Goods refused by the receiver or which for any
other reason cannot be delivered. Shipper shall be responsible for all disposal fees.
The shipper agrees to indemnify, defend, and hold harmless UPS, its parent corporation, and
affiliated companies, their officers, directors, employees, agents, and their successors and
assigns, from all claims, demands, expenses (including reasonable attorney’s and consultants’
fees), liabilities, causes of action, enforcement procedures, and suits of any kind or nature
brought by a governmental agency or any other person or entity arising from or relating to the
transportation of a Hazardous Materials shipment, from the shipper’s breach of the Hazardous
Materials Agreement or the Terms, or from the shipper’s non-compliance with governmental laws
or regulations applicable to the transportation of Hazardous Materials whether such action is
brought by a governmental agency or other person or entity. Under no circumstances shall UPS
be liable for special, incidental, or consequential damages arising from the transportation of a
Hazardous Materials shipment.


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Pursuant to 49 C.F.R. Part 173.30, in the event the shipper loads any UPS vehicle, the shipper
agrees to segregate Hazardous Materials in accordance with 49 C.F.R. Part 177.848 and
properly secure Hazardous Materials in accordance with 49 C.F.R. Part 177.834.
UPS does not accept Hazardous Materials in any amounts that require placarding under 49
C.F.R. Part 172, Subpart F. The shipper agrees not to tender Hazardous Materials to UPS in
any amount for a single vehicle that would require placarding in accordance with 49 C.F.R. Part
172, Subpart F.
UPS reserves the right to discontinue or terminate service immediately with respect to the
transportation of Hazardous Materials if the shipper fails to comply with any provisions of the
Terms, or any applicable government regulations (including Limited Quantity/ORM-D shipments
that are tendered without the proper shipping documentation). If a shipper tenders an
undeclared Hazardous Materials shipment to UPS, UPS shall not be liable for the shipment in the
event of loss, damage, delay, or misdelivery, nor shall UPS be liable for any special, incidental,
or consequential damages.
If the shipper ships Hazardous Materials from more than one location, and the shipper fails to
comply with any provisions of the Terms, the Hazardous Materials Agreement, or any
governmental regulations, UPS may, in its sole discretion, terminate all of the shipper’s shipment
locations or limit such termination to those locations where the failure to comply occurred.
Shippers are prohibited from shipping and UPS will not accept for transportation shipments
containing any Hazardous Materials requiring shipping papers (defined as those materials
regulated under Title 49 of the Code of Federal Regulations) or Dangerous Goods requiring
Shipper’s Declaration for Dangerous Goods documents, when such shipments are presented for
shipment at UPS Customer Centers, or Third-Party Retailers. Hazardous Materials requiring
shipping papers cannot be picked up via UPS On-Call Pickup® service, or retrieved via any UPS
Returns® Service, except as a contractual service.
Additional terms applicable to the shipment of Hazardous Materials are set forth in the UPS
Guide for Shipping Ground and Air Hazardous Materials, and the UPS Guide for Shipping
International Dangerous Goods, the terms of which are each incorporated here by this reference
and available at http://www.ups.com/content/us/en/resources/ship/hazardous.
       3.9    Dry Ice
Packages containing dry ice (carbon dioxide, solid) as a refrigerant, but no other Hazardous
Materials, are accepted for transportation within the United States via UPS Ground and UPS Air
Services (provided such packages are prepared in accordance with all applicable governmental
regulations) without a Hazardous Materials Agreement. Packages containing Hazardous
Materials that use dry ice (carbon dioxide, solid) as a refrigerant are accepted for transportation
within the United States via UPS Ground and Air Services only as a contractual service. Any
package containing dry ice will be considered a Perishable Commodity. Packages containing dry
ice may be tendered for shipment at locations of The UPS Store®, where such services are
available. A contract is required for all international shipments of dry ice.
       3.10   Limited Quantity/ORM-D Packages
Limited Quantity/ORM-D packages are accepted for transportation without Hazardous Materials
shipping papers within the 48 contiguous United States via UPS Ground or UPS Hundredweight
Service® when properly classified, packaged, and marked. UPS Standard to Canada and UPS
Ground (Intra-Alaska and Intra-Oahu) services are available for Limited Quantity/ORM-D
shipments without a contract, provided the shipper has reviewed the required checklist and
service restrictions with a UPS representative. Limited Quantity/ORM-D packages shipped via
UPS Air Services and UPS 3 Day Select® within the United States and Puerto Rico are accepted
for transportation on a contractual basis only.

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       3.11   Hazardous Waste, Mercury, and Mercury-Containing Waste
Packages containing hazardous waste, defined as a solid waste that meets any of the criteria of
hazardous waste as described in 40 C.F.R. § 261.3, are not accepted for transportation.
UPS’s acceptance for transportation of any elemental mercury, mercury-containing material, or
used mercury-containing device (including, but not limited to, medical devices, spent fluorescent
lamps, thermostats, or thermometers) is limited, must be prearranged, and will only be provided
pursuant to prior written authorization from UPS upon satisfaction of certain requirements
including appropriate packaging and financial assurances.
       3.12   Live Animals
UPS provides service on a limited basis for some types of live animal shipments. (The term
“animal” as used here refers to anything living, except plants.) Live animals may be shipped only
pursuant to the restrictions and conditions set forth on ups.com regarding Shipping Live Animals.
A live animal shipment will be considered a Perishable Commodity. Access
http://www.ups.com/content/us/en/resources/ship/packaging/guidelines/animals.html or contact
UPS for information regarding shipping live animals.
       3.13   Perishable Commodities
UPS does not provide a protective service for the transportation of Perishable Commodities.
Such commodities will be accepted for transportation solely at the shipper’s risk for any damage
arising from the perishable nature of the item. Shippers shall not file claims for, and UPS shall
not be liable to shippers or any third parties for, any damage arising from the transportation of
Perishable Commodities, regardless of whether the shipment is delivered pursuant to an
applicable UPS Service Guarantee or is delayed in transit. UPS reserves the right to dispose of
any shipment in the UPS system containing a Perishable Commodity that UPS deems in its sole
discretion to be of no value, unsafe or unsanitary.
       3.14   Pharmaceuticals
The shipper shall comply with and shall ensure that each shipment containing pharmaceutical
products complies with all applicable federal, state, provincial, and local laws and regulations
governing the dispensing, shipment or tender of shipment of pharmaceutical products.
       3.15   Portable Electronic Devices
UPS transports shipments containing radio frequency identification devices (RFID),
ultrawideband devices (UWB), and other portable electronic devices (PED) only when such
devices are in an inactivated state or otherwise in compliance with applicable law including 14
C.F.R. § 91.21, 14 C.F.R. § 121.306, or 47 C.F.R. § 15.521(a).
       3.16   Tobacco Products
Shipments containing tobacco or tobacco products, as those terms are variously defined under
applicable state law (“Tobacco Product Shipments”), are accepted for transportation only from
shippers who are licensed and authorized to ship tobacco and tobacco products pursuant to
applicable laws. Tobacco Product Shipments shipped to a consumer will only be accepted for
transportation as a contractual service. However, because UPS prohibits shipments of cigarettes
to consumers under any circumstances, UPS does not offer a contractual service for the delivery
of cigarettes to consumers. To receive service for Tobacco Product Shipments shipped to a
consumer, the shipper must sign and agree to the provisions set forth in an approved UPS
agreement for the transportation of tobacco products. For all other service for Tobacco Product
Shipments, the receiver must be licensed and authorized to receive tobacco or tobacco products
pursuant to all applicable federal, state, provincial, or local laws or regulations, and the shipment
must conform to the terms, conditions, restrictions, and prohibitions set forth at

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www.ups.com/tobacco at the time of shipping. It is the responsibility of the shipper to ensure that
a shipment tendered to UPS, including a Tobacco Product Shipment, does not violate any
federal, state, provincial, or local laws or regulations applicable to the shipment.
UPS reserves the right to refuse to accept, transport, or deliver any Tobacco Product Shipment
that UPS, in its sole discretion, determines does not comply with UPS requirements for the
shipment or any applicable law or regulation, and to discontinue any or all service to any shipper
for, among other reasons, tendering such a shipment. UPS reserves the right to dispose of any
Tobacco Product Shipment that shippers are prohibited from shipping, that UPS is not authorized
to accept, that UPS states that it will not accept, or that UPS has a right to refuse.
4.     Provisions for Export and Customs Clearance of International Shipments
The shipper (or the party tendering an international shipment to UPS for service, referred to for
purposes of this Section 4 as “shipper”) must provide UPS with all documentation and
information required by the laws of the origin and destination countries for export and import of
shipments (i.e., for export and customs clearance). The shipper is responsible for determining
export and import licensing or permitting requirements for a shipment, obtaining any required
licenses and permits, and ensuring that the consignee is authorized by the laws of the origin and
destination countries to receive the shipment. By tendering an international shipment for service
and providing UPS with documentation (including any Source Documents), the shipper certifies
that the documentation includes all required licenses and permits, that the statements in that
documentation and any other information that the shipper provides to UPS relating to exportation
and importation are complete, true, correct, and in compliance with the laws of the origin and
destination countries, and that the consignee is authorized by the laws of the origin and
destination countries to receive the shipment. Furthermore, the shipper understands that civil
and criminal penalties including seizure and forfeiture, may be imposed for failing to provide UPS
with all required documentation, licenses, permits, statements, and information, for making
inaccurate, false, or fraudulent statements, or for violating U.S. or other country laws regulating
exports or imports (see, e.g., 13 U.S.C. § 305; 18 U.S.C. §§ 545, 554 and 1001; 19 U.S.C.
§§ 1595a and 1592; 22 U.S.C. § 401; and Subchapter C of 15 C.F.R. (i.e., The Export
Administration Regulations)).
When an international shipment is tendered to UPS, UPS is thereby appointed as the agent for
performance of customs clearance in the destination country to the extent allowed by law. The
shipper shall provide all Powers of Attorney and other authorizations required by applicable law
for UPS to serve as the shipper’s agent to perform customs clearance in the destination country.
UPS is specified as the nominal consignee for the purpose of designating a customs broker to
perform customs clearance. Local authorities may require documentation confirming that UPS
has been designated as the nominal consignee.
Fines, penalties, liquidated damages, storage charges, or other expenses incurred as a result of
an action by U.S. Customs and Border Protection (or any other U.S. or other country’s
government agency regulating imports or exports), or as a result of the failure of the shipper or
consignee to provide complete, true, and correct documentation, statements, or information
required by the laws of the origin and destination countries (including the failure to obtain a
required license or permit) will be charged to the shipper or consignee along with any applicable
duties, fees, or taxes, and any applicable late payment fees assessed by UPS. Unless a written
agreement between UPS and the shipper specifies otherwise, UPS reserves the right in its sole
discretion to charge the shipper or consignee for any such fines, penalties, liquidated damages,
storage charges, expenses, duties, fees, taxes, or late payment fees. Regardless of any such
written agreement specifying otherwise, in the event of non-payment by the consignee, the
shipper is liable for all charges.
The shipper agrees to indemnify, defend, and hold harmless UPS, its parent corporation, and
affiliated companies, their officers, directors, employees, agents, and their successors and
assigns, from any and all claims, demands, expenses, or liabilities including, but not limited to,

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fines, penalties, liquidated damages, storage charges, duties, fees, taxes, late payment fees, or
other money due, arising from the transportation, importation, exportation, or customs clearance
of shipments on behalf of the shipper, or arising from the shipper’s noncompliance with the laws
of the origin and destination countries, or UPS requirements applicable to the shipment.
UPS provides routine customs clearance through UPS Supply Chain Solutions® brokerage
offices designated by UPS for handling customs clearance of shipments at no additional charge,
except for UPS Standard™ to and from Canada shipments, for which a brokerage service charge
applies. Other UPS Supply Chain Solutions customs brokerage offices charge fees for the
clearance of packages and freight. For UPS Standard to Mexico, customs clearance by UPS
Supply Chain Solutions® is required. Failure to do so will result in packages automatically
returned to shipper.
Additional charges may apply for complex customs clearance procedures, which include, but are
not limited to, the following:
–Clearance procedures involving a government agency other than U.S. Customs and Border
Protection;
–Customs Bonds;
–Drawbacks;
–Formal entries involving more than three tariff lines;
–Live Entries;
–Country of Origin Marking; or
–Temporary Import Bonds (T.I.B.).
UPS is under no obligation, unless the customer requests in writing and UPS agrees in writing, to
undertake any pre- or post-importation action including, but not limited to, obtaining binding
rulings, advising of liquidations, filing protests, or filing petitions for relief.
UPS may prepay duties, fees, or taxes on behalf of the payer. For importation into the United
States, a fee will be assessed and billed to the importer. A fee may also apply for shipments to
other countries.
For any claims arising from import, export or customs clearance activities, the liability of UPS
(including UPS Supply Chain Solutions) shall be limited to the lesser of (i) $50 per entry, filing, or
transaction; or (ii) the amount of fees paid to UPS for such entry, filing, or transaction.
       4.1    Electronic Export Information
If Electronic Export Information (EEI) is required to be filed through the Automated Export
System (AES) under the Foreign Trade Regulations of the U.S. Bureau of the Census (“Census”)
(i.e., Part 30, 15 C.F.R.), and the shipper has not filed the EEI and provided an Internal
Transaction Number (ITN) to UPS to confirm that an EEI transaction was submitted to Census by
the shipper accepted and is on file in the AES, UPS will electronically file the required EEI on
behalf of the shipper, provided that all information required to file the EEI is supplied by the
shipper in the UPS Shipping System or other export documentation and UPS has received
proper authorization or a Power of Attorney from the shipper to complete and file the EEI. A
processing fee will be assessed and billed to the shipper.
       4.2    Certificate of Origin
UPS may, based solely on information that the shipper furnishes, prepare a Certificate of Origin
for goods manufactured and originating within the United States on behalf of the shipper when

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one is required but not included with the export documents provided by the shipper. When
authorizing UPS to prepare a Certificate of Origin, the shipper certifies that the information it
provides to UPS is complete, true, and correct and that the completed Certificate of Origin
complies with the laws of each country where a claim will be made that the goods are
manufactured and originate in the United States. A processing fee will be assessed and billed to
the shipper.
       4.3    UPS Paperless® Invoice Service
A shipper must register with UPS in advance of shipping to use UPS Paperless Invoice service,
where such services are available. By using UPS Paperless Invoice service, the shipper
authorizes UPS to use the shipper’s letterhead and electronic signature to prepare true, correct,
and paperless commercial invoices that reflect, in all material respects, the shipper’s sale
transactions of merchandise to its buyers (i.e., the “Sold To” Parties) necessary to expedite in
accordance with law the export and customs clearance of international shipments. The shipper
shall provide to UPS in advance all required information including, but not limited to, the true and
accurate price at which the merchandise was sold to the “Sold To” Party, any required additions
to customs value (e.g., dutiable commissions, royalty/license fees, assists, packing costs, and
proceeds of subsequent sales), the currency of the sale, country of origin, terms of sale, the
quantities, ultimate consignee, and a complete commercial description of the merchandise. By
using the service, shipper represents and certifies that any paperless commercial invoice that
UPS prepares is true and accurate, which means that it is, in all material respects, an electronic
copy of the same commercial invoice provided to the buyer. The shipper shall have an
affirmative, non-delegable duty to disclose to UPS any and all required commercial invoice
information, and to ensure its accuracy and completeness. The shipper must provide timely
upload of PLD to use UPS Paperless Invoice service.
4.4    Pre-Release Notification for Import Shipments
A shipper or consignee may request that UPS notify the consignee prior to submission of a U.S.
import shipment to U.S. Customs and Border Protection so that the importer may validate the
classification, valuation, or other import information. An additional fee applies for this service and
will be billed to the importer or to the shipper when the shipper is selected as the payer of the
duties and taxes for the shipment.
4.5    Record-Keeping
The shipper agrees and consents that UPS may preserve a record of the carriage for an
international shipment using means other than producing a copy of the air waybill. The shipper
has a duty to and is solely liable for maintaining all records as required under the export and
customs or other laws of the origin and destination countries, unless otherwise agreed to in
writing. UPS assumes no responsibility to act as a record-keeper or record-keeping agent for the
shipper.
5.     UPS Import Control®
UPS Import Control service allows a shipper to process an import shipment, including
commercial invoice. Where available, a shipper may use UPS Import Control service to create a
Print Import Label, Electronic Import Label, or Print and Mail Import Label to provide to the
sender or party tendering the shipment to UPS, or a shipper may request 1 UPS Pickup Attempt
or 3 UPS Pickup Attempts to request that UPS make pickup attempts to retrieve import
shipments from a sender’s address. 3 UPS Pickup Attempts is not available for UPS Worldwide
Express Freight™. UPS Import Control is available only in countries where UPS pickup services
are available. An additional charge will be assessed for each UPS Import Control unique label.




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UPS Import Control is available for packages and pallets processed through UPS CampusShip®,
UPS Internet Shipping, or UPS Developer Kit and also for packages only, processed through
WorldShip® or an approved UPS Ready® solution.
Shipments containing certain items are prohibited from being shipped and are not accepted by
UPS for UPS Import Control® service including, but not limited to, Hazardous Materials
shipments requiring shipping papers, firearms, or shipments requiring Delivery Confirmation
Services. C.O.D. service is not available for UPS Import Control shipments.
The maximum actual or declared value for each UPS Import Control shipment is $50,000 per
package and $100,000 per pallet, provided that, for any UPS Import Control package or pallet
with an actual or declared value in excess of $1000, the shipper must ensure that a UPS high-
value shipment summary is generated and signed by the UPS driver upon tender of the shipment
to UPS. If no high-value shipment summary is obtained and signed, the maximum actual or
declared value of each such package or pallet is limited to $1000.
Notwithstanding anything herein to the contrary, for all UPS Import Control shipments tendered
to UPS for export from the U.S., that transit the U.S., or that contain U.S.-origin goods, the
sender or tendering party is the exporter for purposes of the Export Administration Regulations
(“EAR”), and it shall be responsible for determining licensing authority (license, license exception,
or NLR) and obtaining the appropriate license or other authorization as provided in Section 4
(Provisions for Export and Customs Clearance of International Shipments). In no event shall a
party arranging for UPS Import Control service provide a writing assuming responsibility for
determining licensing requirements and obtaining license authority for any UPS Import Control
shipment to the tendering party. UPS does not agree to serve as the exporter for purposes of
the EAR.
6.     Right of Inspection
UPS reserves the right in its sole discretion to open and inspect any shipment tendered to it for
transportation, but is not required to do so.
7.     Refusal of Service
UPS reserves the right to refuse to provide service, among other reasons, for any shipment
which by reason of the dangerous or other character of its contents may, in the sole judgment of
UPS, soil, taint or otherwise damage other shipments or UPS’s equipment, or which is improperly
or insecurely packed or wrapped, as determined by UPS in its sole judgment.
Before accepting any shipment, UPS reserves the right to require sufficient verification, as
determined by UPS in its sole discretion, of the shipper’s name and address, or any other
information necessary to accept the shipment for service. UPS reserves the right to refuse to
provide service for any shipment or to or from any location, or to provide alternative service
arrangements, or to intercept, hold or return any shipment when, among other reasons, UPS, in
its sole discretion, determines that it is unsafe or economically or operationally impracticable to
provide service, that its services are being used in violation of federal, state, or local law, or for
fraudulent purposes, or when the account of the person or entity responsible for payment is not
in good standing.
8.     Packaging
It is the responsibility of the shipper to ensure that proper packaging is used and that contents
are adequately and securely packed, wrapped, and cushioned for transportation. Shipments
must be so packed or wrapped as to meet UPS’s published standards related thereto set forth in
the Service Guide, or on ups.com, and as to pass tests set forth in the International Safe Transit
Association (“ISTA”) Procedure 3A, Procedure for Testing Packaged Products, published by
ISTA. In addition, any tested product must be free from damage and the packaging must afford
reasonable protection as determined by UPS in its sole judgment.
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Shipments containing goods of high value or high risk, including without limitation jewelry,
pharmaceuticals, computers, hand-held electronic devices, mobile telephones, and electronic
components of these, must not have labels, customized shipping labels (including as created in a
UPS Automated Shipping System), markings, logos, or other written notice of contents contained
within the package.
The use of UPS-provided packaging is not a guarantee that an item is sufficiently packaged for
transportation. UPS does not provide special handling for shipments with “Fragile,” orientation
markings (e.g., “UP” arrows or “This End Up” markings), or any other similar such markings.
When shipping media of any type containing sensitive personal information (such as personal
financial or health information), it is recommended that the shipper retain a copy of the data and
secure the data on the media through encryption or other technological means. UPS is not liable
or responsible for loss of, damage to, or irretrievability of data stored on media of any type, or for
loss of information, including without limitation personal, health or financial information. For the
shipment of electronic media, or for breakable items, see the packaging guidelines located at
ups.com. The guidelines advise against the use of Express Envelopes, Express Paks, or
Express Pad Paks to ship sensitive personal information or breakable items.
UPS Worldwide Express Freight™ shipments must be palletized, stackable, able to be lifted by
forklift, and shrink-wrapped or banded to a skid. Shipper must ensure that pallets and packaging
comply with all applicable laws and regulations of the origin and destination country.
9.     Use of UPS-Provided Materials and Services
UPS-provided materials including, but not limited to, packaging materials and supplies,
envelopes, labels, label printers, shipping documents, publications and products are provided
solely for the use of UPS shippers to obtain UPS services on their behalf and to interact with
UPS. Any other use of such UPS-provided materials is strictly prohibited.
UPS Express® Envelopes, Express Paks, Express Boxes, Express Tubes, UPS 10KG Box® and
UPS 25 KG Box® may not be used for UPS Ground, UPS Standard™, UPS 3 Day Select®, or
UPS Worldwide Expedited® shipments.
Under no circumstances may a shipper sell any UPS-provided materials, products, or services to
any third party without prior written authorization from UPS.
A weekly charge applies for use of UPS-provided thermal label printers.
10.    Use of UPS Electronic Information Systems
Use of UPS electronic information systems to which shippers are granted access by UPS and
which are accessed by means of hardware, software, or internet interfaces, including UPS
Shipping Systems, are subject to and will be governed by the terms in effect at the time of
shipping for the relevant system, including without limitation, the UPS Technology Agreement,
the iShip® Master Enterprise Service Agreement, the ConnectShip® End User License
Agreement, or that agreement licensing use of a UPS Ready® solution.
11.    Timely Upload of PLD
The shipper must provide Timely Upload of Package Level Detail (“PLD”) to UPS. Timely Upload
of PLD as used in these Terms refers to the electronic transmission of all applicable PLD
information to UPS at or before the time that shipments are tendered to UPS. PLD includes, but
is not limited to, consignee’s full name, complete delivery address, and shipment dimensions and
weight.




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12.    ZIP Code™/Postal Code Information
The receiver’s ZIP Code™ is a required part of the address for domestic shipments. When
available, ZIP+4™ should be used. The receiver’s postal code, telephone number, and contact
name are required parts of the address for international shipments.
13.    P.O. Boxes
UPS does not provide Delivery to a P.O. Box. The shipper must make every effort to obtain a
street address. If the shipper should use a P.O. Box address, the recipient’s telephone number
must be included. A package addressed to a P.O. Box may experience delays, is not covered by
any UPS Service Guarantee, and is subject to an Address Correction charge. Army Post Office
(APO) and Fleet Post Office (FPO) addresses are not accepted.
14.    UPS Customer Center and UPS Worldwide Express Freight™ Center
Before accepting a shipment tendered for transportation or releasing any shipment at a UPS
Customer Center or a UPS Worldwide Express Freight Center to a consignee or other recipient,
UPS reserves the right to require sufficient verification, as determined by UPS in its sole
discretion, of the shipper’s or recipient’s name, address, authorization to ship or receive the
shipment, or any other information UPS deems necessary to accept or release the shipment in
its sole discretion. Persons tendering or picking up shipments on behalf of a business may be
required to provide identification issued by the business and a government-issued identification.
A residential consignee will be required to provide a government-issued identification. UPS
reserves the right to require payment to be made at Customer Centers and UPS Worldwide
Express Freight Centers by payment card only.
15.    Third-Party Retailer
The UPS Store® locations are independently owned and operated by licensed franchisees of The
UPS Store, Inc., a subsidiary of United Parcel Service, Inc., and are not agents of UPS. Other
Third-Party Retailers are independently owned and operated businesses and are not agents of
UPS. UPS assumes no liability other than to the Third-Party Retailer as the shipper of the
package, for lost, damaged or delayed packages sent via the Third-Party Retailer. Any such
liability to the Third-Party Retailer is subject to the limitations set forth in the Terms. All inquiries
regarding packages shipped via any Third-Party Retailer must be directed to the Third Party
Retailer that shipped the package. UPS will deal solely with the Third-Party Retailer in all
matters concerning packages shipped via any Third-Party Retailer including, but not limited to:
tracking/tracing requests; claims and guarantees; C.O.D. preparation and remittance; return of
undeliverable packages; proper packaging and labeling; and billing. Even if UPS responds
directly to customers of the Third-Party Retailer regarding tracking requests, UPS will not be
liable to those customers. The Third-Party Retailer is solely responsible for the issuance of any
refunds and claims to those who shipped packages via the Third-Party Retailer. For any
package shipped via the Third-Party Retailer with a declared value in excess of $1000, the Third-
Party Retailer must provide a copy of the high-value control log to UPS at the time of tender of
the package. The Third-Party Retailer shall not ship any articles which UPS does not accept for
transportation. The Third-Party Retailer shall indemnify and hold harmless UPS in any action
against UPS arising from the loss, damage, or delay of a package shipped via the Third-Party
Retailer.
16.    Pickup Services–Scheduled
UPS offers the following Scheduled Pickup Services:
–Daily Pickup: When Daily Pickup service is selected, UPS will call on shipper’s location once
each business day to pick up packages. UPS may not call upon a location on any day in which
the account indicates that there are no packages available for pickup.

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–Daily On-Route Pickup: When Daily On-Route Pickup service is selected, UPS will call at
shipper’s location each business day to pick up packages while making deliveries in shipper’s
area.
–Day-Specific Pickup: When Day-Specific Pickup is selected, UPS will call on shipper’s location
each business day as preselected by shipper. Shipper may select up to four business days per
week for Day-Specific Pickup.
–UPS Smart Pickup®: When UPS Smart Pickup is selected, UPS will call on shipper’s location
any business day when the shipper transmits PLD using the current version of WorldShip®, UPS
CampusShip®, or UPS Internet Shipping by the deadline designated by UPS, or if shipper has
scheduled a pickup by telephone or through ups.com prior to the deadline designated by UPS.
For Daily Pickup, Daily On-Route Pickup, and Day-Specific Pickup, a weekly service charge
based on the account’s weekly billing total, as reflected in the UPS billing system, will be
assessed. The weekly billing total may not necessarily reflect all packages tendered during a
calendar week. For UPS Smart Pickup, a weekly service charge will be assessed.
Scheduled Pickup Services are not available for UPS Worldwide Express Freight service.
17.    UPS On-Call Pickup® Service
When UPS On-Call Pickup Service is requested by the shipper, UPS will arrange (where
reasonably practicable) a pickup at the shipper’s location. An additional charge for On-Call
Pickup Service will be assessed.
On-Call Pickup Service from a Residential location will be assessed an additional surcharge for
residential pickup. If the Residential location is in a remote or less accessible area as designated
by UPS, an additional surcharge for extended area or remote Residential pickup also will apply.
On-Call Pickup Service must be requested for each UPS Worldwide Express Freight™ shipment
pickup or drop-off (for door-to-door and non door-to-door services), and may not be combined
with a package pickup. No additional charge for On-Call Pickup Service applies to UPS
Worldwide Express Freight service.
18.    Saturday Pickup; Processing Fee
UPS offers Saturday pickup of UPS Air Services packages and UPS Hundredweight Air Services
shipments for Delivery in the United States and Puerto Rico where such services are available.
The shipper should contact UPS for information regarding UPS’s Saturday pickup area. UPS Air
Services shipments picked up on Saturday receive the same delivery commitment as UPS Air
Services shipments picked up on Friday. Saturday pickup service is provided by the following
methods:
–A shipper may request Saturday pickup via UPS On-Call Pickup service by contacting UPS on
each Saturday, excluding holidays, on which the service is needed.
–At the shipper’s option, UPS will call at the shipper’s premises every Saturday, excluding
holidays, to pick up qualifying shipments. A surcharge will be assessed if UPS calls at the
shipper’s premises on Saturday and there are no packages to be picked up on that day.
An additional charge will be assessed for each UPS Air Services package or UPS
Hundredweight Air Services shipment processed using a UPS Shipping System, tendered to
UPS, or tendered to a Third-Party Retailer on a Saturday, in addition to any applicable UPS On-
Call Pickup® charge.




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19.    Drop Shipment
A unique Drop Shipper account number will be assigned to approved shippers and must be used
solely for the origin and destination locations as specified in the UPS Drop Ship Letter of
Understanding or as required by UPS.
UPS reserves the right to refuse any Drop Shipment request, in its sole discretion, including, but
not limited to, any Drop Shipment that is operationally or economically impracticable to transport.
A request for Drop Shipment service is not reasonable unless the shipper makes a prior
arrangement with UPS, agreed to in advance by UPS, as to timing, location, and volume of the
Drop Shipment.
When a shipper, through prior arrangements with UPS, tenders packages at UPS’s receiving
stations with a return address requiring a movement greater than a Zone 2 movement from the
point of tender, any undelivered packages will be returned automatically and will be charged at
the rate applicable between the point of tender and the return address. The effective UPS Rates
for the applicable shipment will apply.
UPS does not accept, and shippers are prohibited from shipping, any package via a Drop
Shipment that contains Hazardous Materials, except for Limited Quantity/ORM-D packages that
are tendered for UPS Ground service in the 48 contiguous United States.
20.    Delivery
UPS does not limit Delivery of a shipment to the person specified as the receiver in the UPS
Shipping System. Unless the shipper uses Delivery Confirmation service requiring a signature,
UPS reserves the right, in its sole discretion, to make a Delivery without obtaining a signature.
21.    Residential Delivery
If the delivery location could be construed as either residential or commercial, then a Residential
Delivery surcharge will apply. A residential delivery surcharge will apply even if the delivery
location is later changed by the shipper or consignee to a commercial location.
22.    Deliveries Attempted Three Times Without Extra Charge
If UPS is unable to deliver a shipment, a notice will be left at the consignee’s address stating that
delivery has been attempted. Thereafter, a second and, if necessary, a third attempt to deliver
the shipment will be made without additional charge. For UPS Worldwide Express Freight™
shipments, only one delivery attempt will be made; subsequent delivery attempts are subject to
additional charges which will be charged to the consignee.
23.    Hold for Pickup and Hold at Location Services
At the time a shipper tenders a shipment to UPS, the shipper may request that UPS hold a
domestic package at a designated UPS Customer Center for pickup by the consignee. For each
such shipment, the shipper will complete an address label showing the words “Hold for Pickup,”
the consignee’s name, telephone number, the name of a contact person, and the full address of
the designated UPS Customer Center. In addition, the shipper will apply a UPS Hold for Pickup
label below the address label on the shipment. Hold for Pickup is not available for international
package shipments.
For UPS Worldwide Express Freight™ shipments, the shipper may request that UPS hold a UPS
Worldwide Express Freight shipment at a UPS Worldwide Express Freight Center location for
pickup by the consignee. For each such shipment, the shipper will complete an address label
showing the words “Hold for Pickup,” the consignee’s name, telephone number, the name of a
contact person, and the full address of the consignee (designated UPS Worldwide Express
Freight Center address not required).

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UPS will hold the shipment at the designated UPS Customer Center or UPS Worldwide Express
Freight Center and will attempt to contact the consignee at the telephone number shown on the
label. Shipments not picked up within five (5) business days from the date of arrival will be
considered undeliverable.
24.    Shipper Release
A shipper may request that UPS release a shipment on the first Delivery attempt. When Shipper
Release is selected, UPS will make only one Delivery attempt, a signature will not be obtained
upon Delivery, and a UPS delivery record showing a completed Shipper Release delivery shall
be conclusive proof that Delivery was completed. Shipper Release is provided solely at the
shipper’s risk of loss or damage arising from the release of the shipment by UPS and UPS will
not be liable to shippers or third parties for any damages arising from the release of the
shipment.
25.    UPS carbon neutral
A shipper may request that UPS offset the climate impact of a shipment via UPS carbon neutral
service by selecting UPS carbon neutral at the time a shipment is tendered to UPS. By selecting
UPS carbon neutral, UPS will purchase and retire in the appropriate registry a sufficient number
of voluntary or regulatory carbon credits as determined by UPS in its sole discretion to offset
calculated carbon dioxide emissions. UPS carbon neutral is available only for shipments shipped
using a UPS Automated Shipping System. An additional charge will be assessed for each
package or pallet.
26.    UPS Delivery Intercept®
After a domestic package has been tendered to UPS but before Delivery, a shipper may request
that UPS return a package to the shipper, reroute a package (including a request by shipper to
correct an address), hold the package for pickup at a UPS Customer Center, or hold a package
for future delivery. UPS may in its discretion also accept a UPS Delivery Intercept request from a
third party when the shipper has requested that the third party’s UPS account number be billed
for such package. UPS will honor a UPS Delivery Intercept request in its discretion where
practicable and where the shipper has guaranteed payment of applicable charges resulting from
the change. An additional charge, set forth in the UPS Rates applicable to the shipment in effect
at the time of the request will be assessed for each package returned to the shipper, rerouted, or
held for future delivery. If a request to reroute a package requires a package movement from the
original receiver address beyond a UPS Zone 2, additional transportation charges also will apply.
The transportation charges will be calculated at the applicable rate between the original receiver
address and new rerouted address. For a request to return to shipper, transportation charges as
set forth in Section 34 for undeliverable packages will apply and be assessed to the shipper.
27.    Delivery Change Requests
After delivery has been attempted and the receiver has received notice from UPS that delivery
has been attempted (UPS InfoNotice® or postcard number required), the receiver may request,
for a package or a pallet, that UPS return to the shipper, hold for pickup at a UPS Customer
Center or UPS Worldwide Express Freight™ Center, hold for future delivery, or reroute a package
(but not a pallet) (“Delivery Change”). Delivery Change Requests to reroute international
shipments are not available. UPS will honor a Delivery Change Request in its discretion where
practicable and where the receiver has guaranteed payment of any applicable charges resulting
from the change. By requesting a Delivery Change, the receiver acknowledges and agrees that
the limitations of liability set forth in the Terms in effect at the time of shipment apply to the
shipment subject to the Delivery Change Request and that the value originally declared by the
shipper, if any, shall continue to apply throughout the course of transportation pursuant to the
Delivery Change Request. UPS assumes no liability other than to the shipper of the shipment for
loss, damage, or delay of any shipment subject to Delivery Change. An additional charge set

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forth in the UPS Rates applicable to the shipment in effect at the time of the request will be
assessed to the consignee for each package rerouted or held for future delivery by a Delivery
Change Request. If a request to reroute a package requires a package movement from the
original receiver address beyond a UPS Zone 2, additional transportation charges also will apply
and be assessed to the consignee. The transportation charges will be calculated at the
applicable rate between the original receiver address and new rerouted address. Delivery
Reattempt charges will apply to subsequent attempts to deliver UPS Worldwide Express Freight
shipments beyond the first delivery attempt. For a request to return to shipper, transportation
charges as set forth in Section 34 for undeliverable shipments will apply and be assessed to the
shipper.
28.    Correction of Addresses
If UPS is unable to deliver any shipment as addressed by the shipper, or if the shipment has an
incorrect or incomplete address (examples include, but are not limited to, P.O. Boxes, missing
suite, apartment, or unit numbers, old addresses, and missing/incorrect ZIP Codes), UPS will
make reasonable efforts, to be determined in its sole discretion, to secure the correct or complete
address. An address validated by UPS may be incorrect or incomplete for purposes of
completing Delivery, and may be corrected by UPS. If the correct or complete address is
secured, UPS, at its sole discretion, will attempt delivery, and the shipper will be provided with
the correct or complete address in order to update its internal records. An additional charge will
be assessed for an address correction.
29.    Saturday Delivery
UPS offers optional Saturday Delivery where such services are available. A shipper may request
Saturday Delivery by indicating the selection in the UPS Shipping System and attaching a
Saturday Delivery routing label to each package or pallet. An additional charge will be assessed
for each shipment for Saturday delivery and will be billed to the payer of the transportation
charges. Contact UPS for UPS’s Saturday Delivery area.
30.    Delivery Confirmation Services
UPS provides the following Delivery Confirmation Services. An additional charge applies for
each service. Delivery Confirmation information, including signatures where applicable, is
available online or by mail. Where applicable, only valid UPS accounts will receive responses
via mail:
       30.1   Delivery Confirmation (domestic only)
A shipper may request Delivery Confirmation Service by indicating Delivery Confirmation on the
UPS Source Document (excluding Air Shipping Documents) or in a UPS Automated Shipping
System. Delivery Confirmation information will include the date of delivery and either the name
of the recipient or the disposition of the package; or, in the event of a return, the reason for the
return and the date processed.
       30.2   Delivery Confirmation Signature Required (domestic and international)
A shipper may request UPS to obtain the recipient’s signature on Delivery. The shipper must
use a UPS Automated Shipping System to initiate a request for this service. UPS may obtain, at
its discretion, a signature or other electronic acknowledgment of receipt from the recipient when
this option is selected.
      30.3 Delivery Confirmation Adult Signature Required (domestic and
international)
A shipper may request UPS to obtain the signature of an adult 21 years of age or older on
Delivery. UPS, in its sole discretion, will determine if Delivery can be completed when such a

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request is made, and may request photo identification indicating the recipient’s age, before
completing Delivery. The shipper must use a UPS Automated Shipping System to initiate a
request for this service. UPS reserves the right to assess the shipper the additional charge for
this service when the shipper requests UPS to obtain an adult signature on Delivery and an
approved UPS label is not affixed to the package or pallet indicating such request, or, the shipper
tenders a package or pallet that, based upon its contents, requires an approved UPS label
requesting an adult signature upon Delivery and no such label has been affixed to the package
or pallet.
31.    UPS Next Day Air® Early A.M.® Verbal Confirmation of Delivery
The shipper may request optional Verbal Confirmation of Delivery when shipping via UPS Next
Day Air® Early A.M.® Verbal Confirmation of Delivery is not available in Hawaii and is not
available for international shipments. When this service is selected, UPS will call the shipper to
confirm Delivery on the day of Delivery. The additional charge for each Verbal Confirmation of
Delivery request will be billed to the payer of the transportation charges.

32.    Proof of Delivery (P.O.D.)
Upon request, UPS will provide proof of delivery of a shipment via fax transmission, email, or
mail. The request must include a fax number, including area code, for an operating fax machine,
an email address for email delivery, or an address deliverable by the United States Postal
Service for mail.
33.    Tracking/Tracing and Refund Request Charge
UPS reserves the right to assess a shipper an additional charge per request for each
Tracking/Tracing and Refund Request initiated by or at the request of the shipper. This charge
will not be assessed for the first 50 tracking requests per calendar week, or for a quantity of
tracking requests equal to or less than 20 percent of the shipper’s volume for that week,
whichever is greater. This charge will not be assessed for a quantity of tracing requests equal to
or less than two percent of the shipper’s volume for that week. UPS also reserves the right to
assess the shipper a charge set forth in the effective UPS Rates for Service Guarantee refund
requests when the subject shipment was delivered in accordance with the applicable UPS
Service Guarantee in the effective Terms.
34.    Special Handling of Undeliverable Shipments; Refused Shipments Returned
Shipments refused by the consignee, or which cannot be delivered will be returned to the shipper
at shipper’s expense, including, but not limited to, forwarding costs, return transportation
charges, duties, and taxes. Undeliverable international shipments returned to the shipper also
are subject to an undeliverable shipment surcharge set forth in the effective UPS Rates. The
UPS Service Guarantee does not apply to undeliverable shipments returned to the shipper.
UPS reserves the right to dispose of a shipment, including salvage (after retention of the
shipment for a reasonable period of time as determined by UPS, not to exceed 30 days) if the
shipment is refused by the consignee or for any other reason cannot be delivered, and return of
the shipment is refused by the shipper or the shipment cannot otherwise be returned to the
shipper. The shipper or consignee’s sole recourse in such circumstances shall be in accordance
with and subject to Sections 49 (“Claims and Legal Actions”) and 50 (“Responsibility for Loss or
Damage”).
35.    C.O.D. Service
UPS accepts C.O.D. packages for delivery in the United States and Puerto Rico. C.O.D. service
is not provided for international shipments except for international shipments originating in


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Canada for delivery in the United States. C.O.D. service is not available for UPS Worldwide
Express Freight Service from any origin.
       35.1   Preparation and Listing of C.O.D. Packages
Shippers not using a UPS Automated Shipping System must prepare and attach to each C.O.D.
package a UPS C.O.D. tag showing the amount to be collected and enter such amount in the
space provided for that purpose.
Shippers using a UPS Automated Shipping System will generate, and apply to each C.O.D.
package, a system-generated address label with a C.O.D. bar code and the amount to be
collected for each individual package. Each C.O.D. package in a UPS Hundredweight Service®
or UPS Ground with Freight Pricing C.O.D. shipment must carry a C.O.D. tag or system-
generated label for the goods contained in that package.
       35.2   Responsibility for C.O.D.s
Upon delivery of each C.O.D. package, UPS will attempt to collect the amount shown on the
C.O.D. tag or the system-generated label attached to the package and transmit to the shipper the
amount so collected (subject to the terms in Section 35, “Remittance of C.O.D.s,” below), or, if
collection cannot be made, will return the package to the shipper. The shipper must notify UPS
within 45 days from the date of shipment of a C.O.D. shipment if the shipper has not received
payment of the C.O.D. amount, or any claim relating thereto shall be deemed waived. Suits shall
be instituted within two years after denial of any portion of the claim.
If collection cannot be made within three delivery attempts, or the consignee refuses delivery,
UPS will return the package to the shipper.
       35.3   Consignee’s Checks in Payment of C.O.D.s
Unless instructions to collect a cashier’s check or money order only are shown on the C.O.D. tag
(in conformity with the instructions on the tag) or system-generated label, UPS will accept a
check or other negotiable instrument issued by or on behalf of the consignee. When instructions
to collect a cashier’s check or money order only are clearly indicated on the C.O.D. tag or
system-generated label, UPS reserves the right to accept a cashier’s check, money order, official
bank check, or other similar instrument issued by or on behalf of the consignee.
All checks or other negotiable instruments (including cashier’s checks, official bank checks,
money orders, and other similar instruments) tendered in payment of C.O.D.s will be accepted by
UPS based solely upon the shipper assuming all risk relating thereto, including, but not limited to,
risk of non-payment, insufficient funds, and forgery, and UPS shall not be liable upon any such
instrument.
All checks or other negotiable instruments (including cashier’s checks, official bank checks,
money orders, and other similar instruments) will be transmitted to the shipper together with
UPS’s own check if consignee check(s) collected are for less than the C.O.D. amount.
Remittances (checks, money orders, etc.) received that are less than the C.O.D. dollar amount
indicated by the shipper will be reimbursed for the full amount unless the variance of the amount
remitted is less than $1.00.
       35.4   C.O.D. Package of $10,000 or More
UPS may require payment for any C.O.D. package of $10,000 or more to be received in a single
check or other negotiable instrument such as a cashier’s check, money order, official bank
check, or other similar instrument.




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       35.5   Acceptance of Personal Check
In the event that UPS accepts a personal or company check when a shipper has properly
instructed UPS to collect a cashier’s check or money order only, UPS reserves the right, in its
sole discretion, to deposit into a UPS account the personal or company check collected and to
provide the shipper with a check issued by UPS.
       35.6   C.O.D. Remittance Verification
In the event that a shipper timely notifies UPS that the shipper has not received payment of the
C.O.D. amount, if UPS’s records show that it collected a C.O.D. payment and the remittance has
not been cashed, UPS may, in its sole discretion, provide the shipper with a digital image of the
check or money order along with a C.O.D. Remittance Verification in order to assist the shipper
in locating the missing C.O.D. payment. If the shipper is still unable to locate the C.O.D.
payment, UPS may, in its sole discretion, provide the shipper with an indemnified C.O.D. check
or money order, which is a digital image of the original payment collected by UPS at the time of
delivery and can be deposited in a bank, provided that the original check or money order has not
previously been deposited or negotiated. If the indemnified check or money order turns out to be
invalid for any reason including, but not limited to, insufficient funds or forgery, UPS shall not be
liable upon the instrument.
       35.7   Restrictions
C.O.D.s are accepted for amounts up to $50,000 per package.
C.O.D. packages with an amount to be collected in excess of $500 are not accepted for
transportation via a UPS Drop Box.
Entry of a C.O.D. amount is not a declaration of value for carriage. Payment of the C.O.D.
charge does not constitute payment of the declared value charge.
UPS will not accept currency in any amount for payment of C.O.D. shipments.
       35.8   Charges for C.O.D. Collections
An additional charge will be assessed for each C.O.D. package tendered to UPS.
       35.9   Remittance of C.O.D.s
Subject to the following provisions of this section, UPS shall remit C.O.D. collections to the
shipper after the date of collection.
The shipper irrevocably authorizes UPS to apply, in its sole discretion and without prior notice to
the shipper, any C.O.D. collections to any past due Charges owed by the shipper. To this end, if
there are any past due Charges owed by the shipper, the shipper hereby (a) irrevocably assigns
and transfers to UPS all of the shipper’s right, title and interest in and to each check or other
negotiable instrument for payment of a C.O.D. that is received by UPS or its employee or agent,
and (b) constitutes and appoints UPS as the shipper’s attorney-in-fact and authorizes UPS, in the
shipper’s name, place, and stead, to endorse any such check or other negotiable instrument with
the shipper’s name, to deposit the same into any UPS account, and to apply the proceeds of the
same against any past due Charges owed by the shipper. The shipper acknowledges and
agrees that such appointment of UPS as the shipper’s attorney-in-fact is coupled with an interest
and is irrevocable. UPS may exercise any of its rights under this section either directly or
through any employee or agent.
The shipper relinquishes, waives, and agrees not to assert any claim against UPS or any of its
employees or agents, any consignee, any collecting or paying bank, or any other person or
entity, that may directly or indirectly arise as a result of UPS’s exercise of any of its rights under

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this section Remittance of C.O.D.s. Without diminishing any of UPS’s rights under the preceding
sentence, the shipper agrees that UPS and such other persons or entities shall not be liable to
the shipper or any other person or entity for any special, incidental, or consequential damages in
any claim made with respect to UPS’s exercise of any such rights.
The shipper agrees that, following UPS’s application of any C.O.D. collections to any past due
Charges owed by the shipper in accordance with this section, the shipper will continue to be fully
liable for the payment of all remaining Charges owed by the shipper (including, without limitation,
(i) any Charges that are not covered by the application of the C.O.D. collections, and (ii) any
Charges relating to a previously applied C.O.D. collection that is reversed by reason of the
uncollectibility of the C.O.D. check or other negotiable instrument or otherwise).
Nothing in this section shall constitute an election of remedies by UPS or any other person or
entity or a waiver of any of the rights of UPS or any other person or entity under the remaining
provisions of the Terms or at law or in equity.
36.    UPS Returns® Services
Where available, UPS offers UPS Returns® Services (defined as Authorized Returns Service
(ARS), Print Return Label, Electronic Return Label, Print and Mail Return Label, 1 UPS Pickup
Attempt, 3 UPS Pickup Attempts, UPS Returns on the Web, UPS Returns® Flexible Access, and
UPS Returns® Exchange). 3 UPS Pickup Attempts is not available for UPS Worldwide Express
Freight. ARS, UPS Returns Flexible Access, and UPS Returns Exchange are contractual
package services only.
An additional accessorial charge applies to each UPS Returns Services package or pallet and
will be assessed when the service is requested. The applicable charges will be those set forth in
the UPS Rates in effect at the time the charge is applied. Upon Delivery, a package or pallet
returned will be charged the rate calculated from the pickup location to the destination via the
service selected.
Shipments containing certain items are prohibited from being shipped and are not accepted by
UPS for UPS Returns Services including, but not limited to, Hazardous Materials shipments
requiring shipping papers, firearms, and shipments requiring Delivery Confirmation Services.
C.O.D. (Collect on Delivery) service is not available for UPS Returns Services packages. Third-
Party Billing is not available for UPS Returns Services in the United States. Third-Party Billing is
available for UPS Returns Service outside the United States.
UPS Returns Services shipments are subject to maximum declared values. See section 50.1,
Maximum Declared Values.
37.    UPS Rates
The applicable UPS Rates are determined on the basis of shipment and shipper characteristics,
including shipment weight and size and origin to destination distance, and are subject to change.
Except as otherwise stated in the Terms, all charges, fees, or surcharges shall be those set forth
in the UPS Rates in effect at the time of shipping.
To determine the amount of any Charges for UPS service, consult the UPS Rates in effect at the
time of shipping. The effective UPS Rates are available at www.ups.com and upon request at
the local UPS office.
Shippers are responsible for providing accurate and complete shipment information in the UPS
Shipping System used, including service selected, number, weight, and dimensions of
shipments. If any aspect of the shipment information is incomplete or incorrect as determined by
UPS in its sole discretion, UPS may adjust Charges at any time.



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UPS reserves the right in its sole discretion to use any mode of transportation whatsoever to
provide the service selected by the shipper. Regardless of the mode of transportation used, the
effective UPS Rates for the service selected by the shipper shall apply. If, however, a shipper
selects a UPS service to a destination for which only a higher level of service is available, UPS
will substitute the next higher level of available service and will charge the corresponding rate for
the substituted service.
       37.1   Daily Rates, Standard List Rates, and Retail Rates
Daily Rates apply to UPS account holders who have a UPS Scheduled Pickup account
established prior to January 3, 2011, and to UPS account holders with a customized shipping
agreement that provides for Daily Rates.
Standard List Rates apply to UPS account holders who have a UPS Scheduled Pickup account
established on or after January 3, 2011, and to UPS account holders with a customized shipping
agreement that provides for Standard List Rates. Standard List Rates also are available upon
request to UPS account holders who receive Retail Rates and have average shipping revenue of
at least $50 per week for a consecutive four-week period, excluding the month of December.
UPS account holders who receive Standard List Rates but no longer meet criteria to qualify for
Standard List Rates may be charged Retail Rates without further notice from UPS. UPS account
holders receiving Retail Rates who believe they may qualify for Standard List Rates must contact
UPS in order to be considered for Standard List Rates. Upon request, UPS will then determine
whether the UPS account holder is eligible for Standard List Rates, in UPS’s discretion. Any rate
changes will be applied prospectively only, and no refunds or credits for charges or rates
previously assessed will be issued, regardless of eligibility prior to shipment.
Shippers who do not receive Daily Rates or Standard List Rates will be charged Retail Rates.
Retail Rates also apply to shipments processed and paid for at The UPS Store® or UPS
Customer Centers.
Shippers who drop off at a location of The UPS Store or a UPS Customer Center packages that
have already been processed prior to drop off will receive the rates applicable to the transaction.
UPS Worldwide Express Freight™ pallets that are processed as door-to-door pallets prior to drop
off at a UPS Worldwide Express Freight™ Center will receive door-to-door rates.
       37.2   Letter Rates
Letter Rates for domestic shipments are available only for UPS Express® Envelopes containing
correspondence, urgent documents, or electronic media, with an actual weight of eight ounces or
less. UPS Express® Envelopes containing items other than those listed or weighing more than
eight ounces will be assessed the corresponding rate for the applicable weight. For international
shipments, Express Envelopes may be used only for documents of no commercial value (which
may include electronic media in some countries), with an actual weight of eight (8) ounces or
less. UPS Express Envelopes containing other items, or weighing more than eight ounces will
be assessed the corresponding Pak Rates.
       37.3   Pak Rates
Pak Rates are available only for UPS Worldwide Express Plus®, UPS Worldwide Express®, and
UPS Worldwide Saver® single package U.S. export shipments in UPS Express® Envelopes
containing correspondence, urgent documents, or electronic media, with an actual weight of
more than eight ounces but less than or equal to two pounds; or, for packages using UPS
Express® Pak packaging when UPS Pak is selected at the time of shipping, and the declared
value of the package for customs is less than or equal to $100.00. UPS Express Pak shipments
weighing more than two pounds will be assessed the corresponding applicable UPS Rates for
the shipment.

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       37.4   UPS 10KG Box® and UPS 25KG Box® Rates
UPS 10KG Box® and UPS 25KG Box® Rates apply to UPS Worldwide Express Plus®, UPS
Worldwide Express®, and UPS Worldwide Saver single package U.S. export shipments, using
UPS 10KG and 25KG packaging. Shipments that exceed 10KG and 25 KG, respectively, will be
assessed the applicable UPS Rates for the actual weight and service selected.
       37.5   Private Express Statutes
The shipper shall comply with the requirements of the Private Express Statutes when using UPS
2nd Day Air A.M.® and UPS 2nd Day Air® services.
       37.6   Rates for Large Packages; Large Package Surcharge
A package is considered a “Large Package” when the package measurements exceed 130
inches in length and girth [(2 x width) + (2 x height)] combined, and are equal to or less than 165
inches.
The rate for a Large Package will be based on the greater of the dimensional weight or the actual
weight, and is subject to a minimum billable rate set forth in the UPS Rates applicable to the
shipment in effect at the time of the shipping.
A Large Package Surcharge (LPS) will be applied to each Large Package. Each Large Package
in a multiple-package shipment may receive an LPS. LPS will not apply to Authorized Return
Services UPS Ground packages, or to UPS Worldwide Express Freight shipments.
       37.7   Over Maximum Limits Charge
Packages that exceed the weight or size restrictions set forth in Section 3.1 (“Items Not Accepted
for Transportation”) are subject to one or more of the following additional charges: Over
Maximum Weight, Over Maximum Length, or Over Maximum Size. Such charges apply in
addition to all other applicable charges, including but not limited to the Large Package
Surcharge.

       37.8   Additional Handling Charge
An Additional Handling charge will be assessed for any package that requires special handling,
as determined by UPS in its sole discretion, including, but not limited to:
–Any article that is encased in an outside shipping container made of metal or wood;
–Any cylindrical-like item, such as a barrel, drum, pail, or tire, that is not fully encased in a
corrugated cardboard shipping container;
–Any package with the longest side exceeding 60 inches or its second-longest side exceeding 30
inches;
–Any package with an actual weight greater than 70 pounds; and
–Each package in a UPS Hundredweight, UPS Ground with Freight Pricing, UPS Standard™, or
international shipment (excluding UPS Worldwide Express Freight™ shipments) where the
average weight per package is greater than 70 pounds and the weight for each package is not
specified in the UPS Shipping System used.

       37.9   Oversize Pallet Handling Surcharge
An Oversize Pallet Handling Surcharge will apply to UPS Worldwide Express Freight™ pallets that
are Oversize. A pallet is considered Oversize when its dimensions exceed thresholds that vary
by origin and destination as set forth at http://www.ups.com/media/en/oversize pallet.pdf.

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UPS Worldwide Express Freight™ pallets are also subject to maximum size restrictions (which
vary by origin and destination) as set forth at www.ups.com/palletmaximums. Pallets that exceed
these size restrictions are also subject to an Oversize Pallet Handling Surcharge.
38.    Fuel Surcharge
UPS reserves the right to institute a fuel surcharge on some or all shipments without prior notice.
This surcharge is subject to adjustment monthly. This surcharge may apply to any domestic or
international transportation or other charges including, but not limited to, any accessorial charge
or surcharge. The current fuel surcharge is described at ups.com.
Regardless of the mode of transportation used, the effective fuel surcharge for the service
selected by the shipper shall apply. This surcharge will be applied to such services and for such
periods as UPS, in its sole discretion, may determine necessary.
39.    Manual Processing Charges
UPS reserves the right to assess a manual processing charge of $0.50 per package or $35 per
week (whichever is greater) to shippers who ship packages using a UPS Shipping System that
applies outdated UPS Rates until such time as the shipper upgrades the UPS Shipping System
to reflect current UPS Rates.
A manual processing service charge will be assessed to each package shipped using a UPS 3
Day Select® or UPS Ground shipping document.
40.    Billing Options for Domestic Shipments
Unless otherwise agreed to in writing by UPS, shipping charges will be billed to the shipper.
UPS accepts shipments for Collect billing and Third-Party billing, provided the consignee or third
party has a valid UPS account number and has agreed to accept the charges. Regardless of the
billing option selected, some charges including, but not limited to, address correction charges,
will be billed to the shipper.
41.    Billing Options for International Shipments
The amount billed includes, but is not limited to, shipping charges, duties, fees, and taxes, if
applicable. Unless otherwise restricted in the origin or destination country, shippers tendering
packages using a UPS Shipping System may select the payer of shipping charges, duties, and
taxes as Shipper, Receiver, or Third Party. UPS accepts shipments for Receiver or Third Party
billing provided the Receiver or Third Party has a valid UPS account number and has agreed to
accept the charges. In the event of non-payment by the Receiver or Third Party, the shipper is
liable for all charges including, but not limited to, duties, fees, and taxes.
An additional Duty and Tax Forwarding Surcharge will apply if the shipper selects a billing option
in which duties and taxes are to be paid outside of the destination country.
UPS reserves the right in its sole discretion to request advance payment of shipping charges for
any package sent to or from any international destination or origin.
For all shipments where the shipper is not paying the shipping charges, the shipper must notify
the bill payer prior to shipping, and agree to pay all charges in the event of non-payment by the
bill-to party. The shipper is liable for payment in the event of non-payment by the consignee (or
receiver) or third party. All shipments must have a valid UPS billing option indicated on the UPS
Shipping System entry. Regardless of the billing option selected, some charges including, but
not limited to, address correction charges, will be billed to the shipper.



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42.    Bill My Account
UPS may provide in its sole discretion a Bill My Account service to registered shippers to allow
the shipper to bill to its own account Charges incurred at UPS Customer Centers and
participating Third Party Retailer locations. A processing fee for using Bill My Account may apply
and may vary by shipping location. When using Bill My Account, a shipper with customized
contract incentives that may otherwise apply to the account may be limited to certain maximum
incentives (“Incentive Caps”). The applicable processing fee and Incentive Caps are subject to
change without prior notice and are published at www.ups.com/billmyaccount. Incentive Caps
and processing fees in effect at the time of shipping will apply to shipments billed using Bill My
Account.
43.    Disbursement Fee
To expedite customs clearance, UPS may make or process payments of duties and taxes on
behalf of the payer as dictated by the billing option selected. An additional fee, set forth in the
UPS Rates applicable to the shipment in effect at the time of shipping, will be assessed and
billed to the payer.
44.    Currency Conversion Rate
Charges to a payer’s account in a foreign currency will be converted to the payer’s currency
using a weekly exchange rate secured through Major Money Center Banks, plus an exchange
fee, set forth in the UPS Rates applicable to the shipment in effect at the time of shipping.
45.    Missing/Invalid Account Number or Refusal Fee
A processing fee will be charged for a missing or invalid account number when the account
number, including the shipper’s account number, is missing, the account number is not the
correct account number for the bill-to party, the account number is for a receiver or third party
who fails to pay the shipping charges, or the package is shipped to an unauthorized consignee.
In the event of non-payment by the receiver or third party, the shipper will be billed a refusal fee
plus the shipping charges.
46.    Shipping Charge Corrections; Audit
UPS reserves the right to bill for Charges based upon the characteristics of, and services
requested for, shipments actually tendered to UPS. UPS also reserves the right to audit any
package, shipment and/or invoice to verify service selection, dimensions, or weight, and
applicability of any Charges. As part of that audit, UPS may weigh and measure any package or
shipment tendered to UPS using any method UPS deems appropriate, including but not limited to
multidimensional measuring devices. UPS may in its sole discretion increase or adjust Charges
based on the results of such audit. In the event that a package’s or shipment’s dimensions are
altered during transit, UPS reserves the right to bill for Charges based on the altered dimensions.
47.    Payment of Charges
Except where an alternative payment plan applies, UPS’s payment terms require payment in full
in advance.
UPS may provide in its sole discretion alternative payment terms to certain of its shippers. UPS,
in its sole discretion, shall decide which, if any, of the alternative payment plans described below
(see “Alternative Payment Plans”) will be made available to the shipper.
A shipper that is not enrolled in any of the Alternative Payment Plans described below shall pay
all Charges in advance of shipment, as required by UPS.



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Notwithstanding any billing plan that is in effect or payment or billing option selected at the time
of shipment, the shipper is ultimately liable for and agrees to pay all Charges, including in the
event of insolvency, bankruptcy, non-payment, or refusal to pay by the receiver or third party.
All Charges must be paid in the lawful money of the United States of America.
If a shipper submits shipment information to UPS through a UPS Shipping System and does not
subsequently tender such shipment to UPS, it is the shipper’s sole responsibility to request an
adjustment, as set forth below (see Section 47.1, “Invoice Adjustment”). Shippers who fail to do
so will be liable for all applicable Charges.
As an accommodation to the shipper, and in UPS’s sole discretion, UPS may render invoices or
copies of invoices to a third party at the request of the shipper. The shipper remains responsible
for the timely payment in full of all Charges owed by the shipper. By requesting UPS to render
invoices or copies of invoices to a third party, the shipper is deemed to authorize the third party
to act on behalf of the shipper, and UPS may rely thereon in all respects.
UPS also may in its sole discretion elect to render an invoice that includes amounts owed for
services provided by UPS affiliates.
If Charges are paid by payment card, the shipper expressly authorizes UPS to assess any
Charges and to obtain payment of the Charges by use of the payment card. If, for any reason,
any such payment card transaction is rejected or declined, the shipper will pay to UPS a declined
transaction fee of ten dollars ($10) per incident, in addition to any late payment fees assessed by
UPS and any collection costs which may be incurred by UPS in the final collection of Charges
owed by the shipper. The shipper authorizes UPS to charge the declined transaction fee to the
shipper’s payment card account or to collect the fee directly from the shipper, at UPS’s sole
option.
If, for any reason, a negotiable instrument submitted to UPS as payment for Charges is returned
to UPS unpaid, or an electronic request for payment is dishonored, UPS may charge the shipper
a dishonored payment fee of twenty dollars ($20) per incident, in addition to any late payment
fees assessed by UPS and any collection costs which may be incurred by UPS in the final
collection of Charges owed by the shipper.
UPS may provide trade credit information on its shippers to commercial reporting agencies.
       47.1   Invoice Adjustment
Shippers requesting an invoice adjustment (e.g., adjustment of Charges based on an incorrect
rate, billable weight, account number, failure to tender a shipment, type of service, shipping
charge correction, etc.) or a refund due to a duplicate payment must notify UPS of the request
within 180 days of receiving the contested invoice, or any billing dispute is waived. Notification to
UPS of a request for an invoice adjustment must be made in writing using one of the following
methods:
–Submit a request through UPS’s online Billing Center at ups.com/billing;
–Email a request to UPS through ups.com®; or
–Mail a request to United Parcel Service, P.O. Box 7247-0244, Philadelphia, PA 19170-0001;
The notification to UPS must include the date of shipment, the tracking number for each disputed
charge, and the reason for the disputed charge. A partial payment against an invoice is not
considered a request for an invoice adjustment or notice to UPS of a disputed charge. UPS
reserves the right to refuse to issue any invoice adjustment until all outstanding charges owing to
UPS have been paid in full.



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       47.2   Alternative Payment Plans
Where UPS elects to make an alternative payment plan available to the shipper, UPS may
render an invoice to the shipper on a weekly (i.e., seven days) or a monthly (i.e., four or five
calendar weeks) basis. A weekly invoice will include the Charges incurred in the previous week.
Notwithstanding that UPS has elected to render an invoice to the shipper on a weekly basis, an
invoice may be issued only when the shipper has incurred aggregate Charges in excess of ten
dollars ($10), or when five (5) calendar weeks have elapsed from the date of issuance of the last
invoice, whichever event occurs first. A monthly invoice will include the Charges incurred for the
four- or five-week period for which the invoice is issued. In its sole discretion, UPS may offer one
or more of the following alternative payment plans for the payment of Charges:
–Electronic Funds Transfer Plan (Debit EFT)
By written agreement with UPS, the shipper will provide UPS with the shipper’s bank account
number and bank routing number to enable UPS to electronically request payment, for all
Charges incurred by the shipper, directly from the shipper’s bank, on a weekly or monthly basis.
The shipper’s bank will remit the amount requested to UPS and deduct that amount from the
shipper’s bank account. Payments to UPS will be shown on the shipper’s bank statements. The
shipper is responsible for payment of any fees imposed by the shipper’s bank. Additionally, the
shipper will receive a weekly or monthly invoice, as applicable, except as described above, from
UPS listing the services provided for the applicable billing period. If, for any reason, an electronic
request for payment is dishonored, the shipper is responsible for making a timely payment
directly to UPS. Past due balances will be subject to any collection costs which may be incurred
by UPS in the final collection of Charges owed by the shipper. No late payment fee shall be
assessed with respect to the Electronic Funds Transfer Plan.
–Monthly Prepayment Plan
By written agreement with UPS, the shipper will make a prepayment with UPS in an amount
equal to four weeks’ anticipated Charges as estimated by UPS. Upon notice to the shipper, the
required prepayment amount may be changed by UPS at any time to reflect a revised estimate of
four weeks’ Charges. All prepayment amounts will remain on account with UPS. No interest will
be paid or accrued on the prepayment amounts.
The Charges incurred for the applicable month will be totaled and billed to the shipper on a
monthly basis. Payment is due within seven (7) days after receipt of the UPS invoice. Past due
balances will be subject to a late payment fee as described below in addition to any collection
costs which may be incurred by UPS in the final collection of Charges owed by the shipper.
–Weekly Prepayment Plan
By written agreement with UPS, the shipper will make a prepayment with UPS in an amount
equal to four weeks’ anticipated Charges as estimated by UPS. Upon notice to the shipper, the
required prepayment amount may be changed by UPS at any time to reflect a revised estimate of
four weeks’ Charges. All prepayment amounts will remain on account with UPS. No interest will
be paid or accrued on the prepayment amounts.
Shipper will receive invoices on a weekly basis, except as described above. Each invoice will list
the previous period’s Charges incurred. Payment for all accumulated Charges will be due within
seven (7) days following the shipper’s receipt of every fourth invoice; however, if prior to
receiving the fourth invoice the shipper’s accumulated Charges should equal or exceed the
prepayment amounts on account with UPS, then the accumulated Charges will be due within
seven (7) days following the shipper’s receipt of the invoice requiring such payment. Past due
balances will be subject to a late payment fee as described below, in addition to any collection
costs which may be incurred by UPS in the final collection of Charges owed by the shipper.
–Special Payment Plan

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By written agreement with UPS, the shipper may prepay an amount equal to the anticipated
Charges for a period of between ten to twenty-six weeks, as estimated by UPS. The Charges
actually incurred by the shipper will be deducted by UPS on a weekly basis from the prepayment
amounts on account with UPS. Weekly invoices marked as paid will be forwarded to the shipper
reflecting the balance of the prepayment amount on account with UPS. When the prepayment
amount on account with UPS reaches the minimum balance specified in the written agreement,
the shipper is required to make another prepayment for an additional period pursuant to the
same agreement, or, if the shipper does not do so, the shipper must make another payment
arrangement with UPS. All prepayment amounts will remain on account with UPS. No interest
will be paid or accrued on the prepayment amounts. If the Charges incurred by the shipper
exceed the remaining balance of the prepayment amounts on account with UPS, the excess
Charges will be due within seven (7) days following the shipper’s receipt of the invoice requiring
such payment. Past due balances will be subject to a late payment fee as described below in
addition to any collection costs which may be incurred by UPS in the final collection of Charges
owed by the shipper. This payment plan alternative is available only to existing customers
already approved for a Special Payment Plan.
–Credit Extension Plan
By written agreement with UPS, the shipper may elect to pay an annual credit extension fee and
thereafter receive invoices for Charges incurred by the shipper on a monthly basis with no
prepayment requirement. The invoices will be payable within seven (7) days following receipt by
the shipper. The credit extension fee is based upon the shipper’s total annual Charges, as
estimated by UPS, and is subject to change annually by UPS in its sole discretion. To be eligible
for the Credit Extension Plan, the shipper must use UPS’s transportation services and the Credit
Extension Plan solely for business, commercial, or agricultural purposes. A shipper is not eligible
for the Credit Extension Plan if the shipper uses UPS’s transportation services and the Credit
Extension Plan for any personal, family, or household purposes. By using the Credit Extension
Plan (if made available to the shipper), the shipper represents, warrants, certifies, and agrees
that it will use UPS’s transportation services and the Credit Extension Plan solely for business,
commercial or agricultural purposes and not for any personal, family, or household purposes.
Past due balances will be subject to a late payment fee as described below in addition to any
collection costs which may be incurred by UPS in the final collection of Charges owed by the
shipper.
–Weekly Payment Plan
Each week the shipper will receive an invoice for the previous week’s Charges except as
described above. The invoice is due within seven (7) days of receipt. No prepayment is required
under this plan.
Past due balances will be subject to a late payment fee as described below in addition to any
collection costs which may be incurred by UPS in the final collection of Charges owed by the
shipper.
–Credit Card Payment Plan
The shipper may elect to pay the previous week’s Charges by credit card. The shipper will
receive billing detail itemized on its card statement or a weekly invoice, except as described
above, from UPS listing the previous period’s Charges incurred. The shipper will provide UPS
with the shipper’s credit information to enable UPS to process Charges incurred by the shipper
on a weekly basis.
Shipper acknowledges and agrees that there may be a delay of two or more days between the
date that payments are received by UPS and the date that the payments are posted and credited
to the shipper’s account with UPS. If a UPS remittance advice is attached to the shipper’s


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payment, the payment will be credited accordingly. If no remittance advice is attached to the
shipper’s payment, the payment will be credited to the shipper’s account.
       47.3   Late Payment Fee
For the Monthly Prepayment Plan, the Weekly Prepayment Plan, the Special Payment Plan, the
Credit Extension Plan, and the Weekly Payment Plan, a late payment fee will be assessed if the
shipper’s payment is not received by UPS within fourteen (14) days of the invoice due date.
Except as otherwise stated below, the late payment fee will equal six percent (6%) of the total
past due balance of the shipper’s invoice (including without limitation any previously assessed
but unpaid late payment fees) that is fourteen (14) days past due.
In determining the late payment fee for the Monthly Prepayment Plan and the Weekly
Prepayment Plan, UPS will apply the prepayment amounts on account with UPS to reduce the
calculated base amount on which the late payment fee is assessed, provided that UPS will so
apply the prepayment amounts to the oldest outstanding invoice first, and to each subsequent
invoice thereafter, until the prepayment amounts have been fully so applied. If an invoice 14
days past due is fully so covered by the prepayment amount, no late payment fee will apply. If
an invoice 14 days past due is partially so covered by the prepayment amount, the late payment
fee will apply to the portion not so covered by the prepayment amount.
For the Special Payment Plan, a late payment fee will not be assessed if there has been a
positive balance in the shipper’s prepayment account with UPS at any time during the 27-day
period immediately preceding the transmittal of the current invoice to the shipper. The late
payment fee for the Special Payment Plan will be assessed on the “charges this period” of the
shipper’s invoice (including without limitation any previously assessed but unpaid late payment
fees) that is fourteen (14) days past due.
A late payment fee will be assessed only once on each invoice that is fourteen (14) days past
due. Each late payment fee will be due and payable within seven (7) days following the shipper’s
receipt of the invoice that first reflects the assessment of the late payment fee. The late payment
fee is in addition to any collection costs that may be incurred by UPS in the final collection of
Charges owed by the shipper. Neither the assessment nor the payment of a late payment fee
will (a) affect the shipper’s responsibility to pay all Charges owed, or (b) in any manner preclude
UPS from exercising any of its rights or remedies hereunder or under applicable law.
48.    UPS Service Guarantee
UPS guarantees on-schedule delivery of shipments shipped via the following services, where
available, to all 50 states and Puerto Rico:
–UPS Air Services
–UPS Hundredweight Service® Air Services
–UPS 3 Day Select®
–UPS Hundredweight Service® UPS 3 Day Select®
–UPS Ground
–UPS Ground with Freight Pricing
–UPS Hundredweight Service® Ground
UPS guarantees on-schedule delivery of shipments shipped via the following services, where
available, and provided that customs clearance is performed by UPS Supply Chain Solutions®
brokerage offices designated by UPS for clearing these shipments:
–UPS Worldwide Express Plus®


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–UPS Worldwide Express NA1®
–UPS Worldwide Express®
–UPS Worldwide Express Freight™
–UPS Worldwide Saver®
–UPS Worldwide Expedited®
–UPS 3 Day Select® from Canada
–UPS Standard™
In the event UPS fails to attempt delivery within the time published on the UPS website, or as
provided when 1-800-PICK-UPS® is called, UPS, at its option, will either credit or refund the
transportation charges for each such shipment to the payer only, upon request, provided the
conditions set forth in the UPS Service Guarantee are met. Transportation charges do not
include other fees or charges that may be assessed by UPS including, but not limited to, fuel
surcharges. This is the sole remedy available under the UPS Service Guarantee.
UPS shall not be liable for any damages whatsoever for delayed delivery, except as specifically
provided for shipments made under the UPS Service Guarantee. Under no circumstances shall
UPS be liable for any special, incidental, or consequential damages including, but not limited to,
damages arising from delayed delivery or failure to attempt on-schedule delivery.
UPS may cancel or suspend the UPS Service Guarantee for any service(s), and for any period of
time, as determined by UPS in its sole discretion, and without prior notice.
       48.1   Conditions
The UPS Service Guarantee is subject to the following conditions:
–UPS’s guaranteed delivery schedule has been obtained by referencing UPS’s website or
contacting a UPS Customer Service office. “On-time” or “on-schedule” means, subject to the
terms of this UPS Service Guarantee, delivery is attempted within the UPS guaranteed delivery
schedule.
–Each package and shipment is properly recorded in a UPS Shipping System.
–Each package and shipment bears the appropriate UPS tracking label and an address label, or
a combined label generated by a UPS Automated Shipping System, showing the consignee’s
correct name, deliverable address (UPS does not provide delivery to a P.O. Box), and ZIP Code
(or postal code for international shipments). In addition, UPS reserves the right, in its sole
discretion, to refuse to honor a request for a credit or refund of transportation charges for a
package when that package is not accompanied by a UPS Smart Label® and/or Timely Upload of
PLD or when the delivery address on any address label or combined label affixed to the package
does not match the delivery address on the UPS Smart Label, bar code, or PLD for the package.
–Each package or pallet in a shipment bears a UPS Saturday Delivery routing label when
optional Saturday service is requested and available.
–Each shipment is tendered to UPS during UPS’s published business hours. Shipments received
from or destined to certain locations may require earlier pickup times (available at the UPS
website).
–UPS is notified by telephone or through UPS’s online Billing Center at ups.com/billing of a
service failure within fifteen (15) calendar days of the date of scheduled delivery and is advised
of the consignee’s name and address, date of shipment, shipment weight, and UPS tracking
number.


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–For UPS Worldwide Expedited® shipments, the guarantee shall apply only to shipments with a
U.S. origin or destination and when the billed party is resident in the United States and is
responsible for all shipping charges.
–For UPS Worldwide Express Freight™ shipments, the guarantee shall apply to a shipment in
excess of 4400 pounds only if the shipper obtained confirmation of eligibility for the UPS Service
Guarantee, prior to tender of the shipment to UPS for service.
UPS reserves the right to refuse any request for a credit or refund when such request is either (a)
made by, or (b) based on information obtained by, a party other than the payer of the shipping
charges.
       48.2   Exclusions
The UPS Service Guarantee does not apply to:
–UPS 2nd Day Air A.M.® packages for Residential deliveries.
–Shipments tendered pursuant to Drop Shipments, special operating plans, or customized
handling or processing arrangements.
–Shipments processed using a UPS Automated Shipping System that is not located at the pickup
address assigned to the UPS account number on which the shipment was made.
–UPS Ground Returns Service packages.
–Packages subject to a Large Package Surcharge or Additional Handling Fee, packages that
exceed maximum size or weight limits, or to shipments containing any package or pallet subject
to a Large Package Surcharge, Additional Handling Fee, Oversize Pallet Handling Surcharge, or
that exceed maximum size or weight limits.
–Shipments made using a Call Tag.
–Shipments subject to a Delivery Intercept, Delivery Change Request, or a UPS My Choice®
request.
–Shipments that are delayed due to causes beyond UPS’s control including, but not limited to:
the unavailability or refusal of a person to accept delivery of the shipment, acts of God, natural
disasters, war risks, acts of terrorism, acts of public authorities acting with actual or apparent
authority, acts or omissions of customs or similar authorities, authority of law, insufficient
information provided by a customer, Hazardous Materials packages improperly offered for
transport, the application of security regulations imposed by the government, or otherwise
applicable to the shipment, riots, strikes or other labor disputes, civil unrest, disruptions in
national or local air or ground transportation networks (including, but not limited to, UPS’s
transportation network), disruption or failure of communication and information systems, and
adverse weather conditions.
–International shipments for which the shipper has selected the Receiver or Third Party as the
payer of any applicable duties and taxes and delivery is delayed until payment arrangements are
made.
–UPS Import Control® shipments for which the shipper has selected commercial invoice removal.
–UPS Ground shipments or UPS Standard™ shipments that are picked up or scheduled to be
delivered during the fourteen calendar days before December 25.




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49.    Claims and Legal Actions
Claims against UPS must be filed within strict time limits, including as set forth in Section 47.1
(“Invoice Adjustment”) regarding invoice adjustments or billing disputes; Section 49.3 (“Time
Limit For Filing Claims For Loss Or Damage To Property”) regarding claims for loss or damage to
property; and pursuant to the UPS Service Guarantee.
All claims against UPS arising from or related to the provision of services by UPS, including, but
not limited to, demands for damages, refunds, credits, and any legal or equitable relief
whatsoever, shall be extinguished unless the shipper or claimant (1) timely and completely
complies with all applicable notice and claims periods set forth in the Terms and in the Service
Guide, including as to claims for loss or damage to property, claims under UPS’s Service
Guarantee, or claims for invoice adjustments; and (2) pleads on the face of any complaint filed
against UPS satisfaction and compliance with those notice and claims periods as a contractual
condition precedent to recovery.
Claimants may not deduct the amounts of pending claims from any charges owed to UPS, and
the shipper waives any and all rights, including any statutory or common law rights, to set off the
amount of any claim against charges owed to UPS.
       49.1   Filing of Claims for Loss or Damage to Property
All claims for loss of or damage to property transported or accepted for transportation must: (1)
be in writing (or an electronic communication) and must include reference to the Source
Document or pickup record number and date of shipment or copies of other documents sufficient
to identify the shipment involved, and the declared value; (2) assert the liability of UPS for
alleged loss or damage; (3) make claim for payment of a specified or determinable amount of
money; and (4) be accompanied by a copy of the original invoice or, if no invoice was issued,
other proof, certified to in writing, as to the purchase price paid by the consignee (where the
property involved has been sold to the consignee), actual cost or replacement cost of the
property, or extent of the damage to the property.
A request for proof of delivery does not constitute the filing of a claim.
No claims will be voluntarily paid unless filed in writing or transmitted electronically by or on
behalf of the shipper in accordance with these provisions.
       49.2   Acknowledgment of Claims for Loss or Damage to Property
After receiving a proper written or electronic transmission of a claim in the manner and form and
with the supporting documents described in Section 49.1 (“Filing of Claims for Loss or Damage
to Property”) and Section 49.4 (“Investigation of Claims for Loss or Damage to Property”) herein,
UPS or its designee will acknowledge the receipt of such claim in writing or electronically to the
claimant within 30 days after the date of receipt, unless such claim has already been paid or
denied in writing or electronically. UPS will at the time each claim is received create a separate
file and assign thereto a successive claim file number and note that number on all documents
filed in support of the claim and all records and correspondence with respect to the claim,
including the written acknowledgment of receipt and, if in its possession, the Source Document
and delivery receipts, if any, covering the shipment involved. At the time such claim is received,
UPS will cause the date of receipt to be recorded on the face of the claim document, and the
date of receipt will also appear on the acknowledgment of receipt sent to the claimant.
       49.3   Time Limit for Filing Claims for Loss or Damage to Property
As a condition precedent to recovery, all claims for loss or damage to property must be filed in
writing or electronically with UPS within the following time limits:


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–For domestic shipments, claims must be filed within nine months after delivery of the package
or, in case of failure to make delivery, within nine months after a reasonable time for delivery has
elapsed.
–For international shipments, claims must be filed within sixty days after delivery of the package
or pallet or, in the case of non-delivery, within sixty days after a reasonable time for delivery has
elapsed.
-Suits shall be instituted within two years after denial of any portion of the claim. Where claims
are not filed or suits are not instituted thereon in accordance with the foregoing provisions, such
claims shall be deemed waived and will not be paid.
       49.4   Investigation of Claims for Loss or Damage to Property
–Prompt Investigation. Each claim for loss or damage to a package or shipment filed in the
manner prescribed herein will be promptly and thoroughly investigated, if investigation has not
already been made prior to receipt of the claim.
–Supporting Documents. Each claim must be supported by the following: (1) evidence of
payment of the shipping and any declared value charges; and (2) either the original invoice or, a
photocopy, exact copy, or extract of, the original invoice, a certification of prices or costs, with
trade or other discounts, allowance, or deductions of any nature whatsoever and the terms
thereof, or depreciation reflected thereon. Where the property involved in a claim has not been
invoiced to the consignee shown on the bill of lading or receipt, where an invoice does not show
price or cost, where the property involved has not been sold, or where the property has been
transferred at bookkeeping values only, UPS will, before paying a claim, require the claimant to
establish the value in the quantity shipped, transported, or involved. UPS reserves the right to
request the original shipping record or Source Document.
For an asserted claim of $1000 or more for a package shipped as a result of a request for service
made through the internet, the shipper must provide a copy of the signed receipt obtained from
UPS at the time of tender to support the claim.
For an asserted claim of $1000 or more for an international UPS Returns® or a UPS Import
Control® package or pallet, the signed UPS high-value shipment summary applicable to the
shipment must be submitted in support of the claim.
By filing a claim and supporting documents to UPS, the claimant certifies that the claim, amount
of claim, and supporting documents are true and correct.
–Original Packaging Materials. In the event that a claim is made for damage to a shipment, the
original packaging materials must be made available to UPS or its designee for inspection.
–Verification of Loss. When an asserted claim for loss of an entire package or pallet or an
entire shipment cannot be otherwise authenticated upon investigation, UPS will obtain from the
consignee of the shipment involved a certified statement in writing that the property for which the
claim is filed has not been received from UPS or from any other source. UPS reserves the right
to require verification by the filing of a police report and providing a copy of the filed report to
UPS in support of the claim.
       49.5   Salvage
When UPS pays the actual cost, the purchase price, or the replacement cost of the property, all
rights, title to, and interest in the property shall thereupon pass to UPS, and UPS reserves the
right to obtain the property for salvage. Payment of a claim in such circumstances shall be
contingent on UPS’s receipt of the damaged property in the same condition as on the date the
damage was incurred.


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       49.6   Disposition of Claims for Loss or Damage to Property
UPS or its designee, after receiving a written claim for property transported, will pay, decline, or
make a firm compromise settlement offer in writing to the claimant within 120 days after UPS
receives the claim; provided, however, that if the claim cannot be processed and disposed of
within 120 days after receipt, UPS or its designee will at that time and at the expiration of each
succeeding 60-day period while the claim remains pending, advise the claimant in writing of the
status of the claim and the reason for the delay in making final disposition thereof and shall retain
a copy of such notice to the claimant in its claim file.
No claim for loss or damage shall be paid unless a valid claim has been filed in accordance with
terms set forth herein (in Section 49.1, “Filing of Claims for Loss or Damage to Property,” Section
49.3, “Time Limit for Filing Claims for Loss or Damage to Property” and Section 49.4,
“Investigation of Claims for Loss or Damage to Property”). UPS reserves the right to refuse to
pay any claim for loss or damage to property until all outstanding charges owing to UPS have
been paid in full.
50.    Responsibility for Loss or Damage
UPS’s liability for loss or damage to each UPS domestic package or international shipment, or to
each pallet in a UPS Worldwide Express Freight™ shipment, is limited to a value of $100, except
as set forth below. Unless a greater value is recorded in the declared value field of the UPS
Source Document or the UPS Automated Shipping System used, the shipper agrees that the
released value of each domestic package or international shipment, or pallet is no greater than
$100, which is a reasonable value under the circumstances surrounding the transportation, and
that UPS shall not be liable for more than $100 for each domestic package or international
shipment or pallet.
To increase UPS’s limit of liability for loss or damage above $100, the shipper must declare a
value in excess of $100 for each package or pallet in the declared value field of the UPS Source
Document or the UPS Automated Shipping System used and pay an additional charge. The
shipper cannot declare a value in excess of the maximum allowable limits set forth below. UPS
shall not be liable under any circumstances for an amount in excess of the declared value of a
domestic package or international shipment, or pallet. When a shipper declares a value in
excess of $100, it does not receive any form of insurance. Shippers desiring cargo insurance, all
risk insurance, or another form of insurance should purchase such insurance from a third party.
The rules relating to liability established by the Convention for the Unification of Certain Rules
Relating to International Carriage by Air signed at Warsaw, Poland, on October 12, 1929, that
convention as amended, or the Convention for the Unification of Certain Rules for International
Carriage by Air (Montreal, 28 May 1999), shall apply to the international carriage of any shipment
insofar as the same is governed thereby. There are no stopping places which are agreed upon
at the time of tender of the shipment, and UPS reserves the right to route the shipment in any
way UPS deems appropriate.
       50.1   Maximum Declared Values
The maximum declared value is $50,000 per package and $100,000 per pallet, except for the
following for which the maximum declared value may not exceed:
–$5,000 per package for a package shipped as a result of a request for service made through the
internet;
–$500 per package for a package shipped via a UPS Drop Box;
–$1000 per package for a package shipped via a Third-Party Retailer if such package was
previously manifested in a UPS Shipping System, prior to drop off at the Third-Party Retailer or
billed using Bill My Account;

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–$500 per package or pallet for international shipments containing jewelry (not including costume
jewelry);
–$1000 per package for domestic packages returned via UPS Print Return Label, UPS Print and
Mail Return Label, Electronic Return Label, or 1 UPS Pickup Attempt Return Services, (including
via UPS Returns® on the Web), and UPS Returns® Flexible Access;
–$1000 per package or pallet for international shipments returned via UPS Print Return Label,
UPS Print and Mail Return Label, Electronic Return Label, 1 UPS Pickup Attempt, or 3 UPS
Pickup Attempt Return Services (including via UPS Returns on the Web) unless a UPS high-
value shipment summary is obtained by the shipper or person tendering the package or pallet
and signed by the driver upon tender of the shipment;
–$1000 per package or pallet for international UPS Import Control® shipments unless a UPS
high-value shipment summary is obtained by the shipper or person tendering the package or
pallet and signed by the driver upon tender of the shipment;
–$1000 per package for packages shipped by a Third-Party Retailer if no high-value control log
was provided to UPS on tender of the package;
–$999 per package for packages shipped via Shipper Release service;
Shippers cannot declare a value for UPS Prepaid Letters.
Declaring a value in the declared value field of the UPS Source Document or UPS Automated
Shipping System used does not increase UPS’s limitations of liability for, and shippers may not
declare a value for, damages related to providing or failure to provide C.O.D. service, including,
but not limited to: failure to collect the C.O.D. amount; failure to collect the specified form of
payment; collection of an instrument in the wrong amount; failure or delay in delivering the
collected instrument to the shipper; or collection of forged, insufficient funds, or otherwise invalid
instruments.
Any declared value in excess of the maximums allowed in the applicable Terms or Service Guide
is null and void. Acceptance for carriage of any package or shipment bearing a declared value in
excess of the allowed maximums does not constitute a waiver of any provisions of the Terms or
Service Guide limiting UPS’s liability or responsibility for any such package or shipment.
       50.2   Liability Limits
UPS’s maximum liability for loss or damage to each UPS domestic package or international
shipment, or to each pallet in a UPS Worldwide Express Freight™ shipment, shall not exceed the
lesser of:
–$100, when no value in excess of $100 is declared on the Source Document or UPS Automated
Shipping System used (or when a value in excess of $100 is declared, but the applicable
declared value charges are not paid);
–the declared value on the Source Document or UPS Automated Shipping System used when a
value in excess of $100 is declared and the applicable declared value charges paid;
–the purchase price paid by the consignee (where the shipped property has been sold to the
consignee);
–the actual cost of the damaged or lost property;
–the replacement cost of the property at the time and place of loss or damage; or
–the cost of repairing the damaged property.
UPS’s liability for shipments containing the following commodities shall be limited as follows:

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–Checks. UPS’s liability for a shipment containing a check or checks is limited to the cost of
stopping payment on and reissuing the check(s), not to exceed $100 per package or pallet. In no
event shall UPS be liable for the face value of the check(s).
–Phone Cards, Tickets, Gift Cards, and similar. UPS’s liability for a shipment containing a
phone card, ticket (such as event or airline ticket), gift certificate, gift card, coupon, or other
similar printed matter with an exchange value is limited to the cost (which shall not include any
amount of the value attached to the card, certificate, or coupon, or similar printed matter) of
replacing the physical card(s), certificate(s), or printed matter, not to exceed $100 per package or
per pallet. In no event shall UPS be liable for the face value of any phone card, ticket, gift
certificate, gift card, coupon, or similar printed matter.
–Media. UPS’s liability for a shipment containing documents, film, photographs (including
negatives), slides, transparencies, videotapes, compact discs, laser discs, computer tapes, and
media of similar nature is limited to the replacement cost of the media on which the content is
recorded.
–Pairs, Parts. In the event of loss of or damage to a pair or set of articles, UPS’s liability is
limited to the value of that part of the pair or set which is lost or damaged, and UPS shall not be
liable for the value of the whole pair or set. In the event of loss of or damage to any part of
property (including any part of a machine) which, when complete for sale or use, consists of
several parts, UPS shall be liable only for the value of the part lost or damaged, not to exceed
the declared value of the part lost or damaged. In no event shall UPS be liable for the value of
the complete item.
In the event of partial loss or damage to a pallet in UPS Worldwide Express Freight™ service,
UPS shall be liable only for the value of the contents of the pallet lost or damaged, and not the
value of the full pallet.
       50.3   Exclusions from Liability
UPS shall not be liable or responsible for:
–loss or damage to articles of unusual value (as defined in these Terms);
–loss or damage to Prepaid Letters;
–loss or damage resulting from insects, moths, vermin, inherent vice, deterioration, dampness of
atmosphere, extreme of temperature, ordinary wear and tear, or that which occurred or arose
prior to or after the course of transportation by UPS;
–loss or damage resulting from improper, inadequate or unsafe packaging or wrapping that fails
to meet UPS’s published standards related thereto set forth in the Terms or at ups.com;
–loss or damage to Perishable Commodities to the extent the loss or damage results from
exposure to heat or cold or the perishable nature of the item;
–loss or damage to human remains, fetal remains, human body parts, or components thereof;
–loss or damage to fluorescent tubes or bulbs;
–loss of, damage to, or irretrievability of data stored on any type of media, or of information
including without limitation personal, health or financial information;
–loss or damage due to acts of God, natural disasters, war risks, acts of terrorism, nuclear
damage, acts of public authorities acting with actual or apparent authority, acts or omissions of
customs or similar authorities, authority of law, the application of security regulations imposed by
the government or otherwise applicable to the shipment, riots, strikes or other labor disputes, civil
unrest, disruptions in national or local air or ground transportation networks (including, but not

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limited to, UPS’s transportation network), disruption or failure of communication and information
systems, or adverse weather conditions;
–loss or damage to any package or shipment for which UPS has no scan or other record
reflecting that the package or shipment was tendered to UPS by the shipper; or
–loss or damage to any shipment containing articles that shippers are prohibited from shipping,
that UPS does not or is not authorized to accept for transportation, that UPS states that it will not
accept, or that UPS has a right to refuse.
UPS shall not be liable for any loss or damage arising from providing service to, or on behalf of, a
person or entity that obtains such services, including the delivery of property, by trick, false
pretense, or other fraudulent scheme.
UPS shall not be liable for any damages arising from UPS’s inability, failure, or refusal to comply
with a request to stop, return, or re-route shipment of a package after tender to UPS.
UPS shall not be liable for any interruption of service due to causes beyond UPS’s control
including, but not limited to: the unavailability or refusal of a person to accept delivery of the
shipment, acts of God, natural disasters, war risks, acts of terrorism, acts of public authorities
acting with actual or apparent authority, acts or omissions of customs or similar authorities,
authority of law, insufficient information provided by a customer, Hazardous Materials packages
improperly offered for transport, the application of security regulations imposed by the
government or otherwise applicable to the shipment, riots, a government agency hold, strikes or
other labor disputes, civil unrest, disruptions of any kind in national or local air or ground
transportation networks (including, but not limited to, UPS’s transportation network), disruption or
failure of communication and information systems, and adverse weather conditions.
UNDER NO CIRCUMSTANCES SHALL UPS BE LIABLE FOR ANY SPECIAL, INCIDENTAL,
OR CONSEQUENTIAL DAMAGES INCLUDING, BUT NOT LIMITED TO, DAMAGES ARISING
FROM LOSS, MISDELIVERY OF, OR DAMAGE TO PROPERTY, DELAYED DELIVERY, OR
FAILURE TO ATTEMPT DELIVERY IN ACCORDANCE WITH THE UPS SERVICE
GUARANTEE, WHETHER OR NOT UPS HAD KNOWLEDGE SUCH DAMAGES MIGHT BE
INCURRED. UNDER NO CIRCUMSTANCES SHALL UPS BE LIABLE FOR ANY DAMAGES
WHATSOEVER FOR DELAYED DELIVERY, EXCEPT AS SPECIFICALLY PROVIDED FOR
SHIPMENTS MADE UNDER THE UPS SERVICE GUARANTEE.
Acceptance for carriage of any shipment containing articles that shippers are prohibited from
shipping, that UPS does not or is not authorized to accept for transportation, that UPS states it
will not accept, or that UPS has a right to refuse, does not constitute a waiver of any provisions of
the Terms or Service Guide limiting UPS’s liability or responsibility for any such package or
shipment.
51.    Shipper Indemnification
The shipper agrees to indemnify, defend, and hold harmless UPS, its parent corporation, and
affiliated companies, their officers, directors, employees, agents, and their successors and
assigns, from all claims, demands, expenses, liabilities, causes of action, enforcement
procedures, and suits of any kind or nature brought by a governmental agency, or any other
person or entity, arising from or relating to the shipper’s noncompliance with governmental laws
or regulations applicable to the shipment or UPS requirements applicable to the shipment, from
shipper’s tendering any prohibited item for shipment, or from shipper’s failure to comply with the
Terms.
52.    Data Protection
The shipper agrees that UPS and other companies in the UPS group of companies worldwide,
including companies in countries that may not have the same level of data protection as the

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country where the shipment is tendered for service, may use any data provided by the shipper to
UPS for the purposes set forth in and subject to the UPS Privacy Notice published on UPS’s
website at http://www.ups.com/content/us/en/resources/ship/terms/privacy.html, which is
incorporated here by this reference. The shipper has certain rights under the law (exercisable by
contacting UPS) to have access to, rectify, object to the use for direct marketing of, or delete
personal data held by UPS about it.
53.    Incorporation of Terms; Waiver; Future Changes
All shipments are subject to the terms and conditions contained in the Terms.
UPS may engage subcontractors to perform transportation and incidental services. UPS
contracts on its own behalf and on behalf of its servants, agents, and subcontractors, each of
whom shall have the benefit of these Terms. No such party has authority to waive or vary these
Terms.
The effective Service Guide, and any modifications or amendments of them, are hereby
incorporated by reference in these Terms. In the event of a conflict or inconsistency between the
Terms and the effective Service Guide, the Terms shall control. The Terms and the UPS Source
Document for each shipment together comprise the complete and exclusive agreement of the
parties, except as modified by any existing or future written agreement between the parties, and
may not be contradicted or modified by any oral agreement.
UPS reserves the right to unilaterally modify or amend any portion of the Service Guide or the
Terms at any time without prior notice.
Any failure to enforce or apply a term or provision of the Service Guide or the Terms shall not
constitute a waiver of that term or provision by UPS, and shall not diminish or impair UPS’s right
to enforce such term or provision in the future. If one or more provisions of the Terms shall be
held to be invalid, illegal, or unenforceable, the validity, legality, and enforceability of the
remaining provisions shall not be so affected or impaired.




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                     EXHIBIT B
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Case 2:14-cv-12719-DPH-RSW ECF No. 141, PageID.2807 Filed 12/30/20 Page 66 of 334
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      2013 Updates

      Updates to this guide are as follows:

           July      n UPS Tariff/Terms and Conditions                                                                                                               ups.com/terms

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                        T he UPS Tariff/Terms and Conditions have been updated. Please refer
                         to ups.com/terms for the latest information.

                     n UPS Worldwide Express FreightTM
                         dditional rates and services have been added for UPS Worldwide Express Freight:
                        A
                        • Export Non Door-to-Door rates which include Drop-off, Hold at Location
                           and Drop-off and Hold at Location. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . page 98
                        • Import Non Door-to-Door rates which include Drop-off, Hold at Location
                           and Drop-off and Hold at Location. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  page 123
                        • Saturday Delivery. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  page 137
                        • UPS Returns®. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  page 139
                        • UPS Import Control®. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  page 140
                        • Dry Ice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  page 141
                        The following pages have been updated for UPS Worldwide Express Freight:
                        • Service Restrictions for maximum size and weight. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . page 15
                        • Determine the Weight and Size for billable weight. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . page 29
                        • Access to UPS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . page 34

                     n UPS My Choice®
                         PS My Choice Members and Premium Members now have the option to upgrade
                        U
                        UPS SurePost® to UPS Ground for an additional fee.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . page 74
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Case 2:14-cv-12719-DPH-RSW ECF No. 141, PageID.2813 Filed 12/30/20 Page 72 of 334
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Case 2:14-cv-12719-DPH-RSW ECF No. 141, PageID.2817 Filed 12/30/20 Page 76 of 334
Case 2:14-cv-12719-DPH-RSW ECF No. 141, PageID.2818 Filed 12/30/20 Page 77 of 334
Case 2:14-cv-12719-DPH-RSW ECF No. 141, PageID.2819 Filed 12/30/20 Page 78 of 334
Case 2:14-cv-12719-DPH-RSW ECF No. 141, PageID.2820 Filed 12/30/20 Page 79 of 334
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                            Domestic, Export and Import
                            Service Restrictions
                            PAC K AG E

                            Prohibited and Restricted Goods (continued)
                            The following items may be shipped         – Neon signs                                 federal, state, provincial or local laws
                            into the U.S., and to countries outside    – Nursery stock or plants                   or regulations and the shipment must
                            the U.S., where service is allowed         – Personal effects (wearing apparel,        conform to the terms, conditions,
                            on a contractual basis only:                  cosmetics, toilet articles, furniture,    restrictions and prohibitions set forth
                            – Alcoholic beverages                         kitchenware, linens, etc. – used,         at ups.com/tobacco at the time of
                            – Biological substances, Category B and      not for resale)                           shipping. It is the responsibility of the
                               exempt human or animal specimens        – Pornography                                shipper to ensure that a shipment
                            – Dangerous goods                          – Self-propelled surface vehicles            tendered to UPS, including a Tobacco
                            – Gold or other precious metals                                                         Product Shipment, does not violate
                                                                       – Shipments consigned “To Order of”
                                                                                                                    any federal, state, provincial or local
                            – Perishables                                 or “To Order Notify”
                                                                                                                    laws or regulations applicable to the
                            – Personal effects*                        – Shipments of an inherent nature for
                                                                                                                    shipment. All shipments, including
                            – Plants                                      which transportation could not be
                                                                                                                    shipments containing tobacco products,
                            – Postage stamps                              furnished without sustaining loss
                                                                                                                    will be accepted for trans­portation
                            – Seeds                                       or damage (used plasma TVs, artwork,
                                                                                                                    only according to the “UPS Tariff/
                            – Tobacco                                     original paintings, drawings, water­
                                                                                                                    Terms and Conditions – United States”
                                                                          colors and sculptures)
                                                                                                                    located at ups.com/terms.
                            The following articles are not accepted    – Gold or other precious metals includ­
                            for transportation by UPS into the U.S.       ing gold or silver coins, gems, bullion   Tobacco products may not be shipped
                            or to countries outside the U.S.:                                                       from a UPS Drop Box, UPS Customer
                            – Animal products, non-domesticated        Tobacco                                      Center, UPS Alliance Locations (Office
                                                                       Shipments containing tobacco or tobacco      Depot® and Staples®), locations of
                            – Bank bills, notes or currency
                                                                       products, as those terms are variously       The UPS Store®, or any UPS Author-
                              (other than coin)
                                                                       defined under applicable state law           ­ized Ship­ping Outlet. Please call
                            – Corpses, cremated or disinterred
                                                                       (“Tobacco Product Shipments”), are            1-800-PICK-UPS® for more information.
                               remains
                                                                       accepted for transportation only from
                            – Firearms and weapons
                                                                       shippers who are licensed and author­        UPS Returns®
                            – Fireworks                                ized to ship tobacco and tobacco             UPS Returns Services are not provided
                            – Furs                                     products pursuant to applicable laws.        via UPS Next Day Air Saver® or UPS
                            – Hazardous waste                          Tobacco Product Shipments shipped            2nd Day Air A.M.® Hazardous Materials
                            – Live animals, birds, fish, reptiles     to a consumer will only be accepted          or Dangerous Goods packages or
                               or insects                              for transportation as a contractual          pallets requir­ing shipping papers or
                            – Shipments prohibited by law              service. However, because UPS prohibits      packages containing firearms cannot
Notes:
                                                                       shipments of cigarettes to consumers         be retrieved via UPS Returns Services.
– UPS Worldwide            For UPS Worldwide Express FreightTM,       under any circumstances, UPS does            Biological sub­stances and dry ice can
  Express Freight           the following items are not accepted:
  is included unless                                                   not offer a contractual service for the      be retrieved via UPS Returns Services.
  otherwise noted.          – Antiques                                 delivery of cigarettes to consumers.         No other restricted or prohibited articles
                            – Any item of extraordinary value          To receive service for Tobacco Product       may be used with UPS Returns. Refer
– For additional service
  restrictions, refer to    – Cosmetics                                Shipments shipped to a consumer,             to ups.com/terms for value limits
  ups.com/terms for         – Drugs (prescription and                 the shipper must sign and agree to           on UPS Returns Services shipments.
   more information.           non-prescription)                       the provisions set forth in an approved      Multiple-piece shipments are not
*Limited shipping of       – Electronic data                          UPS agreement for the transportation         available for UPS Returns Services
  personal effects is       – Fish meal                                of tobacco products. For all other           shipped within the 50 states and Puerto
  avail­able at all loca-                                              service for Tobacco Product Shipments,       Rico. UPS Returns® Flexible Access
                            – Gambling devices
  tions of The UPS                                                     the consignee must be licensed and           Service is available via UPS Ground
  Store® and any UPS        – Hazardous waste
                                                                       authorized to receive tobacco or tobacco     Service only.
  Customer Center.          – “In Bond” shipments
                                                                       products pursuant to all applicable
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                              Documenting an International Shipment
                              PACK AG E

                              Electronic Export Information (E.E.I.) –      How to prepare                               appropriate information for their UPS
                              E.E.I. provides general information           export documentation.                        shipment. UPS recommends electronic
                              about your export transaction to              WorldShip®, UPS Internet Shipping,           filing with AESDirect as the preferred
                              U.S. Census and Customs and Border            UPS CampusShip®, the UPS Developer           method for E.E.I. filing. WorldShip,
                              Protection and is used by government          Kit and a UPS Ready® solution that           UPS Internet Shipping, UPS CampusShip
                              agencies for foreign trade statistics and     supports full international service make     and some UPS Ready solutions connect
                              compliance with U.S. export controls.         it easy to complete a commercial invoice,    to AESDirect to allow customers to
                              E.E.I. was formerly provided on a             U.S. Certificate of Origin, NAFTA            file their E.E.I. electronically with
                              Shipper’s Export Declaration (S.E.D.)         Certificate of Origin, and to prepare        U.S. Census and Customs and Border
                              form. The shipper in the U.S. is required     E.E.I. WorldShip, UPS Internet Shipping      Protection. UPS does not charge a
                              to file E.E.I. generally in the following     and UPS CampusShip prompt you to             service fee when you file your E.E.I.
                              instances:                                    complete required export documenta­          with AESDirect.
                              – If your shipment contains a commodity      tion as you process an inter­national
                                                                            shipment. Additionally, WorldShip            UPS can file or create and file E.E.I.
                                 that has a value greater than $2,500.00.
Notes:                                                                      enables you to auto­mate international       on behalf of the shipper; however,
– UPS Worldwide              – If your shipment contains a commodity      documentation prepara­tion through           all required data must be provided to
  Express FreightTM is           that requires an export license or is      data import capabilities.                    UPS and the shipper must grant UPS
   included in package           subject to an exemption from licensing                                                  Power of Attorney. UPS must obtain the
   unless otherwise              under the International Traffic in Arms    Enclose all required export documenta­       ship­per’s EIN (Employer Identification
   noted.                        Regulations (ITAR).                        tion in the UPS Waybill pouch or in an       Number), also known as the Tax ID
– E.E.I.s must include                                                     envelope marked “Export Documents.”          number, and data about the goods
   the Employer Identifi-     E.E.I. generally is not required for          Securely affix pouch or envelope to the      and consignees in order to file E.E.I.,
   cation Number (EIN)        shipments to Canada unless the com­           lead package.                                including the harmonized tariff code
   of the exporter. Before    modities are being exported under an
   creating an E.E.I. ship-                                                                                              (Schedule B) and a description of the
                              export license or ITAR license exemp­         Special Note for E.E.I. Filers:              goods. A shipment will be delayed if all
   ment, you can obtain
   an EIN free of charge      tion or the shipment is destined for a        In order to file E.E.I. electronically,      required information necessary to file
   from the IRS by visit-     third country via transshipment through       users can log on directly to the U.S.        E.E.I. has not been provided. Refer to
   ing irs.gov or calling     Canada. Visit ups.com/sedguide for            Government Automated Export System           page 136 for fees.
   1-800-829-4933.            more information.                             (AES) website at aesdirect.gov to file the

                              Air Freight
                              UPS uses export and import documents          – E.E.I.                                    this form, the shipper completes
                              you prepare to properly declare your          – Power of Attorney                          most of the information required on
                              ship­ment to customs in both the country      – U.S. Certificate of Origin or a North     the Shipper’s Letter of Instruction.
                              of export and the country of import.             American Free Trade Agreement             After the shipper completes the form,
                              The documents and information are                (NAFTA) Certificate of Origin             they retain the blue shipper’s copy
                              used to determine various export and                                                       and forward the rest of the form with
                                                                            – Other documents based on value,
                              import reporting requirements (e.g.,                                                       the shipment to UPS Supply Chain
                                                                               nature and destination of shipment.
                              data for electronic export information,                                                    Solutions® for com­pletion. This docu­
                              import duties, fees and taxes in the          Visit ups.com/intl forms to download         ment must be typed. It combines an
                              destination country).                         a blank document or view a sample            air waybill and some of the infor­ma­
                                                                            of a completed document.                     tion required for UPS to file E.E.I., if
                              This documentation depends on the                                                          you, the shipper, have authorized UPS
                              type of shipment but may include:             Shipper’s Letter of Instruction              to file E.E.I. on your behalf by a Power
                              – Commercial invoice                          The Shipper’s Letter of Instruction          of Attorney.
                              – Bill of Lading, either                      explains how and where to send a
                                • Air waybill                               shipment from the U.S. to an inter­­-
                                • Shipper’s Letter of Instruction           national destination. In prepar­ing




                              UPS TradeAbility® is a suite of information-based services providing harmonizer,
                              landed cost and compliance tools. Visit ups.com/tradeability for more information.
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 UPS Next Day Air Saver®
 G U A R A N T E E D OV E R N I G H T BY 3: 0 0 P. M .



     Zones                      132                133      134      135      136      137      138
     Letter*                  $17.60            $21.05    $26.65   $28.10   $28.25   $30.10   $31.45
     1 Lbs.                    19.90              27.00    37.30    41.40    44.95    47.90    49.25
     2                         21.30              28.60    42.10    45.80    50.75    52.80    54.95
     3                         22.85              30.30    46.65    50.75    56.25    58.10    60.05
     4                         24.60              32.20    50.55    55.60    61.45    63.20    65.75
     5                        25.05              32.35    53.75    60.45    65.55    67.40    69.75
     6                         26.45              36.85    59.80    64.45    71.00    72.15    75.25
     7                         27.30              38.45    63.95    70.00    76.05    77.60    80.40
     8                         28.70              39.55    68.15    74.55    81.20    83.10    85.45
     9                         29.85              41.30    72.00    79.35    86.20    88.55    91.00
     10                        30.30              42.90    75.30    83.55    91.30    93.70    96.40
     11                        32.00              44.80    79.20    88.10    96.40    99.20   101.65
     12                        33.05              47.05    83.55    92.15   101.10   104.65   107.05
     13                        33.45              49.40    87.50    96.35   105.20   110.15   112.25
     14                        34.70              51.30    92.00   100.45   109.30   114.95   117.80
     15                        36.05              53.10    95.15   104.50   113.35   118.75   122.20
     16                        36.80              54.35    99.75   108.35   117.10   121.85   125.35
     17                        38.70              55.35   102.55   111.80   119.80   124.60   128.00
     18                        39.85              56.80   105.65   114.15   122.45   127.30   131.40
     19                        40.90              58.40   108.15   116.55   125.25   130.15   134.85
     20                        41.65              60.10   116.55   126.65   135.55   141.20   146.40
     21                        42.75              61.25   119.65   129.75   139.55   145.30   150.35
     22                        44.30              62.55   122.70   132.75   143.15   149.25   153.55
     23                        45.05              63.75   126.15   136.10   146.40   152.45   157.25
     24                        46.20              64.80   129.45   139.50   150.30   155.75   160.50
     25                        47.25              66.15   132.10   143.35   153.20   160.90   164.40
     26                        48.25              68.05   135.90   147.00   157.50   164.65   167.95
     27                        49.05              69.90   139.40   150.70   160.85   168.75   172.30
     28                        50.55              71.75   143.25   153.80   164.85   172.60   177.20
     29                        51.65              73.05   147.05   156.85   167.95   175.70   182.05
     30                        52.45              73.85   150.10   160.00   171.55   178.50   184.20
     31                        53.50              74.70   153.50   164.40   175.70   182.05   189.30
     32                        54.60              76.00   156.85   167.95   179.30   185.65   192.40
     33                        55.80              77.50   160.05   171.40   184.30   189.10   197.25
     34                        56.75              79.25   163.90   174.50   188.30   193.20   201.20
     35                        58.40              80.80   167.00   178.00   191.35   197.45   204.40
     36                        59.45              82.55   170.95   181.65   195.20   201.10   209.50
     37                        60.55              83.65   174.90   186.05   199.75   204.60   212.15
     38                        61.60              85.35   178.10   190.45   203.75   207.55   215.70
     39                       63.20               87.35   181.55   194.45   208.70   211.20   219.70
     40                       64.20               89.40   185.00   198.40   212.50   215.70   224.45




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Domestic
UPS Next Day Air Saver®
G U A R A N T E E D OV E R N I G H T BY 3: 0 0 P. M .



 Zones                             132                 133                 134                  135               136                 137                  138
 41 Lbs.                         $65.30              $90.60            $188.40              $202.85          $217.40              $219.70              $229.35
 42                               66.50               91.90             192.20               207.35            221.20              224.10               234.75
 43                               67.60               93.90             196.10               211.65            225.85              228.60               239.90
 44                               68.75               95.55             199.55               215.70            230.15              232.45               245.35
 45                               69.90               97.60             203.20               219.70            234.40              236.80               249.75
 46                               70.95               99.25             206.85               222.60            238.40              241.40               253.80
 47                               72.45              101.30             210.60               226.75            242.70              246.30               257.65
 48                               73.55              103.35             213.70               230.85            245.80              250.10               261.25
 49                               74.65              105.35             216.70               231.45            249.50              254.15               263.65
 50                               76.10              106.95             216.85               231.60            249.65              254.30               263.80
 51                               77.20              108.95             223.65               241.70            257.65              263.40               274.10
 52                               78.75              110.65             227.10               246.30            261.25              268.75               279.35
 53                               80.20              112.95             230.55               250.55            264.25              274.55               285.15
 54                               81.30              115.15             234.35               254.35            267.85              280.70               290.35
 55                               82.80              117.55             239.05               257.80            271.80              284.70               295.50




                                                                                                                                                                  Determining the Rate
 56                               84.30              119.55             243.60               261.25            275.85              290.70               300.65
 57                               86.15              122.10             247.50               264.70            281.05              295.85               304.65
 58                               88.00              124.90             249.30               268.45            287.05              301.45               310.20
 59                               89.50              128.10             254.10               272.70            292.55              306.40               315.45
 60                               90.90              130.95             257.35               276.50            297.55              312.05               320.60
 61                               92.50              133.40             261.35               281.45            302.80              317.30               326.10
 62                               95.05              135.35             265.40               285.15            308.15              321.95               332.15
 63                               96.45              138.00             269.65               289.55            313.50              326.65               338.15
 64                               98.40              140.70             274.55               294.00            318.80              332.75               344.10
 65                               99.90              143.15             277.70               297.95           323.55               338.05               349.15
 66                             101.70               143.30             278.45               298.10           328.95               344.10               353.65
 67                             103.20               148.95             287.05               306.85           333.80               349.15               359.00
 68                             105.05               151.70             290.85               311.25           339.00               354.20               364.85
 69                             107.00               154.20             294.80               315.75           344.90               357.65               370.35
 70                             109.10               157.40             298.35               320.15           350.60               357.80               376.65
 71                             111.20               159.90             301.90               324.50           352.70               366.10               381.25
 72                             113.50               162.35             304.85              328.95            354.40               370.05               387.40
 73                             115.15               166.00             310.70              333.80            359.15               375.85               395.70
 74                             117.35               168.95             311.95              339.00            359.60               384.55               402.80
75                              119.10               171.15             317.25              344.10            359.75               390.90               402.95
Refer to pages 70 to 80 for value-added services       – Dimensional weight may apply. Refer to pages        Express Envelope. Express Envelopes exceeding
rates and other charges.                                  27 and 28 for more information.                     eight ounces are subject to the rate correspond­
– Any fraction of a pound more than the weight        – A Heavy Package sticker is required for any         ing to the weight of the Express Envelope.
   shown in the rate chart is rounded up to the           package weighing more than 70 pounds.               Express Envelopes are not recommended for
   next whole pound.                                      Refer to page 23 for more information.              shipments of electronic media containing sensi-
                                                                                                              tive personal information.
– For large or heavy packages, additional charges      *The Letter rate applies only to documents,
   may apply. Refer to pages 27 and 28 for large          correspondence and electronic media shipments      Visit ups.com® or call 1-800-PICK-UPS® for guar-
  packages and page 23 for heavy packages.                that do not exceed eight ounces sent in an         antee details, service availability, delivery time
                                                                                                             commitments or to request a pickup.




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 Domestic
 UPS Ground
 G U A R A N T E E D DAY- D E F I N I T E O N E TO F I V E DAYS



     Zones              2            3            4               5      6       7       8       44†      45†      46†
     1 Lbs.          $5.84       $6.23        $6.41        $6.69      $7.00   $7.09   $7.21   $22.23   $22.23   $29.30
     2                6.35         6.77        7.33         7.49       7.88    7.98    8.27    24.71    24.71    31.67
     3                6.45         7.07        7.71         7.95       8.36    8.55    9.13    26.82    26.82    33.71
     4                6.60         7.25        8.10         8.47       8.79    9.12    9.80    29.45    29.45    36.56
     5                6.78         7.33        8.42         8.81       9.11    9.50   10.32    31.96    31.96    38.99
     6                6.95         7.55        8.55         9.01       9.28    9.78   10.55    34.65    34.65    40.70
     7                7.27         7.75        8.70         9.22       9.54   10.04   10.85    36.98    36.98    42.77
     8                7.54         7.94        8.93         9.39       9.83   10.37   11.38    38.24    38.24    44.89
     9                7.69         8.13        9.06         9.55      10.04   10.91   12.09    40.93    40.93    47.56
     10               7.94         8.16        9.20         9.82      10.45   11.66   12.89    43.47    43.47    50.09
     11               8.21         8.49        9.28         9.89      10.70   12.40   13.65    45.85    45.85    52.44
     12               8.43         8.75        9.40        10.12      11.12   13.14   14.56    47.83    47.83    54.37
     13               8.64         8.96        9.52        10.32      11.60   13.94   15.50    49.80    49.80    56.32
     14               8.80         9.21        9.65        10.51      12.20   14.66   16.39    51.88    51.88    58.36
     15               8.95         9.50        9.79        10.84      12.79   15.41   17.25    53.79    53.79    60.25
     16               9.08         9.64        9.82        11.02      13.24   15.94   17.87    56.29    56.29    62.75
     17               9.16         9.94       10.10        11.47      13.92   16.77   18.81    58.93    58.93    64.99
     18               9.27        10.07       10.40        12.07      14.57   17.50   19.76    61.60    61.60    67.65
     19               9.39        10.42       10.79        12.52      15.20   18.24   20.71    64.09    64.09    70.12
     20               9.56        10.76       11.16        13.01      15.87   18.95   21.67    66.48    66.48    72.51
     21               9.72        11.05       11.50        13.52      16.52   19.70   22.54    68.00    68.00    74.03
     22               9.96        11.32       11.92        13.98      17.19   20.45   23.52    70.12    70.12    76.14
     23              10.17        11.67       12.30        14.48      17.84   21.19   24.47    72.24    72.24    78.24
     24              10.37        11.97       12.69        14.95      18.52   21.93   25.43    74.61    74.61    80.60
     25              10.64        12.30       13.03        15.38      19.16   22.66   26.37    76.93    76.93    82.94
     26              10.89        12.55       13.39        15.86      19.86   23.32   27.25    79.36    79.36    85.54
     27              11.14        12.85       13.71        16.35      20.51   24.08   28.19    81.55    81.55    87.75
     28              11.34        13.16       14.15        16.85      21.16   24.76   29.16    83.75    83.75    89.96
     29              11.58        13.41       14.55        17.24      21.77   25.37   30.04    85.81    85.81    91.78
     30              11.87        13.74       14.99        17.75      22.43   26.05   31.00    87.86    87.86    93.87
     31              12.04        13.94       15.33        18.22      23.04   26.75   31.87    89.86    89.86    96.05
     32              12.10        14.24       15.74        18.72      23.70   27.47   32.83    91.79    91.79    98.00
     33              12.31        14.56       16.13        19.22      24.32   28.19   33.73    93.71    93.71    99.94
     34              12.38        14.89       16.49        19.70      25.00   28.94   34.68    95.81    95.81   101.99
     35              12.60        15.23       16.88        20.18      25.63   29.68   35.59    98.18    98.18   104.35
     36              12.78       15.38        17.18        20.69      26.27   30.41   36.30   100.30   100.30   106.67
     37              13.00       15.73        17.51        21.14      26.83   31.11   37.00   102.59   102.59   108.99
     38              13.20       15.97        17.90        21.65      27.43   31.86   37.68   105.04   105.04   111.46
     39              13.39       16.29        18.31        22.10      28.13   32.70   38.45   107.30   107.30   113.53
     40              13.53       16.66        18.72        22.56      28.70   33.39   39.09   109.60   109.60   115.76




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                                                                                                                                            UPS Ground   65




Domestic
UPS Ground
G U A R A N T E E D DAY- D E F I N I T E O N E TO F I V E DAYS



 Zones                     2             3             4              5              6              7           8            44†            45†            46†
 41 Lbs.             $13.71         $16.89         $19.04        $22.99         $29.34        $34.18        $39.54      $111.50        $111.50        $117.87
 42                   13.92          17.10          19.40         23.42          30.04          35.08        40.09       113.60         113.60         119.96
 43                   14.10          17.39          19.81         23.91          30.77          36.02        40.78       115.91         115.91         122.28
 44                   14.28          17.69          20.13         24.34          31.34          36.78        41.21       117.56         117.56         124.60
 45                   14.44          17.97          20.51         24.83          31.86          37.51        41.90       119.84         119.84         126.91
 46                   14.50          18.13          20.77         25.28          32.39          38.27        42.59       122.15         122.15         129.23
 47                   14.61          18.23          21.10         25.71          32.83          39.01        43.28       124.48         124.48         131.56
 48                   14.74          18.40          21.37         26.14          33.32          39.76        43.97       126.61         126.61         133.71
 49                   14.84          18.56          21.66         26.59          33.74          40.50        44.65       128.78         128.78         135.92
 50                   14.93          18.70          21.89         26.68          33.75          40.52        45.33       130.95         130.95         138.10
 51                   14.99          18.79          22.05         26.84          33.97          40.72        45.59       131.90         131.90         140.29
 52                   15.08          18.87          22.19         27.20          33.99          41.18        46.26       134.01         134.01         142.50
 53                   15.18          19.04          22.29         27.55          34.16          41.53        46.94       136.05         136.05         144.55
 54                   15.32          19.20          22.53         27.92          34.45          41.76        47.54       137.96         137.96         146.72
 55                   15.45          19.32          22.72         28.33          34.57          41.90        48.09       139.82         139.82         148.92




                                                                                                                                                                  Determining the Rate
 56                   15.56          19.52          22.94         28.72          34.78          41.97        48.69       141.71         141.71         151.11
 57                   15.76          19.69          23.02         29.13          35.14          42.20        49.20       143.66         143.66         153.43
 58                   15.91          19.85          23.24         29.44          35.54          42.38        49.60       145.54         145.54         155.61
 59                   16.06          20.05          23.42         29.72          35.87          42.61        49.96       147.77         147.77         157.93
 60                   16.21          20.25          23.66         29.94          36.19          42.84        50.28       150.07         150.07         160.25
 61                   16.38          20.54          23.82         30.28          36.51          43.09        50.58       151.91         151.91         162.15
 62                   16.50          20.86          23.96         30.55          36.76          43.34        50.89       154.42         154.42         164.71
 63                   16.76          21.14          24.09         30.75          37.00          43.62        51.20       156.92         156.92         167.27
 64                   16.98          21.46          24.27         30.96          37.26          43.91        51.49       159.55         159.55         169.97
 65                   17.23          21.79          24.53         31.15          37.58          44.13        51.80       162.15         162.15         172.66
 66                   17.43          22.11          24.81         31.33          37.97          44.36        52.18       164.66         164.66         175.21
 67                   17.60          22.34          25.17         31.42          38.27          44.58        52.31       167.15         167.15         177.79
 68                   17.74          22.57          25.53         31.85          38.48          44.83        52.43       169.56         169.56         180.26
 69                   17.90          22.74          25.89         32.29          38.68          45.05        52.58       172.04         172.04         182.79
 70                   18.02          22.94          26.26         32.69          39.10          45.21        53.04       175.67         175.67         185.05
 71                   18.23          23.27          26.66         33.13          39.58          45.92        53.18       178.35         178.35         187.76
 72                   18.79          23.53          27.03         33.56          40.03          46.47        53.32       181.01         181.01         190.44
 73                   19.68          23.83          27.40         33.99          40.58          47.18        53.46       183.65         183.65         193.13
 74                   20.58          24.61          27.78         34.44          41.21          47.91        53.67       185.42         185.42         193.74
 75                   21.33          25.31          28.17         35.02          41.78          48.39        53.78       187.53         187.53         195.13
Refer to pages 70 to 80 for value-added services       – For large or heavy packages, additional charges    †Zone 44 is metro Alaska and Hawaii, zone 45
rates and other charges.                                  may apply. Refer to pages 27 and 28 for large        is Puerto Rico and zone 46 is remote Alaska
– UPS does not accept hazardous materials                packages and page 23 for heavy packages.             and Hawaii.
  (including but not limited to ORM-Ds, Ltd Qty        –D
                                                         imensional weight may apply. Refer to pages        Visit ups.com® or call 1-800-PICK-UPS® for guar-
  and combustibles) in UPS Ground Service               27 and 28 for more information.                      antee details, service availability, delivery time
  destined to and from Alaska, Hawaii, Puerto          –A
                                                         Heavy Package sticker is required for any          commitments or to request a pickup.
  Rico and Catalina Island.                             package weighing more than 70 pounds.
– Any fraction of a pound more than the weight         Refer to page 23 for more information.
  shown in the rate chart is rounded up to the
  next whole pound.


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 Originating Within the U.S. 48 Contiguous States
 Air Freight
                                                                                                      Destination
        Weight
                                         Destination U.S. 48                          AK/HI                             AK/HI                               Destination Canada
     Breaks (Lbs.)                                                                                         PR
                                                                                      Metro                            Extended


     UPS Next Day Air® Freight
                                                                                                                                        For UPS zone information, refer to pages 87 to 92
     For UPS zone information, refer to the 48 Contiguous States Zone Charts at ups.com/rates for UPS Next Day Air®.
                                                                                                                                        for UPS Worldwide Express®.
     Zones              102      103      104      105     106      107      108                                125                          81        82
     151-499          $1.42    $1.96   $2.98     $4.40   $4.79    $5.56    $6.13                             $5.12      For Next          $4.26    $4.60
                                                                                      For Next
                                                                                                                      Business Day
     500-999           1.40     1.92     2.91     4.34     4.76    5.54     5.98   Business Day               5.12     Service to          4.26     4.60
                                                                                     Service to
                                                                                                                         AK/HI
     1,000-1,999       1.37     1.88     2.84     4.28     4.67    5.49     5.83   AK/HI Metro,               4.77                         3.96      4.23
                                                                                                                       Extended,
                                                                                   UPS Next Day
     2,000 or more     1.34     1.84     2.80     3.84     4.57    5.45     5.77    Air® Freight              4.77    UPS Next Day         3.96      4.23
                                                                                                                       Air Freight
                                                                                       NGS is
     Minimum                                                                                                             NGS is
                     100.00 169.00 256.00 323.00 345.00 360.00 403.00                available.            727.00      available.       409.00 448.00
     Charge


     UPS 2nd Day Air® Freight
                                                                                                                                        For UPS zone information, refer to pages 87 to 92
     For UPS zone information, refer to the 48 Contiguous States Zone Charts at ups.com/rates for UPS 2nd Day Air®.
                                                                                                                                        for UPS Worldwide Expedited®.
     Zones              202      203      204      205     206      207      208                                225                          71        72
     151-499          $1.05    $1.62   $2.04     $2.20   $3.28    $4.38    $5.15                            $3.44       For Second        $3.20    $3.38
                                                                                     For Second
                                                                                                                       Business Day
     500-999           1.03     1.52     1.91     2.16     3.18    4.24     4.84    Business Day              3.44      Service to         3.20      3.38
                                                                                      Service to
                                                                                                                          AK/HI
     1,000-1,999       1.01     1.49     1.83     2.13     3.08    4.19     4.68    AK/HI Metro,              3.20                         2.91      3.08
                                                                                                                        Extended,
                                                                                    UPS 2nd Day
     2,000 or more     0.99     1.39     1.80     1.90     2.74    3.61     4.12     Air® Freight             3.20     UPS 2nd Day         2.91      3.08
                                                                                                                        Air Freight
                                                                                        NGS is
     Minimum                                                                                                              NGS is
                      96.00 157.00 194.00 239.00 270.00 323.00 350.00                 available.           474.00        available.     326.00    345.00
     Charge


     UPS 3 Day Freight®
                                                                                                                                        For UPS zone information, refer to pages 87 to 92
     For UPS zone information, refer to the 48 Contiguous States Zone Charts at ups.com/rates for UPS 3 Day Select®.
                                                                                                                                        for UPS StandardTM to Canada.
     Zones              302      303      304      305     306      307      308                                                             51        52         53       54       55         56
     151-499          $0.83    $1.45   $1.73     $1.92   $2.77    $3.39    $3.90                                                          $1.21    $1.56       $1.85    $2.20     $2.48      $2.77
                                                                                                                        For Services
                                                                                   For Services to
     500-999           0.76     1.35     1.70     1.85     2.58    3.24     3.80                                          to AK/HI         1.19      1.54       1.82     2.14      2.42       2.70
                                                                                    AK/HI Metro,      For Services to
                                                                                                                         Extended,
                                                                                    UPS Next Day       PR, UPS Next
     1,000-1,999       0.73     1.28     1.58     1.77     2.51    3.07     3.72                                       UPS Next Day        1.16      1.47       1.77     2.07      2.34       2.61
                                                                                   Air Freight NGS,   Day Air Freight
                                                                                                                         Air Freight
                                                                                          and          and UPS 2nd
     2,000 or more     0.68     1.24     1.57     1.68     2.43    3.01     3.68                                         NGS, and          1.11      1.42       1.68     2.00      2.25       2.50
                                                                                    UPS 2nd Day       Day Air Freight
                                                                                                                       UPS 2nd Day
                                                                                   Air Freight NGS     are available.
                                                                                                                      Air Freight NGS
     Minimum                                                                        are available.
                      78.00    78.00   93.00     99.00 112.00 128.00 144.00                                            are available.   151.00    195.00     232.00    274.00    309.00     345.00
     Charge
 For guarantee details, service availability, delivery time commitments, to request a pickup or to view the “UPS Air Freight Terms and Conditions of Contract for UPS Air Freight
 Services in the United States, Canada and International,” visit ups-scs.com/terms.
 Notes:
 – Refer to pages 70 to 74 and 76 to 80 for value-added services and other charges.
 – All of the rates above are per pound and minimum charges are per shipment unless otherwise specified.
 – All rates above are in USD.
 –A M, PM, B1, B2 and B3 points are defined by the current version of UPS Supply Chain Solutions® Quick Zip program, available on disk or at forwarding.ups-scs.com/
   quickzip. UPS Supply Chain Solutions service points are subject to change without prior notice. Refer to page 11 for more information.




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 Domestic
 Value-Added Services
 The following value-added services are available for the UPS domestic services highlighted in the Description column.

     Available Options             Description                                                                                                                  Fee
     Certificate of Origin         Air Freight                                                                                                                  $25.00
                                   – Can be prepared by UPS on behalf of the shipper for goods manufactured and originating within the U.S.
                                   – Shipments from the U.S. to Canada and Puerto Rico.
     For All Collect on Delivery   Package                                                                                                                      Package
     (C.O.D.) Services             – UPS will attempt to collect the amount shown on C.O.D. tag or package label, then send payment to you.                    $11.00
                                     If payment cannot be collected after three attempts, the package will be returned.
                                   – C.O.D. service is available for packages shipped throughout the U.S. and Puerto Rico.
                                   – Business or personal checks are accepted as payment. Currency is not accepted for payment.
                                   – C.O.D. service is not available when using a UPS 3 Day Select® or UPS Ground shipping document.
                                      Refer to page 32 for an explanation of these documents.
                                   Less-Than-Truckload                                                                                                          Less-Than-Truckload
                                   – C.O.D. is accepted on your behalf when requested.                                                                          6% of C.O.D. amount with a
                                                                                                                                                                minimum charge of $95.00 and
                                                                                                                                                                maximum charge of $5,400.00
       UPS C.O.D.                  Package                                                                                                                      $11.00
                                   To request a C.O.D. electronically:
                                   – Service is available by using WorldShip®, UPS Internet Shipping, UPS CampusShip®, the UPS Developer Kit
                                      or a UPS Ready® solution.
                                   – The shipping system will produce a barcoded address label that contains all C.O.D. information.
                                   To request a C.O.D. using a manual tag:
                                   – Type or print an address label and attach it to the top of the package.
                                   – Complete the UPS C.O.D. tag per the instructions on the tag and specify the exact amount due.
                                   – Attach C.O.D. tag to each package requiring collection, covering the address label.
                                   – Retain the “Shipper Receipt” portion for your records.
       C.O.D. Direct®*             Package                                                                                                                      Contractual service
                                   – Receive C.O.D. payments generally within six business days of package delivery.
                                   – Direct transfer of funds into your designated accounts; timely alert of non sufficient funds.
                                   – Receive daily reports of payments received, net deposits to accounts and total returned items.
                                   – Must have minimum annual 50 C.O.D. tags to qualify.
                                   – No additional fee beyond the C.O.D. tag rate. Please contact your account representative for more details.
       C.O.D. Automatic®*          Package                                                                                                                      Contractual service
                                   – Receive advanced C.O.D. funds in as few as two days.
                                   – Direct transfer of funds into your designated accounts; timely alert of non sufficient funds.
                                   – Online access to statement history, check images and downloadable transaction details.
                                   – Must have minimum annual C.O.D. remittances of $30,000.00 to qualify.
       Delayed Deposit             Package (additional feature of C.O.D. Direct and C.O.D. Automatic)                                                           Contractual service
       for C.O.D. Direct           – Eliminates manual handling of checks held for delayed deposits by electronically scheduling future deposits
       and C.O.D. Automatic*          directly into your designated accounts; includes online, self service capabilities.
       C.O.D. Secure®*             Package                                                                                                                      Contractual service
                                   – Receive all the benefits of C.O.D. Automatic, along with protection for returned C.O.D. checks up to a specified limit.
                                   – Must have minimum annual C.O.D. remittances of $50,000.00 and at least 50 C.O.D. tags to qualify.
     Dangerous Goods               Air Freight                                                                                                                  $61.20
                                   – Dangerous Goods can be shipped via UPS Next Day Air® Freight NGS only.
                                   – Non conforming freight may be subject to service delays.
     Declared Value                Package                                                                                                                      Package
     for Carriage                  – UPS’s liability for loss or damage to a shipment is limited to $100.00 without a declaration of value.                     – $0.00 $100.00             $0.00
                                   – The maximum declared value is $50,000.00 per package. UPS’s liability for loss or damage can be increased                 – $100.01 $50,000.00
                                      up to $50,000.00 (subject to terms and conditions) by making a declaration of value for an additional charge.                for each $100.00 (or
                                                                                                                                                                   portion of $100.00) of
                                                                                                                                                                   the total value declared $0.85
                                                                                                                                                                – Minimum                   $2.55
                                   – Declared Value charges for freight collect and third party shipments may be billed to your shipper account.
                                   – Refer to ups.com/terms for more information.
 *Visit upscapital.com/cod or call 1-877-263-8772 for more information.

 Notes:
 – Fuel surcharges apply to value-added services and other charges associated with pickup, transport and delivery. For current fuel surcharges, where applicable,
    visit ups.com for package, ups-scs.com/surcharges for Air Freight and ltl.upsfreight.com for UPS Freight®.
 – Value-added services may vary for UPS Express Critical®. Visit upsexpresscritical.com for more information.

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 Domestic
 Value-Added Services
 The following value-added services are available for the UPS domestic services highlighted in the Description column.

     Available Options               Description                                                                                             Fee
     Hold at Destination             Air Freight                                                                                             No charge
     Airport for Pickup (HAPU)       – Freight is to be held at the carrier’s destination location for pickup by the recipient.
                                     – HAPU requires a consignee name and phone number.
                                     – All services will be billed door-to-door.
     Proof of Delivery (P.O.D.)      Package                                                                                                 $3.00
                                     – P roof of Delivery of a shipment via e-mail, fax or mail is subject to a charge which will
                                        be assessed to the shipper. Refer to page 153 for more Proof of Delivery options.
     Saturday Delivery               Package                                                                                                 Package
                                     – F or time-critical shipments, UPS offers the convenience of Saturday Delivery.                       $15.00
                                     –A  vailable with UPS Next Day Air® Early A.M.®, UPS Next Day Air® and UPS 2nd Day Air® Services,
                                       and with UPS Returns® Services.
                                     – Not available with UPS Next Day Air Saver®, UPS 2nd Day Air A.M.® or UPS 3 Day Select®
                                        Services.
                                     –U PS Next Day Air Early A.M. shipments are guaranteed one hour later than the guaranteed
                                       weekday delivery time to most UPS Next Day Air Early A.M. destinations.
                                     –U PS Next Day Air shipments are guaranteed an hour and a half later than the guaranteed
                                       weekday delivery time to destinations where the weekday guaranteed delivery time is either
                                       10:30 a.m. or 12:00 p.m.*
                                     –U PS 2nd Day Air shipments are guaranteed by end of day to destinations where UPS Next Day Air
                                       is committed by 10:30 a.m. or 12:00 p.m.*
                                     – Each Express Envelope or package must bear a Saturday Delivery routing label.
                                     – Service fees are billed to the payer of the transportation charges.
                                     –A Saturday Delivery fee applies to UPS Hundredweight Service® for UPS Next Day Air and UPS
                                       2nd Day Air shipments delivered on Saturday. For Saturday Delivery, each UPS Hundredweight
                                       Service package must bear a Saturday Delivery routing label.
                                     – Refer to ups.com® or call 1-800-PICK-UPS® for delivery areas.
                                     Air Freight                                                                                             Air Freight
                                     – S aturday Delivery may be selected by the shipper for UPS Next Day Air® Freight and UPS Next         $24.50 per 100 lbs.:
                                       Day Air® Freight NGS where available.                                                                 – $53.40 minimum in U.S.
                                     – Shipments delivered on Saturday must be picked up on Friday.                                             and Canada
                                                                                                                                             – $55.60 minimum in Puerto Rico
     Saturday, Sunday                Less-Than-Truckload                                                                                     Less-Than-Truckload
     or Holiday Delivery             – Delivery service is available on non-business days such as Saturdays, Sundays and holidays           $190.50 per person, per hour
                                        upon request.                                                                                        with $450.00 minimum charge
     Saturday Pickup                 Package                                                                                                 Package
                                     –A  vailable with UPS Next Day Air Early A.M., UPS Next Day Air, UPS Next Day Air Saver,               $15.00
                                        UPS 2nd Day Air A.M. and UPS 2nd Day Air.
                                     – Includes packages tendered to UPS on Saturday, including packages dropped off at retail locations.
                                     – If a Saturday Pickup is scheduled but nothing is shipped, the service fee will be assessed.
                                     – Additional pickup fees will apply for UPS On-Call Pickup®.
                                     Air Freight                                                                                             Air Freight
                                     – S aturday Pickup may be selected by the shipper for UPS Next Day Air Freight and UPS Next Day        $24.50 per 100 lbs.:
                                        Air Freight NGS where available.                                                                     – $53.40 minimum in U.S.
                                                                                                                                                and Canada
                                                                                                                                             – $55.60 minimum in Puerto Rico
     Saturday, Sunday                Less-Than-Truckload                                                                                     Less-Than-Truckload
     or Holiday Pickup               – Pickup service is available on non-business days such as Saturdays, Sundays and holidays             $190.50 per person, per hour
                                       upon request.                                                                                         with $450.00 minimum charge
 *Saturday Delivery may vary based on location. Refer to ups.com for more information.
 Notes:
 – Fuel surcharges apply to value-added services and other charges associated with pickup, transport and delivery. For current fuel surcharges, where applicable,
    visit ups.com for package, ups-scs.com/surcharges for Air Freight and ltl.upsfreight.com for UPS Freight®.
 – Value-added services may vary for UPS Express Critical®. Visit upsexpresscritical.com for more information.

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 Domestic
 Value-Added Services
 The following value-added services are available for the UPS domestic services highlighted in the Description column.

     Available Options            Description                                                                                         Fee
     UPS My Choice   ®
                                  Package
                                  UPS My Choice helps shippers to:
                                  – Ensure delivery on the first attempt          – Maintain superior customer service
                                  – Reduce tracking calls and returns             – Improve online purchasing experience
                                  – With two levels of membership, UPS My Choice provides recipients with online and mobile access
                                     to flexible delivery options to manage their home deliveries.
       UPS My Choice              – Proactive alerts via text, phone or e-mail the day before a delivery, the morning of delivery,   Free
       Member                        and/or Confirmation of Delivery.
                                  –R  ecipients may give authorization online for UPS to deliver packages without a signature.
                                  – Hold for Will Call at a UPS Customer Center.
                                  –U  PS will provide delivery information, typically a four-hour approximate delivery time.
                                  Service upgrades:
                                  – Reroute or reschedule delivery:                                                                   $5.00 per package
                                    • Deliver to a UPS Retail Location*: Have packages delivered to a location of The UPS Store®.
                                    • Reschedule Delivery: Have packages delivered on a different day.
                                    • Deliver to Another Address: Reroute* delivery to another address.
                                    • Set a vacation and have all packages delivered to a location of The UPS Store or delivered
                                       on one of the three business days after the vacation ends.
                                  – Upgrade UPS SurePost®** to UPS Ground.                                                            $3.50 per package
       UPS My Choice              – Includes same features as a UPS My Choice Member, with unlimited rerouting and rescheduling.     $40.00 annual fee
       Premium Member               Annual fee does not include service upgrades.
                                  – P rovides an online Delivery Planner to help manage and track recipients’ home deliveries.
                                  –A  bility to designate where the driver should leave packages (e.g., porch).
                                  – Leave a package with a neighbor (someone within sight of the original delivery address).
                                  Service upgrades:
                                  – Reroute and reschedule delivery options.                                                          – Free, Unlimited
                                  – Confirmed Delivery Window: Select a two-hour confirmed delivery window.                           – $5.00 per package
                                  – Upgrade UPS SurePost** to UPS Ground.                                                             – $3.50 per package
     UPS On-Call Pickup®          Package                                                                                             – Same-Day Pickup: $6.50
                                  – With one pickup request, UPS will pick up all of your packages – Air, International and Ground   – Future-Day Pickup: $5.50
                                     Services.                                                                                        – Residential and area surcharges
                                  – Schedule a same-day or future-day pickup.                                                            may apply
                                  – UPS On-Call Pickup gives you the convenience of having your shipment picked up at your
                                     home or office by scheduling a pickup via ups.com® or by calling 1-800-PICK-UPS®.
                                  – At ups.com, send an e-mail confirmation of your pickup request to multiple addresses,
                                    modify your pickup request, or cancel the request.
                                  – Fees are applied per pickup request regardless of the number of packages being picked up.
     Verbal Confirmation          Package                                                                                             $3.00
     of Delivery                  – To confirm delivery of your shipment, a UPS representative will call the preferred contact
                                     telephone number listed on your UPS Next Day Air® Early A.M.® package.
  *For UPS My Choice options Deliver to a UPS Retail Location and Deliver to Another Address, transportation charges may apply for packages delivered beyond Zone 2
    from the original delivery address.
 **UPS SurePost is a contract only, non-guaranteed economy residential service with final delivery typically provided by the U.S. Postal Service.
 Notes:
 – Fuel surcharges apply to value-added services and other charges associated with pickup, transport and delivery. For current fuel surcharges, where applicable,
    visit ups.com for package, ups-scs.com/surcharges for Air Freight and ltl.upsfreight.com for UPS Freight®.
 – Value-added services may vary for UPS Express Critical®. Visit upsexpresscritical.com for more information.

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 Domestic
 Other Charges
 The following information applies to the UPS domestic services highlighted in the Description column.

     Charges                       Description                                                                                                      Fee
     Additional Handling           Package                                                                                                          $8.50
                                   –A
                                     n Additional Handling charge will be assessed for any package that requires special handling, as deter­
                                    mined by UPS in its sole discretion, including, but not limited to:
                                    • Any article that is encased in an outside shipping container made of metal or wood.
                                    •A ny cylindrical-like item, such as a barrel, drum, pail or tire, that is not fully encased in a corrugated
                                      cardboard shipping container.
                                    •A ny package with the longest side exceeding 60 inches or its second-longest side exceeding 30 inches.
                                    • Any package with an actual weight of more than 70 pounds.
                                   – Will not be assessed when a Large Package Surcharge is applied.
     Address Correction            Package and Air Freight                                                                                          Package
                                   – If UPS is unable to deliver a package as addressed by the shipper or if the package has an invalid,           $12.00
                                      incorrect or incomplete address, UPS will make reasonable efforts, to be deter­mined by UPS, to secure        Air Freight
                                      the correct or complete address. If the correct or com­plete address is secured, UPS will attempt delivery,
                                                                                                                                                    $35.00
                                      shipper will be provided with the correct address and an Address Correction charge will be assessed.
                                   – If you are using WorldShip®, UPS Internet Shipping, UPS CampusShip®, UPS MobileTM, or the UPS
                                      Developer Kit, city, state and ZIP CodeTM combinations are automatically validated within each system.
                                   – WorldShip, UPS Internet Shipping, UPS CampusShip and UPS Mobile can validate addresses against UPS’s
                                     street-level address database.
                                   – An address validated by UPS may be incorrect or incomplete for purposes of completing delivery,
                                      and may be corrected by UPS.
     Corrected Bill of Lading      Less-Than-Truckload                                                                                              – Prior to Delivery: $26.50
                                   – When information on a shipping document must be corrected.                                                     – After Delivery: $36.00
     Delivery Area Surcharge       Package                                                                                                                           Ground Air
                                   –A  surcharge applies to each package delivered to certain ZIP Codes within the 48 contiguous states.           – Commercial     $2.00 $2.15
                                     For Alaska and Hawaii, refer to page 79 for the Remote Area Surcharge.                                         – Residential    $2.75 $3.25
                                   – Refer to the Area Surcharge Listing at ups.com/rates or call 1-800-PICK-UPS® for a listing of applicable      – Commercial
                                     ZIP Codes.                                                                                                       Extended       $2.00   $2.15
                                                                                                                                                    – Residential
                                                                                                                                                      Extended       $3.50   $3.50
     Delivery Attempt              Air Freight                                                                                                      $27.80
                                   – A shipment which cannot be delivered on the first attempt to the consignee will be returned
                                     to the service center and the consignee notified.
                                   – A subsequent attempt to deliver will be made only upon the request of the consignee.
     Destination Outside           Package                                                                                                          $10.00 per shipment
     Service Area                  – If delivery of a UPS Next Day Air® Early A.M.® shipment is requested to a destination outside
                                     the UPS Next Day Air Early A.M. service area, UPS reserves the right to assess an additional fee.
     Dry Ice                       Package                                                                                                          $5.00
                                   – Most non-Dangerous Goods shipments containing dry ice are accepted, without requiring the shipper
                                      to enter into the UPS Dangerous Goods Agreement (contract).
                                   – Ship temperature-sensitive goods, prepared as both ground or air shipments and delivered by one network.
                                   – P repare and process these packages through the current version of WorldShip or UPS CampusShip,
                                      UPS Developer Kit or an approved UPS Ready® solution.
                                   – The IATA “Shipper’s Declaration for Dangerous Goods” is not required for domestic shipments of
                                      non-Dangerous Goods packed in dry ice. 49 C.F.R. Shipping Papers are only required for non-medical
                                      shipments containing more than 5.5 pounds of dry ice.
                                   – For more information, visit ups.com® or call the Hazardous Materials Support Center at 1-800-554-9964.

 Notes:
 – Fuel surcharges apply to value-added services and other charges associated with pickup, transport and delivery. For current fuel surcharges, where applicable,
    visit ups.com for package, ups-scs.com/surcharges for Air Freight and ltl.upsfreight.com for UPS Freight®.
 – Other charges may vary for UPS Express Critical®. Visit upsexpresscritical.com for more information.


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 Domestic
 Other Charges
 The following information applies to the UPS domestic services highlighted in the Description column.

     Charges                 Description                                                                                                Fee
     Storage                 Less-Than-Truckload                                                                                        Storage – Terminal
                             – If a shipment cannot be delivered and must be stored at a UPS Freight® facility.                         – $2.82 per 100 lbs. per day, subject to
                                                                                                                                           a minimum charge of $26.50 per day
                                                                                                                                        Storage – Public Warehouse
                                                                                                                                        – $ 3.90 per 100 lbs. per day, subject to a
                                                                                                                                           minimum charge of $98.50 per ship­ment
                                                                                                                                           and a maximum charge of $1,117.00
     Truck Waiting Time      Air Freight                                                                                                Air Freight
                             – If the driver is required to wait more than 15 minutes for either a pickup or delivery, charges based   – $65.00 per hour
                                on waiting time will be computed by multiplying the hourly rate by the time involved.                   – $ 47.00 per vehicle for each 15 minutes
                                                                                                                                           or fraction thereof shall be made for
                                                                                                                                           the time consumed for the delay subject
                                                                                                                                           to a minimum charge of $83.50
                                                                                                                                        – $ 128.00 per vehicle for each 24 hour
                                                                                                                                           period or fraction thereof, excluding
                                                                                                                                           non-Business Days
                             Less-Than-Truckload                                                                                        Less-Than-Truckload
                             –D
                               etention of Vehicle fees apply (with power and without power) upon expiration of the applicable         Detention of Vehicle with Power:
                              free time allowed.                                                                                        – $ 47.00 for each 15 minutes after free
                                                                                                                                           time expires, with a minimum charge
                                                                                                                                           of $83.50
                                                                                                                                        Detention of Vehicle without Power:
                                                                                                                                        – $ 128.00 per vehicle for each 24 hour
                                                                                                                                           period after free time expires
     Undeliverable Package   Package                                                                                                    –U
                                                                                                                                          PS Air Services and
     Return Charge           – Domestic packages refused by the consignee, or which cannot be delivered due to any other                UPS 3 Day Select®: applicable
                                cause beyond UPS’s control, will be returned to the shipper at the shipper’s expense.                    UPS 3 Day Select rate
                             – The UPS Service Guarantee does not apply to undeliverable packages returned to the shipper.             – UPS Ground: applicable
                             – Service level of the return will be UPS 3 Day Select for Air Services and UPS Ground for                   UPS Ground rate
                                UPS Ground shipments.
     UPS On-Call Pickup®     Package                                                                                                    – Residential: $2.75
     Area Surcharge          – A surcharge applies to each residential UPS On-Call Pickup requested at certain ZIP CodesTM             – Extended Residential: $3.50
                               within the 48 contiguous states.
                             – Refer to the Area Surcharge Listing at ups.com/rates or call 1-800-PICK-UPS® for a listing
                               of applicable ZIP Codes.
                             – Does not apply to UPS On-Call Pickups made at commercial addresses.

 Notes:
 – Fuel surcharges apply to value-added services and other charges associated with pickup, transport and delivery. For current fuel surcharges, where applicable,
    visit ups.com for package, ups-scs.com/surcharges for Air Freight and ltl.upsfreight.com for UPS Freight.
 – Other charges may vary for UPS Express Critical®. Visit upsexpresscritical.com for more information.




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Export
Determine the Zone
PAC K AG E



To find the destination zone that matches the service option you’ve selected,
consult the Worldwide Zone Chart on pages 83 to 86. For exports to Canada,
use the Canada Zone Chart on pages 88 to 92.

An Extended Area Surcharge may apply to certain destinations within a country.
Extended Area destinations are subject to change. For the most current information,
refer to ups.com/rates or call 1-800-782-7892.




UPS Worldwide Express Plus®, UPS Worldwide Express®,
UPS Worldwide Express FreightTM, UPS Worldwide Saver®
and UPS Worldwide Expedited®
1. Refer to page 82 to determine whether your origin state is classified as West or East.

2. Locate the destination country on the Worldwide Zone Chart beginning on page 83.




                                                                                                                                                                       Determining the Rate
3. Locate the zone for UPS Worldwide Express Plus,       Destination                                           Zones
UPS Worldwide Express, UPS Worldwide Express                                                Express         Express Saver      Expedited
                                                                                                    Express
Freight, UPS Worldwide Saver or UPS Worldwide                                                Plus           Freight (Express) WEST    EAST
Expedited. The service is not available when a zone      Ireland, Republic of/IE             901     901     401     401      631     601
number is not shown in the appropriate column.           Israel/IL                                   905             405      635     605
                                                         Italy/IT                            901     901     401     401      631     601
Examples:
UPS Worldwide Express Plus service is available
to major business centers in Italy, and the zone
is 901.

For a UPS Worldwide Express shipment from
anywhere in the U.S. to Italy, the zone is also 901.

For a UPS Worldwide Express Freight shipment
from anywhere in the U.S. to Italy, the zone is 401.

For a UPS Worldwide Saver shipment from
anywhere in the U.S. to Italy, the zone is 401.

For a UPS Worldwide Expedited shipment from
Los Angeles, California, to Italy, the zone is 631.

For a UPS Worldwide Expedited shipment from
Buffalo, New York, to Italy, the zone is 601.




WorldShip®, UPS Internet Shipping, UPS CampusShip®, UPS MobileTM,
the UPS Developer Kit or a UPS Ready® solution will automatically
determine the zone and rate for you.
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Export
UPS Worldwide Express®
G U A R A N T E E D O N E TO T H R E E DAYS BY 10 :30 A . M . O R 12: 0 0 P. M .

UPS Worldwide Express Plus® guarantees early morning time-definite delivery, typically by 9:00 a.m. The published rate is $40.00 more than the rate
shown for the appropriate UPS Worldwide Express rate.

 Zones            81       82       84       901      903      904      905       906      907      908       909      911      912      913          921
 21 Lbs.     $170.90 $195.70 $213.65 $270.40 $315.65 $349.85 $340.35 $554.00 $578.85 $594.25 $264.50 $345.80 $326.90 $329.90 $286.30
 22           174.60   200.65    214.40    271.00   320.45   360.55   350.65   568.20   598.05    615.90   269.85   356.85   331.10    340.15   294.75
 23           175.00   202.50    214.80    274.05   323.05   363.05   357.65   569.65   603.35    624.65   270.40   367.15   333.10    353.15   301.25
 24           175.35   203.25    215.30    275.65   325.95   363.25   358.40   569.85   607.45    625.50   270.70   376.05   333.45    354.50   310.25
 25           176.05   204.45    216.30    281.50   328.00   364.90   359.70   578.00   616.75    627.85   275.00   378.70   336.95    359.80   320.15
 26           192.30   221.10    234.85    305.20   352.85   396.30   386.00   637.00   668.10    673.75   300.80   393.70   370.15    373.85   327.50
 27           204.05   235.10    251.25    316.75   365.95   410.40   400.65   657.45   690.40    693.00   311.95   408.50   384.05    386.80   335.05
 28           211.20   238.45    258.30    327.05   374.95   425.10   413.55   677.75   708.80    712.40   321.05   423.00   397.10    396.80   343.50
 29           215.00   241.35    263.15    333.20   383.75   435.80   423.95   691.75   730.45    735.20   327.40   430.10   407.20    406.80   351.90
 30           219.35   245.60    266.25    340.25   391.75   446.45   434.35   706.55   755.20    760.30   335.10   441.15   409.35    416.80   359.75
 31           224.50   252.10    271.60    344.15   399.70   458.85   448.45   726.30   775.85    783.30   342.50   451.45   422.65    426.80   369.15
 32           229.15   256.20    273.05    347.40   408.40   470.05   459.80   740.85   785.65    803.10   352.75   461.80   428.80    437.20   377.50
 33           233.80   261.40    276.15    361.20   417.10   480.85   470.35   755.80   807.80    820.65   358.50   472.15   430.65    447.20   385.85
 34           238.45   265.50    277.90    369.55   425.50   491.20   480.55   769.55   819.15    838.80   365.75   482.90   443.35    456.90   393.95
 35           242.40   269.75    280.80    379.75   433.90   503.65   491.05   783.35   836.50    856.30   373.15   495.35   452.95    469.00   402.70
 36           245.60   274.00    282.55    390.35   441.50   517.40   498.70   798.70   857.45    874.55   380.10   509.30   476.35    482.10   410.45
 37           250.55   279.05    285.85    398.70   449.75   523.45   512.10   812.15   869.75    891.35   387.05   514.25   487.70    486.90   419.45
 38           253.85   282.90    287.00    400.30   457.85   537.55   522.90   826.35   877.20    907.95   393.50   528.05   498.00    500.00   427.80
 39           258.40   286.70    292.60    410.55   466.15   550.55   528.40   841.15   896.50    924.85   401.50   537.75   507.75    512.10   435.85
 40           263.05   290.50    295.60    420.00   473.70   554.90   537.85   855.05   904.05    939.50   407.95   547.70   508.60    516.15   444.65
 41           267.70   294.35    296.95    427.30   482.10   565.65   551.05   868.85   924.60    954.45   414.75   560.90   510.00    526.15   453.85
 42           272.05   298.90    303.95    432.75   490.90   576.45   561.35   882.70   930.35    970.00   421.35   573.20   533.35    536.15   462.40
 43           275.55   305.20    305.70    441.50   499.60   587.15   571.55   896.90   945.55    984.85   428.25   585.15   540.60    546.15   471.95
 44           279.45   309.95    309.35    447.30   508.40   597.90   576.30   898.35   967.05    998.90   434.70   593.00   551.70    556.15   480.40
 45           283.80   313.65    316.15    454.10   516.00   610.80   595.60   924.90   979.80 1,013.55    441.55   597.45   562.90    568.35   490.60
 46           287.00   320.50    321.60    461.35   524.25   623.40   606.10   936.30   996.35 1,028.50    447.60   609.55   569.30    579.90   500.25
 47           291.25   323.80    327.00    469.35   532.65   630.20   616.60   950.80 1,017.10 1,044.05    454.80   622.05   581.40    586.25   510.05
 48           295.15   329.80    331.20    476.30   540.65   640.95   627.15   964.70 1,036.60 1,058.70    461.80   635.00   585.00    596.25   520.40
 49           298.50   333.00    336.20    483.15   549.05   651.30   637.25   978.15 1,052.20 1,072.60    469.00   646.30   585.45    605.85   530.20
 50           302.70   336.90    336.60    483.85   556.20   661.25   647.05   991.95 1,071.70 1,087.25    475.70   654.50   591.05    615.15   540.30
 52           309.85   343.40    341.45    503.05   573.30   687.15   667.45 1,020.35 1,082.65 1,117.55    483.95   680.15   612.45    639.20   559.95
 54           314.60   348.70    354.30    514.20   584.50   701.65   686.50 1,048.75 1,100.70 1,134.75    492.35   698.80   624.50    656.90   578.10
 56           321.20   355.40    362.10    530.30   602.00   727.30   710.90 1,076.10 1,127.70 1,164.65    507.75   724.15   665.45    679.90   592.70
 58           327.70   362.00    369.15    546.35   622.00   752.85   735.10 1,103.35 1,167.85 1,194.55    523.35   748.65   688.40    702.95   611.60
 60           338.05   370.05    376.55    564.40   643.35   778.35   766.40 1,132.45 1,205.60 1,235.20    541.30   769.70   710.65    725.45   630.20
 62           344.45   376.90    382.25    580.75   664.50   803.70   791.35 1,160.85 1,242.05 1,265.80    557.60   802.20   726.05    749.00   649.20
 64           350.85   382.55    383.10    596.00   685.80   838.05   816.75 1,189.25 1,276.25 1,294.65    571.70   815.75   747.85    772.50   668.00
 66           355.50   388.65    394.15    611.20   698.55   855.10   836.75 1,216.90 1,280.80 1,324.85    586.00   835.45   762.80    795.45   686.00
 68           362.30   395.40    404.90    626.85   715.90   880.05   860.85 1,244.90 1,299.10 1,353.85    600.15   846.50   768.90    818.75   705.90
 70           369.85   401.45    410.85    641.70   732.75   905.65   885.20 1,272.25 1,328.00 1,384.05    614.40   868.30   790.60    842.50   723.80




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Export
UPS Worldwide Express®
G U A R A N T E E D O N E TO T H R E E DAYS BY 10 :30 A . M . O R 12: 0 0 P. M .

UPS Worldwide Express Plus® guarantees early morning time-definite delivery, typically by 9:00 a.m. The published rate is $40.00 more than the rate
shown for the appropriate UPS Worldwide Express rate.

 Zones              81        82        84         901      903       904        905         906        907         908       909       911       912       913       921
 72 Lbs.      $373.70 $404.65 $412.40 $655.45 $750.60 $927.00 $901.45 $1,308.00 $1,363.10 $1,413.55 $620.10 $911.40 $802.70 $862.40 $743.70
 74            383.70    414.70    415.75     670.20     767.40    949.30     919.30 1,329.05 1,396.40 1,441.05            637.00    924.80    823.40    883.15    764.30
 76            389.05    421.10    424.30     685.00     785.20    957.15     933.85 1,354.95 1,427.10 1,472.60            653.65    932.90    869.25    890.45    784.65
 78            392.70    426.70    427.95     693.60     802.95    978.10     954.25 1,381.50 1,460.15 1,502.20            670.10    953.35    890.35    909.90    805.00
 80            397.25    431.95    438.70     702.65     819.90 1,000.85      972.10 1,408.10 1,488.05 1,513.30            684.35    963.25    911.80    931.15    825.35
 82            401.25    437.30    448.05     719.25     838.35 1,018.70      990.00 1,424.90 1,517.80 1,550.80            685.90    983.20    921.15    947.75    836.40
 84            405.00    442.50    452.60     736.20     852.40 1,036.40 1,007.85 1,439.10 1,545.90 1,575.30               691.85 1,003.10     933.70    964.20    855.15
 86            409.45    448.15    453.25     749.05     872.15 1,054.30 1,025.80 1,453.40 1,579.85 1,612.25               708.20 1,022.95     946.20    980.75    870.55
 88            413.95    453.10    455.15     763.55     890.10 1,071.90 1,043.75 1,467.60 1,616.50 1,648.15               724.30 1,042.90     958.70    997.20    890.50
 90            418.50    458.30    465.40     768.95     899.60 1,089.70 1,061.55 1,481.80 1,650.40 1,685.10               740.20 1,062.75     971.30 1,013.75     909.95
 92            423.05    463.35    473.50     779.40     917.10 1,107.45 1,079.50 1,496.10 1,686.40 1,720.70               753.35 1,082.65     983.70 1,030.25     928.90
 94            427.60    469.25    477.70     795.80     932.75 1,125.25 1,097.45 1,503.85 1,721.55 1,756.85               766.85 1,102.50     996.25 1,046.80     948.30
 96            432.15    474.70    481.95     809.15     954.85 1,142.90 1,115.30 1,524.50 1,757.80 1,794.00               781.80 1,122.45 1,008.90 1,063.25       968.20
 98            436.70    479.05    486.40     824.25     974.55 1,160.65 1,133.20 1,537.55 1,793.75 1,830.55               795.75 1,142.30 1,021.45 1,079.80       988.25




                                                                                                                                                                            Determining the Rate
 100           440.95    483.80    486.90     825.20     986.75 1,168.00 1,151.55 1,538.35 1,830.25 1,867.55               802.15 1,157.35 1,027.00 1,100.85 1,007.45
 105           462.65    504.70    511.30     866.45 1,035.30 1,226.45 1,208.60 1,615.35 1,920.10 1,960.30                 839.90 1,214.20 1,078.35 1,154.90 1,056.95
 110           484.30    527.60    535.55     907.70 1,085.00 1,284.80 1,266.10 1,692.25 2,011.90 2,053.45                 879.90 1,271.00 1,129.70 1,209.00 1,105.25
 115           506.10    551.55    559.95     949.05 1,134.00 1,343.25 1,323.65 1,769.15 2,103.40 2,146.00                 919.90 1,327.60 1,181.05 1,262.85 1,155.40
 120           528.35    575.55    584.20     990.30 1,183.35 1,401.60 1,381.15 1,846.05 2,194.70 2,239.10                 959.90 1,384.10 1,232.40 1,316.60 1,205.25
 125           550.35    599.60    608.60 1,031.55 1,232.55 1,460.00 1,437.00 1,923.05 2,286.15 2,332.35                   999.80 1,441.55 1,283.75 1,371.25 1,254.50
 130           572.35    623.60    633.00 1,072.75 1,282.10 1,518.35 1,493.20 1,999.90 2,377.75 2,424.65 1,039.80 1,499.20 1,335.10 1,426.05 1,305.45
 135           594.35    647.55    657.25 1,114.00 1,331.30 1,576.80 1,549.10 2,076.80 2,468.95 2,517.65 1,079.80 1,555.90 1,386.35 1,480.00 1,355.40
 140           616.30    671.50    681.65 1,155.25 1,380.75 1,635.15 1,606.40 2,153.70 2,560.50 2,609.80 1,119.80 1,613.55 1,437.70 1,534.80 1,405.30
 145           637.75    695.50    705.90 1,196.50 1,429.70 1,693.60 1,662.30 2,230.70 2,651.90 2,701.85 1,159.80 1,672.35 1,489.05 1,589.60 1,456.00
 150           659.55    718.85    730.20 1,237.75 1,479.30 1,751.95 1,718.65 2,307.60 2,743.30 2,794.75 1,199.80 1,728.75 1,540.40 1,644.40 1,505.50



UPS Worldwide Express Shipments of More Than 150 Pounds* (non-pallet)
 Zones              81        82        84         901      903       904        905         906        907         908       909       911       912       913       921
 Price Per
                 $4.40     $4.80     $4.87      $8.26     $9.87    $11.68     $11.46     $15.39      $18.29       $18.64    $8.00    $11.53    $10.27    $10.97    $10.04
 Pound
 Minimum
               659.55    718.85    730.20 1,237.75 1,479.30 1,751.95 1,718.65 2,307.60 2,743.30 2,794.75 1,199.80 1,728.75 1,540.40 1,644.40 1,505.50
 Rate
Notes: Delivery times may vary by destination            – Dimensional weight may apply. Refer to pages              *Applies to single-package shipments with a
postal code.                                                27 and 28 for more information.                             dimensional weight of more than 150 pounds
Refer to pages 136 to 143 for value-added                – F or larger packages, additional charges may apply.         and multiple-package shipments of more than
services rates and other charges.                          Refer to pages 27 and 28 for more information.               150 pounds. For packages with an actual weight
                                                                                                                        of more than 150 pounds, refer to UPS Express
– The rates shown are for shipments originating         – T o determine the rate for international multiple-          Critical® and UPS Worldwide Express FreightTM
  in the U.S.                                               package shipments, refer to page 94.                       on page 9 or Air Freight services on page 11.
– Any fraction of a pound more than the weight          –A
                                                           Heavy Package sticker is required for any                 Visit ups.com® or call 1-800-782-7892 for guar-
  shown in the rate chart is rounded up to the            package weighing more than 70 pounds.                       antee details, service availability, delivery time
  next listed weight.                                     Refer to page 23 for more information.                      commitments or to request a pickup.




                                                                                                                  STA N D A R D               L I ST       R AT E S
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 Import
 Determine the Zone
 PAC K AG E



 Use the Worldwide Zone Chart starting on page 114 to determine the origin zone
 for the international service option you’ve selected.

 An Extended Area Surcharge may apply to certain origins within a country.
 Extended Area origins are subject to change. For the most current information,
 refer to ups.com/rates or call 1-800-782-7892.


 UPS Worldwide Express Plus®, UPS Worldwide Express NA1®,
 UPS Worldwide Express®, UPS Worldwide Express FreightTM,
 UPS Worldwide Saver® and UPS Worldwide Expedited®
 1. For UPS Worldwide Expedited, refer to page 82 to determine whether your
 destination state is classified as West or East.
 2. Locate the origin country on the Worldwide Zone Chart beginning on page 114.
 3. Locate the zone for UPS Worldwide Express Plus,          Origin                                                 Zones
 UPS Worldwide Express NA1, UPS Worldwide Express,                                          Express             Express Saver         Expedited
                                                                                                      Express
 UPS Worldwide Express Freight, UPS Worldwide Saver                                          Plus               Freight (Express)   WEST    EAST
 or UPS Worldwide Expedited. (To determine whether           Egypt/EG                        955       955                455       685      655
 UPS Worldwide Express Plus service is available to your     El Salvador/SV†                 956       956                456       686      656
 address in the U.S., refer to ups.com/rates or call         England (United Kingdom)*/GB    951       951       451      451       681      651
 1-800-782-7892.) The service is not available when
 a zone number is not shown in the appropriate column.

 Examples:
 For a UPS Worldwide Express Plus shipment from England to the U.S., the zone is 951.

 For a UPS Worldwide Express NA1 or UPS Worldwide Express shipment from England
 to the U.S., the zone is 951.

 For a UPS Worldwide Express Freight shipment from England to the U.S., the zone is 451.

 For a UPS Worldwide Saver shipment from El Salvador to the U.S., the zone is 456.

 For a UPS Worldwide Expedited shipment from England to Los Angeles, California,
 the zone is 681.

 For a UPS Worldwide Expedited shipment from El Salvador to Buffalo, New York,
 the zone is 656.

  *UPS Worldwide Express NA1 service is available from this country.
 †For shipments from South America to Dade      For shipments from the Caribbean to Dade
   or Broward County, Florida, use zone:         or Broward County, Florida, use zone:
   – 971 for UPS Worldwide Express               – 970 for UPS Worldwide Express
   – 471 for UPS Worldwide Express Freight       – 470 for UPS Worldwide Express Freight
   – 471 for UPS Worldwide Saver                 – 470 for UPS Worldwide Saver
   – 671 for UPS Worldwide Expedited             – 670 for UPS Worldwide Expedited
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Import
UPS Worldwide Expedited®
G U A R A N T E E D DAY- D E F I N I T E T WO TO F I V E DAYS BY E N D O F DAY



 Zones         61       64 651/681 652/682 653/683 654/684 655/685 656/686 657/687 658/688 659/689 661/691 662/692 663/693                   670      671
 36 Lbs.   $177.85 $163.50 $373.95 $355.80 $528.70 $425.70 $618.45 $428.10 $575.05 $776.50 $351.05 $351.05 $439.40 $518.80 $347.45 $358.75
 37         180.90   167.20    379.85   360.55   538.80   436.40   628.10   439.80   581.40   788.90   357.55   359.65   446.30   528.75   356.20   365.70
 38         183.05   170.10    385.60   369.35   546.95   443.00   637.25   444.60   588.75   802.80   363.70   367.65   453.50   536.75   361.95   371.80
 39         185.70   172.55    391.40   377.40   554.80   453.15   646.45   450.45   595.50   809.00   370.00   374.00   461.20   544.45   368.20   378.10
 40         188.50   175.50    397.15   386.35   564.20   462.25   655.50   461.45   602.10   822.75   376.65   383.30   468.15   553.65   372.70   384.75
 41         191.15   178.40    402.25   394.35   571.80   473.40   670.85   471.85   614.25   836.50   383.05   386.55   477.60   561.10   381.40   391.25
 42         194.15   181.60    406.55   401.35   577.70   475.25   684.35   478.65   620.55   851.10   389.55   393.35   484.95   566.90   387.80   397.85
 43         197.20   185.00    412.30   402.05   584.00   482.65   691.80   485.25   628.50   868.60   396.05   396.05   492.25   573.10   394.35   404.55
 44         199.30   187.40    416.60   410.60   590.00   491.85   698.85   492.20   635.00   886.80   402.40   403.70   499.55   578.95   400.45   410.90
 45         201.55   191.30    422.40   415.20   594.90   501.00   704.90   499.40   641.55   901.70   408.45   408.45   507.15   583.80   406.90   417.50
 46         205.35   194.15    427.45   424.25   600.80   510.15   712.55   510.25   651.90   913.90   414.80   414.80   514.10   589.55   412.55   423.35
 47         208.30   198.00    435.20   432.40   605.95   521.00   719.15   511.25   657.50   927.80   421.30   421.30   521.70   594.65   418.30   429.20
 48         210.95   201.35    440.40   440.45   611.70   528.50   726.60   522.05   663.65   946.70   427.70   427.70   528.80   600.25   425.00   436.15
 49         213.40   203.85    444.50   443.40   617.65   537.65   734.60   532.00   670.30   965.00   434.10   435.90   536.55   606.10   430.85   442.10
 50         215.70   206.35    447.65   452.20   622.95   546.80   741.30   541.30   681.70   967.90   440.80   440.80   543.40   611.30   437.50   448.80
 52         221.65   213.85    460.65   468.95   630.90   565.10   750.00   553.50   696.60 1,008.60   447.40   448.95   559.00   619.10   449.85   463.30
 54         227.25   220.50    466.10   484.00   645.20   583.45   757.35   565.50   710.70 1,015.50   454.05   455.30   574.15   633.15   462.55   475.75
 56         233.30   228.00    476.20   492.50   657.15   601.80   763.70   581.00   717.90 1,042.95   465.00   470.00   592.40   644.85   468.25   478.55
 58         238.85   234.75    486.25   504.35   666.05   623.05   771.90   600.70   725.85 1,070.35   472.95   485.55   612.25   653.00   474.05   486.20
 60         244.40   241.85    500.25   520.80   680.25   644.30   778.70   621.10   732.90 1,110.40   485.15   501.60   629.05   670.00   479.00   497.20
 62         249.90   248.85    509.00   536.75   692.40   665.00   794.30   632.55   747.45 1,138.20   500.20   513.05   639.50   691.75   485.45   503.85
 64         256.05   255.55    520.50   554.05   709.50   683.40   801.90   652.15   755.35 1,177.15   515.95   524.85   654.75   710.05   493.45   512.20
 66         261.55   263.00    529.90   563.85   720.60   693.25   808.80   671.15   762.90 1,181.35   531.20   540.85   668.70   716.70   507.85   526.70
 68         267.55   270.65    536.20   576.15   728.85   703.05   817.25   676.30   771.00 1,233.30   545.50   550.70   682.35   728.15   522.85   541.30
 70         273.15   278.15    551.10   587.45   740.40   719.85   824.60   693.40   778.75 1,256.45   560.65   564.90   697.25   748.85   536.10   553.85
 72         278.35   284.75    558.80   604.05   759.55   732.60   832.05   701.10   786.10 1,287.35   572.05   580.20   708.70   760.90   550.90   569.25
 74         282.95   291.75    564.75   613.25   763.40   742.85   840.40   709.65   794.30 1,316.00   587.20   595.50   722.40   778.90   558.90   584.95
 76         286.85   298.55    574.25   627.25   769.80   753.30   847.90   714.65   801.85 1,317.95   602.60   611.10   734.55   787.50   567.10   596.70
 78         292.85   306.20    588.45   643.15   781.80   763.70   855.65   725.60   809.40 1,360.80   618.25   622.30   750.05   788.60   575.40   611.75
 80         297.15   312.90    596.95   654.10   793.85   780.90   863.15   730.50   824.20 1,401.85   634.05   637.25   767.15   807.90   582.85   621.90




STA N D A R D                 L I ST    R AT E S
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Import
UPS Worldwide Expedited®
G U A R A N T E E D DAY- D E F I N I T E T WO TO F I V E DAYS BY E N D O F DAY



 Zones            61       64 651/681 652/682 653/683 654/684 655/685 656/686 657/687               658/688 659/689 661/691 662/692 663/693               670         671
 82 Lbs.     $301.85 $320.45 $606.10 $661.70 $804.45 $791.45 $871.05 $735.55 $832.10 $1,415.30 $643.80 $644.15 $786.00 $815.55 $591.15 $633.10
 84           305.75   325.45    611.10    662.60   804.95   809.55   878.85    742.65    840.00   1,416.55     653.25   659.30    802.60    829.95    598.60    640.80
 86           310.05   332.55    623.10    663.10   810.50   827.75   886.45    748.60    847.85   1,438.30     667.65   672.75    818.65    837.70    606.95    649.40
 88           312.60   336.40    628.30    675.75   816.00   837.80   894.15    757.00    855.80   1,478.00     680.95   680.95    837.30    845.50    614.45    657.20
 90           319.05   342.15    633.00    688.55   819.30   848.40   902.20    764.60    863.50   1,480.10     687.05   687.05    849.10    853.35    622.75    668.10
 92           323.35   348.10    637.70    696.60   821.65   860.10   909.65    774.05    870.85   1,520.80     694.90   694.90    866.25    860.55    630.30    676.60
 94           329.70   354.75    642.40    702.50   823.05   866.35   917.60    790.70    878.70   1,557.50     708.25   701.85    882.60    868.25    638.70    685.15
 96           336.15   362.15    647.15    716.35   825.45   877.55   925.15    807.40    886.50   1,560.40     713.05   706.65    898.90    876.00    646.15    692.95
 98           343.10   369.60    651.85    730.25   830.10   886.85   932.90    818.80    894.45   1,580.15     721.15   714.65    916.85    883.80    654.85    702.10
 100          349.05   376.85    657.30    735.90   835.55   903.65   940.90    829.95    902.15   1,613.65     728.90   722.35    931.05    891.55    667.75    715.55
 105          366.45   395.30    687.60    771.90   872.25   933.65   959.00    856.30    928.50   1,694.35     750.55   757.30    976.75    909.25    696.55    739.30
 110          383.00   414.05    706.30    807.20   909.95   963.00   978.30    883.40    946.85   1,775.00     771.70   778.70 1,017.50     943.40    726.30    763.65
 115          399.40   432.45    726.10    842.45   951.30   995.95 1,004.70    918.15    973.35   1,855.70     805.15   812.40 1,058.75     969.85    752.25    791.20
 120          413.55   451.05    748.00    878.50   989.00 1,033.55 1,032.30    952.85    991.95   1,936.40     830.20   830.20 1,098.20     997.15    776.75    820.30
 125          429.85   469.40    771.90    914.80 1,024.40 1,071.35 1,059.15    989.10 1,009.70    2,017.05     847.95   847.95 1,133.80 1,024.40      807.75    848.15




                                                                                                                                                                            Determining the Rate
 130          445.35   488.15    802.70    950.85 1,052.35 1,108.65 1,085.90 1,025.70 1,037.35     2,097.75     865.30   865.30 1,153.15 1,052.35      839.55    874.70
 135          460.90   506.50    822.45    987.40 1,069.45 1,145.40 1,103.60 1,061.10 1,055.05     2,178.45     883.15   883.15 1,187.50 1,088.90      871.00    905.35
 140          476.95   524.65    840.00 1,022.70 1,087.60 1,172.35 1,123.85 1,083.65 1,082.85      2,259.10     884.85   884.85 1,223.45 1,107.40      894.35    930.05
 145          492.65   542.30    862.35 1,059.00 1,115.35 1,198.45 1,141.80 1,106.00 1,101.05      2,339.80     902.45   902.45 1,248.40 1,125.40      914.75    950.70
 150          509.30   560.20    885.00 1,094.50 1,133.10 1,225.65 1,160.70 1,128.55 1,119.15      2,420.50     918.95   919.80 1,276.50 1,143.30      935.20    971.75



UPS Worldwide Expedited Multiple-Package Shipments of More Than 150 Pounds*
 Zones            61       64 651/681 652/682 653/683 654/684 655/685 656/686 657/687               658/688 659/689 661/691 662/692 663/693               670         671
 Price Per
               $3.40    $3.74     $5.90     $7.30    $7.56    $8.18    $7.74     $7.53     $7.47      $16.14     $6.13    $6.14     $8.51     $7.63     $6.24     $6.48
 Pound
 Minimum
             509.30    560.20   885.00 1,094.50 1,133.10 1,225.65 1,160.70 1,128.55 1,119.15 2,420.50           918.95   919.80 1,276.50 1,143.30      935.20   971.75
 Rate
Notes: Delivery times may vary by origin               – Dimensional weight may apply. Refer to pages          *To determine the rate for international multiple-
and destination postal code.                              27 and 28 for more information.                         package shipments, refer to page 119.
Refer to pages 136 to 143 for value-added              –A
                                                         Heavy Package sticker is required for any             Visit ups.com® or call 1-800-782-7892 for guar-
services rates and other charges.                       package weighing more than 70 pounds.                   antee details, service availability and delivery
– The rates shown are for shipments to the U.S.,       Refer to page 23 for more information.                  time commitments.
  billed to a U.S. UPS account number.                 – F or packages with an actual weight of more
– Any fraction of a pound more than the weight           than 150 pounds, refer to UPS Express Critical®
  shown in the rate chart is rounded up to the            and UPS Worldwide Express FreightTM on page
  next listed weight.                                    10 or Air Freight services on page 11.
                                                        




                                                                                                               STA N D A R D                L I ST       R AT E S
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              Customs Brokerage
              PAC K AG E



              The following applies per shipment         Customized Brokerage Services in             events beyond our control, such
              for imports into the U.S.:                 the Special Services section below           as a government agency hold.
              – All UPS Worldwide Express Plus®,        for more information.                       – Customs clearance for services
                UPS Worldwide Express NA1®,             – UPS also provides services designed          specified here is provided by the
                UPS Worldwide Express®,                    to facilitate movements of your              UPS Supply Chain Solutions® customs
                 UPS Worldwide Express FreightTM,          UPS Standard shipments to and from           brokerage offices designated by
                 UPS Worldwide Saver®,                     Canada (see brokerage rates into             UPS for handling package customs
                 UPS Worldwide Expedited®,                 Canada at ups.com/cabrokerage)               clearance. Other UPS Supply Chain
                UPS 3 Day Select® from Canada              and other non-routine services that          Solutions customs brokerage offices
                 and UPS StandardTM to/from Mexico         include formal entry clearance, live         charge fees for clearance of packages
                rates include routine customs clear­       entry clearance, temporary import            and freight. Customs clearance and
                ance. Routine customs clearance is         bonds and duty drawbacks. In addi­tion,      brokerage services are subject to
                built into your rates when you use         UPS can provide customs clearance            the Customs Brokerage and Freight
                UPS to per­form the customs clearance      for other ocean, air freight, truck          Forwarding Terms and Conditions/
                for any of ­these services.                and rail U.S. imports. The importer          U.S. located at ups-scs.com/tools
              – Additional services such as parts         is responsible for all broker­age fees,     /terms.html.
                 database management, customer-            including duties and taxes. See charts
                                                           on the following pages for more           For more infor­mation on any of our
                 specific classification directives,
                                                           information.                              Customs Broker­age Services, call
                 special operating plans, assigned
                                                                                                     1-800-782-7892.
                 rating team, custom reporting and      – The UPS Service Guarantee does not
                 other value-added services are part       apply when customs clearance is
                 of our Customized Brokerage Services      performed by brokerage offices other
                 and subject to a customs entry fee        than those designated by UPS, or if a
                 and/or other charges. Please see          service delay is the result of certain


              UPS Broker of Choice®
              With UPS Broker of Choice, importers      broker familiar with this portion of the     customs clearance procedures prior
              select their own alternate customs        business, while continuing to utilize        to UPS completing delivery of the
              broker for customs clearance of their     UPS brokerage expertise for others.          shipment.
              UPS international shipments. This
              service is available for all UPS inter­   Through the use of UPS technology,           2. UPS Broker of Choice OffSite
              national shipments, except for            ship­ment information, as well as            moves shipments in-bond directly to
              UPS Standard service.                     ship­ment documentation (e.g., com­          a customs-controlled (bonded) ware­
                                                        mercial invoice), will be pro­actively       house (at the importer’s direction),
              This contractual, fee-based service       available at the time of export for the      where the importer’s customs broker
              ensures that the established relation­    broker to retrieve, thus enhancing the       completes the customs clearance pro­­
              ship with a customs broker can remain     broker’s ability to clear the shipment       cedures. The UPS transport is completed
              in place while the importer continues     in a timely manner.                          upon delivery of the shipment to the
              to utilize UPS for their international                                                 warehouse. Refer to page 147 for fees.
              shipping needs. Using UPS Broker of       Importers have two options:
              Choice enables importers that have        1. UPS Broker of Choice OnSite keeps
              concerns about specific commodities       shipments in UPS’s pos­ses­sion while the
              or product lines to retain a particular   importer’s customs broker completes
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Customs Brokerage
PAC K AG E

UPS FTZ Facilitator®
With UPS FTZ Facilitator, importers                importers and exporters to increase                 to process the FTZ entry in a timely
and exporters have the ability to use              visibility and tracking, and reduce the             manner.
UPS to transport international ship­               chance for errors and costs associated
ments in-bond to and from a global                 with utilizing multiple transportation              Importers will choose FTZ Facilitator
Free/Foreign Trade Zone (FTZ). This                providers.                                          Import to direct shipments to be
service is available for all UPS inter­                                                                delivered in-bond to a designated
national shipments, except for                     Through the use of UPS technology,                  FTZ rather than being cleared through
UPS StandardTM service.                            ship­ment information, as well as ship­             customs.
                                                   ment documentation (e.g., commercial
This contractual, fee-based service                invoice), will be proactively available             Exporters will choose FTZ Facilitator
allows the shipment of goods to and                at the time of export for our customer,             Export to ship goods in-bond from an
from an FTZ, while retaining the ben­              customer’s broker or FTZ operator to                FTZ to an international destination.
efits of UPS’s transportation network.             retrieve, thus enhancing their ability              Refer to page 147 for fees.
Using UPS as a single source enables


Entry Preparation Charges for Importing into the United States




                                                                                                                                                                            Determining the Rate
All rates and values are shown in U.S. funds. Rates are per shipment and do not include applicable taxes.

                                                         UPS Worldwide Express Plus®
                                                         UPS Worldwide Express NA1®
                                                         UPS Worldwide Express®
                                                         UPS Worldwide Express FreightTM
                                                         UPS Worldwide Saver®
                                                         UPS Worldwide Expedited®
                                                         UPS 3 Day Select® from Canada
            Value for Duty                               UPS Standard from Mexico                           UPS Standard from Canada*
            $0.00 to $200.00                                       No Charge**                                         No Charge
            $200.01 to $1,250.00                                   No Charge**                                          $25.25
            $1,250.01 to $2,000.00                                 No Charge**                                          $36.50
            Each Additional $1,000.00
            or Part Thereof                                        No Charge**                                          $1.80
 *When UPS Supply Chain Solutions is designated as the customs broker on the commercial invoice for the product listed above, the UPS Service
                                    ®

   Guarantee applies to your shipment, subject to its terms set forth in the applicable “UPS Tariff/Terms and Conditions – United States” located at
   ups.com/terms. The UPS Service Guarantee does not apply when customs clearance is performed by customs brokerage offices other than those
   designated by UPS for clearing the products listed above. Call 1-800-782-7892 for more information.
**For UPS Worldwide Express Plus, UPS Worldwide Express NA1, UPS Worldwide Express, UPS Worldwide Express Freight, UPS Worldwide Saver,
   UPS Worldwide Expedited, UPS 3 Day Select from Canada and UPS Standard from Mexico, routine customs clearance (for entries up to three entry
   lines) is included at no additional cost. Additional charges will apply if customs clearance is performed by customs brokerage offices other than
   those designated by UPS for clearing the products listed above.




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Track Your Shipment
Tracking
UPS tracking services provide informa­          UPS MobileTM or Quantum View®. To                  Canada and International” at
tion about shipments as they move               track your UPS Express Critical® ship-             ups-scs.com/terms for Air Freight
through the UPS system, from the time           ments, go to upsexpresscritical.com                services. Refer to the UPS Freight® 102
the shipper uploads shipping information        or call 1-800-714-8779.                            Series Tariff at upsfreight.com/tariff
to UPS to the time the shipment is deliv­                                                          for LTL and TL.
ered to the consignee. You can follow           Refer to “UPS Air Freight Terms and
your shipment using WorldShip®,                 Conditions of Contract for UPS Air
ups.com®, UPS CampusShip®,                      Freight Services in the United States,



Convenient Numbers to Track Shipments
 Number                   Description
 Tracking Number          – Number automatically assigned to your shipment by UPS to identify and locate the shipment as it travels
                             through the UPS system.
 Reference Number         – Number you can assign when you ship to help you identify your shipment. Reference number can contain
                             any combi­na­tion of letters and numbers up to 35 characters.
 UPS InfoNotice®          –N
                            umber assigned by UPS that links all shipments for a delivery attempt together (patent pending). For detailed
 Number                    information on each shipment, go to ups.com or call 1-800-833-9943.
 PRO Number               –N
                            umber automatically assigned to your LTL shipment by UPS Freight to identify and locate the shipment
                           as it travels through the UPS Freight system.




                                                                                                                                                                         Tracking and Payment
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Essential Contacts


 Support
UPS Customer Service                                             UPS WorldShip® Technical Support
ups.com®                                                         worldship.ups.com
1-800-Pick-UPS®                                                  1-888-553-1118
1-800-877-1548 En Español
1-800-782-7892 International                                     Package Lab
1-800-811-1648 Billing                                           package_testing@ups-psi.com
1-800-554-9964 Hazardous Materials                               1-877-877-7229
1-800-833-0056 Hearing Impaired – TTY/TDD
                                                                 UPS CampusShip® Support
customer.service@ups.com
                                                                 Help Desk: 1-800-513-1819 (United States)
Zone Charts                                                      Eform: https://www.ups.com/forms/e-mail/shipping?loc=en_US
View or download at ups.com/rates                                Help Desk Listing for other Countries:
Order by calling 1-800-Pick-UPS                                   https://www.campusship.ups.com/content/us/en/resources/
                                                                  technical_support.html


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theupsstore.com                                                  upsmailinnovations.com
1-858-455-8800                                                   1-800-500-2224

UPS Capital®                                                     UPS Supply Chain Solutions®
upscapital.com                                                   ups-scs.com
1-800-637-0620                                                   1-800-742-5727

UPS Freight® – LTL
ltl.upsfreight.com
1-800-333-7400 (LTL)




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2011. These rates are applicable to all shippers in Alaska and Hawaii who process and pay for shipments at locations
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Domestic
Guaranteed Services*

 Service                  Delivered By                                       Destinations                                Other Information
 1 DAY
 UPS Next Day Air®        – Delivery by 8:00 a.m. the next business day     – 48 contiguous states and Alaska           – Optional Saturday Pickup available for
 Early A.M.®                 to major cities in the 48 contiguous states                                                    shipments from Alaska
                          – Delivery by 8:30 a.m. or 9:00 a.m. the                                                      – Optional Saturday Delivery** available
                             next business day to most other U.S. cities,                                                   (refer to page 48 for more information)
                             including Anchorage, Alaska
                          – Additional locations guaranteed by 10:00 a.m.
 UPS Next Day Air®        – Next business day by 10:30 a.m., 12:00 p.m.     – All 50 states and Puerto Rico             – Optional Saturday Pickup available for
                             or end of day, depending on destination                                                        shipments from Alaska
                                                                                                                         – Optional Saturday Delivery** available to
                                                                                                                            destinations where the weekday guaranteed
                                                                                                                            delivery time is either 10:30 a.m. or 12:00
                                                                                                                            p.m. Saturday Delivery guaran­tees delivery
                                                                                                                            by 12:00 p.m. or 1:30 p.m.† (refer to page 48
                                                                                                                            for more information)
 UPS Next Day             – Next business day by 3:00 p.m. or 4:30 p.m.     – Not available to destinations where      – Optional Saturday Pickup available for
 Air Saver®                  to commercial destinations where UPS Next          UPS Next Day Air is committed by end        shipments from Anchorage, Alaska
                             Day Air delivery is committed by 10:30 a.m.        of day
                             or 12:00 p.m., respectively
                          – Shipments to residential locations within the
                             UPS Next Day Air Saver area are delivered
                             by end of day
 *Some shipments to and from certain locations may require additional time in transit. For guarantee details, service availability and delivery time commitments, 
   visit ups.com® or call 1-800-Pick-UPS®.
**For Saturday Delivery, each Express Envelope or package must bear a Saturday Delivery routing label. Refer to page 48 for more information.
†Saturday Delivery may vary based on location. Refer to ups.com for more information.




UPS offers a full portfolio of freight products. Visit ups.com/freight for more information.
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Domestic and Export
Service Restrictions

Alcoholic Beverages                         Maximum Size                                 Maximum Weight for a Hazardous
Packages containing alcoholic bever­ages    The maximum size per export package          Materials and International
(beer, wine or spirits) are accepted for    is 165 inches in length and girth [(2 x      Dangerous Goods Package
transportation only on a contractual        width) + (2 x height)] combined. For         The maximum weight for a Hazardous
basis. Shippers must be licensed and        irregularly shaped air and ground pack­      Materials and International Dangerous
authorized under applicable law to ship     ages, refer to page 7 for instructions.      Goods package is 70 pounds, unless
alcoholic beverages. UPS does not                                                        further restricted by the regulations
accept packages containing beer or          Maximum Value                                set forth in 49 C.F.R. or IATA regulations.
spirits for delivery to consumers. To       Shippers are prohibited from shipping,       Maximum weight for a non-Hazardous
receive service for packages contain­ing    and UPS does not accept for transpor­        Materials shipment containing dry ice
alcoholic beverages, the shipper must       tation, packages having a value of more
                                                                                         is 150 pounds. Consult the UPS Guide
                                            than $50,000.00. Additionally, more
enter into, and agree to, the pro­visions                                                for Shipping Ground and Air Hazardous
                                            restrictive value limits apply for certain
set forth in the approved UPS agree­                                                     Materials at ups.com/hazmat or call the
                                            packages, including packages shipped
ment for the trans­portation of alcoholic                                                Hazardous Materials Support Center at
                                            as a result of a request for service made
beverages shipments.                                                                     1-800-554-9964 for more information.
                                            through the Internet by a shipper who
C.O.D.                                      has paid with a payment card (credit         Restricted and Prohibited
Collect on Delivery (C.O.D.) service is     card or debit card); packages returned       Articles (Export)
not available for international services.   via Print Return Label, Print and Mail       The following items may be shipped to
C.O.D. service is also not available        Return Label, Electronic Return Label or     countries outside the U.S., where service
when using a UPS Ground shipping            1 UPS Pickup Attempt Returns Services;
                                                                                         is allowed, on a contractual basis only:
                                            packages shipped via a UPS Drop Box;
document.                                                                                – Alcoholic beverages
                                            and Prepaid Letters and packages
                                            shipped using Shipper Release.               – Biological substances, Category B and
Firearms
                                                                                            Exempt Human or Animal Specimens
Firearms will be accepted for trans­
                                            Refer to the “UPS Tariff/Terms and           – Dangerous Goods
portation only according to the
                                            Conditions” beginning on page 82 for         – Perishables
“UPS Tariff/Terms and Conditions”
                                            more information on maximum allow­           – Personal effects*                           *Limited shipping of
beginning on page 82.                                                                                                                    personal effects is avail­
                                            able values and liability limitations.       – Plants
                                                                                                                                         able at all locations of
Jewelry                                                                                  – Seeds                                        The UPS Store® and any
                                            Maximum Weight
International shipments containing                                                       – Tobacco                                      UPS Customer Center.
                                            For domestic shipments, the maximum
jewelry (not including costume
                                            actual weight per package is 150                                                           Note: For additional
jewelry) are limited to a maximum                                                        Service is limited and is subject             service restrictions,
                                            pounds. For international shipments,
value of $500.00 per package.                                                            to certain restrictions. Call the UPS         refer to the “UPS Tariff/
                                            the maximum weight of a package may
                                                                                         International Customer Service Center         Terms and Conditions”
                                            vary by destination or origin. Call the
Maximum Length                                                                           at 1-800-782-7892 for more information.       beginning on page 82.
                                            UPS International Customer Service
The maximum length per domestic
                                            Center at 1-800-782-7892 for more
or export package is 108 inches.
                                            information.
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Documenting an Export Shipment
Visit ups.com/intl_forms to download blank copies or view sample versions of invoices, certificates and/or declaration documents.

UPS uses export documents you prepare        Non-document Shipments:                        Certificate of Origin based on infor­ma­
to properly declare your shipment to         International shipments containing             tion from the shipper. Refer to page 72
customs in the country of export. The        items other than documents typically           for fees and more information.
documents and information are used           require one original and two copies
to determine various export reporting        of a com­mercial invoice in addition           NAFTA Certificate of Origin – This form
requirements. This documentation             to the UPS ship­ping label. Packages           is used by Canada, Mexico and the U.S.
may include:                                 destined for Puerto Rico require one           (including Puerto Rico) to deter­mine
                                             original and one copy of a commercial          if goods imported into their countries
– A commercial invoice.
                                             invoice in addition to the UPS Air Ship-       are products of one of the NAFTA
– U.S. Electronic Export Information        ­ping Document. Please visit ups.com/          countries and eligible for duty free or
   (E.E.I.), formerly known as Shipper’s      importexport or call 1-800-782-7892           reduced duty treatment. To receive the
   Export Declaration (S.E.D.).               for specific country requirements.            benefits of reduced duty, you must attach
– A Power of Attorney.                        In addition to the commercial invoice,        the NAFTA Certificate of Origin to the
                                              you may need to include a U.S. Certificate    commercial invoice if you have deter­
– A U.S. Certificate of Origin or a North
                                              of Origin, NAFTA Certificate of Origin or     mined your commodity qualifies as a
   American Free Trade Agreement
                                              E.E.I., based upon the guidelines below.      product of the U.S. under the NAFTA
   (NAFTA) Certificate of Origin.
                                                                                            rules of origin and:
– Other documents based on value,           Commercial Invoice – A commercial              – T he shipment is of U.S. or Canadian
   nature and destination of shipment.       invoice is required for all shipments             origin and is destined for Mexico with
                                             containing goods. The commercial                  a value of $1,000.00 USD or greater.
Visit ups.com/intl_forms to download         invoice is the primary document used
a blank document or view a sample            for import control, valuation and duty         – The shipment is of U.S. or Mexican
of a completed document.                     determination. The document identifies            origin and is destined for Canada with
                                             the products being shipped and their              a value of $1,600.00 or greater in
Document Shipments:                                                                            Canadian dollars.
                                             commercial values (i.e., generally the
A document is generally defined
                                             sales price between the shipper and
as a written, typed or printed com­                                                         Shipments valued less than the above
                                             its customer).
munication of no commercial value.                                                          amounts only require a statement on
Visit ups.com/importexport or call           U.S. Certificate of Origin – This form         the commercial invoice requesting
1-800-782-7892 for a list of items           may be required by some importing              NAFTA preferential tariff treatment:
that are classified as docu­ments in         countries for certain commodities.             “I certify that the goods referenced in
your desti­nation country. International     Please see the list of countries which         this commercial invoice comply with
documents shipped in an Express              may require a U.S. Certificate of Origin       the origin requirements specified for
Envelope or in any other packaging           at ups.com/importexport or call                these goods in the North American
generally do not require a commercial        1-800-782-7892. The purpose of the             Free Trade Agreement, and that further
invoice or any other export forms.           form is to authenticate that the country       processing or assembly outside the
All documents to Canada except those                                                                                                       Note: International
                                             of origin of the merchandise being             territories of the parties has not occurred    Dangerous Goods
shipped in an Express Envelope are           shipped is the U.S. (e.g., that it is wholly   subsequent to processing or assembly           service requires
subject to duties and taxes.                 produced or substantially transformed          in the NAFTA region.”                          a contract.
                                             in the U.S.). UPS can prepare a U.S.
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                               Alaska – Domestic
                               Determine the Zone
                               D O M E ST I C S H I P M E N T S , I N C L U D I N G P U E R TO R I CO

                               UPS Air Services Zone Charts
                               Zones for UPS Air Services within Alaska                       Zones for UPS Air Services to the 48 Contiguous States
                               DESTINATION                  DESTINATION                        SERVICES                              ZONES
                                               ZONES                        ZONES
                               ZIP CODES                    ZIP CODES
                                                                                               UPS Next Day Air® Early A.M.®           24
                                             UPS Next                     UPS Next
                                              Day Air                      Day Air             UPS Next Day Air®                       24
                                99501-24         22          99655-63         26               UPS Next Day Air Saver   ®
                                                                                                                                       20
                                99540            22          99664            22               UPS 2nd Day Air A.M.®                   18

                                99547-55         26          99665-68         26               UPS 2nd Day Air   ®
                                                                                                                                       14

                                99556            22          99669            22
                                                                                              Zones for UPS Air Services to Hawaii and Puerto Rico
                                99557-59         26          99670-71         26
                                                                                               DESTINATION
                                99561            26          99672            22                                            ZONES
                                                                                               ZIP CODES
                                99563-66         26          99674-86         26                                     UPS Next       UPS 2nd
                                99567-68         22          99687            22                                      Day Air       Day Air
                                                                                               006-007                  24            14
                                99569            26          99688-95         26
                                                                                               009                      24            14
                                99571            26          99697            26               96701                    24            14
                                99572            22          99701-03         22               96703-05                 26             –
                                99573-76         26          99704            26               96706-07                 24            14
                                                                                               96708                    26             –
                                99577            22          99705-12         22
                                                                                               96709                    24            14
                                99578-81         26          99714            26               96710                    26             –
                                99583-86         26          99716            26               96712                    24            14
                                99587            22          99720-27         26               96713                    26             –
                                                                                               96717                    24            14
                                99588-91         26          99729-30         26
                                                                                               96718-22                 26             –
                                99602            26          99732-34         26
                                                                                               96725-29                 26             –
                                99603            22          99736-74         26               96730-31                 24            14
                                99604            26          99775            22               96732-33                 26             –
                                                             99776-86         26               96734                    24            14
                                99605            22
                                                                                               96737-43                 26             –
                                99606-09         26          99788-91         26
                                                                                               96744                    24            14
                                99610-11         22          99801-03         26               96745-57                 26             –
Important: In addition          99612-15         26          99811            26               96759                    24            14
to determining the bill-                                     99820-21         26               96760-61                 26             –
                                99619-22         26
able weight of a pack-                                                                         96762                    24            14
age, the destination            99624-28         26          99824-27         26
                                                                                               96763-81                 26             –
zone is also needed             99630            26          99829-30         26               96782                    24            14
to determine the rate
                                99631            22          99832-33         26               96783-85                 26             –
for each domestic
                                99632-34         26          99835-36         26               96786                    24            14
service option.
                                                                                               96788                    26             –
– Determine the zone           99635            22          99840-41         26
                                                                                               96789                    24            14
   for your shipment            99636-38         26          99850            26               96790                    26             –
   from the appropriate
                                99639            22          99901            26               96791-92                 24            14
   charts.
                                99640-41         26          99903            26               96793                    26             –
– Service to and from                                                                         96795                    24            14
   points in zone 26 may        99643-44         26          99918-19         26
                                                                                               96796                    26             –
   require one or more          99645            22          99921-23         26               96797                    24            14
   additional days.
                                99647-53         26          99925-29         26               96801-28                 24            14
– A dash (–) means                                                                            96830-34                 24            14
   service is not available.    99654            22          99950            26
                                                                                               96835-50                 24            14
                                                                                               96853-54                 24            14
                                                                                               96857-63                 24            14
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                         Hawaii – Domestic
                         Determine the Zone
                         D O M E ST I C S H I P M E N T S , I N C L U D I N G P U E R TO R I CO

                         Zones for Services to the 48 Contiguous States and Puerto Rico
                         DESTINATION                                                             DESTINATION
                         ZIP CODES
                                                                 ZONES                           ZIP CODES
                                                                                                                                         ZONES
                                       UPS Next   UPS Next Day UPS 2nd Day   UPS 2nd     UPS                   UPS Next   UPS Next Day UPS 2nd Day   UPS 2nd     UPS
                                       Day Air®    Air Saver®   Air A.M.®    Day Air®   Ground                 Day Air®    Air Saver®   Air A.M.®    Day Air®   Ground
                         004-005        142          152           18          14        8       656-676        142          152           18          14         6
                         006-007        142           -             -          14        11      677            142          152           18          14         5
                         009            142           -             -          14        11      678            142          152           18          14         6
                         010-089        142          152           18          14        8       679            142          152           18          14         5
                         090-099        142          152            -           -         -      680-692        142          152           18          14         6
                         100-339        142          152           18          14        8       693            142          152           18          14         5
                         340             -            -             -           -         -      700-709        142          152           18          14         7
                         341            142          152           18          14        8       710-711        142          152           18          14         6
                         342-349        142          152           18          14        8       712-717        142          152           18          14         7
                         350-358        142          152           18          14        7       718            142          152           18          14         6
                         359-364        142          152           18          14        8       719-725        142          152           18          14         7
                         365-367        142          152           18          14        7       726-727        142          152           18          14         6
                         368            142          152           18          14        8       728            142          152           18          14         7
                         369-372        142          152           18          14        7       729-738        142          152           18          14         6
                         373-374        142          152           18          14        8       739            142          152           18          14         5
                         375            142          152           18          14        7       740-775        142          152           18          14         6
                         376-379        142          152           18          14        8       776-777        142          152           18          14         7
                         380-384        142          152           18          14        7       778-789        142          152           18          14         6
                         385            142          152           18          14        8       790-791        142          152           18          14         5
                         386-397        142          152           18          14        7       792            142          152           18          14         6
                         398-418        142          152           18          14        8       793-794        142          152           18          14         5
                         420-424        142          152           18          14        7       795-796        142          152           18          14         6
– Using the first       425-459        142          152           18          14        8       797-838        142          152           18          14         5
   three digits of the   460-466        142          152           18          14        7       840-853        142          152           18          14         4
   destination ZIP       467-468        142          152           18          14        8       854            142          152           18          14         3
   CodeTM, deter­mine    469            142          152           18          14        7       855-863        142          152           18          14         4
   the zone for the      470-473        142          152           18          14        8       864            142          152           18          14         3
   appropriate service   474-479        142          152           18          14        7       865            142          152           18          14         4
   level by referring    480-497        142          152           18          14        8       870-872        142          152           18          14         5
   to the zone charts
                         498-504        142          152           18          14        7       873-874        142          152           18          14         4
   to the right.
                         505            142          152           18          14        6       875-885        142          152           18          14         5
– A dash (–) means      506-507        142          152           18          14        7       889-892        142          152           18          14         3
   service is not        508            142          152           18          14        6       893-898        142          152           18          14         4
   available.
                         509            142          152           18          14        7       900-935        142          152           18          14         2
*Customers should       510-516        142          152           18          14        6       936-939        142          152           18          14         3
  consult the chart      520-560        142          152           18          14        7       940-942        142          152           18          14         4
  on the following       561            142          152           18          14        6       943            142          152           18          14         3
  page to determine
                         562-567        142          152           18          14        7       944-949        142          152           18          14         4
  the zone for UPS
  air services           570-581        142          152           18          14        6       950-953        142          152           18          14         3
  (inter-island).        582            142          152           18          14        7       954-961        142          152           18          14         4
                         583-588        142          152           18          14        6       962-966         -            -             -           -         -
**See your Worldwide
                         590-591        142          152           18          14        5       967-968         *            *             *           *         †
   Zone Chart.
                         592-593        142          152           18          14        6       969             -            -            **          **         -
†Customers on Oahu      594            142          152           18          14        5       970-974        142          152           18          14         5
  should consult the     595            142          152           18          14        6       975-976        142          152           18          14         4
  chart on the follow­
                         596-599        142          152           18          14        5       977-986        142          152           18          14         5
  ing page to deter-
  mine the zone for      600-639        142          152           18          14        7       987             -            -             -           -         -
  UPS Ground service     640-649        142          152           18          14        6       988-994        142          152           18          14         5
  on Oahu.               650-655        142          152           18          14        7
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Hawaii – Domestic
UPS Next Day Air®
G U A R A N T E E D OV E R N I G H T BY 10 :30 A . M .*



 Zones           12       142†       144†      146†    Zones           12       142†       144†        146†     Zones           12       142†       144†      146†
 Letter**     $9.90     $25.30    $25.30    $35.40     31 Lbs.     $23.40   $134.50 $134.50 $156.60             61 Lbs.     $36.40    $228.20 $228.20 $257.50
 1 Lbs.        9.90      40.00     40.00     56.00     32           23.80    137.50     137.50    159.50        62           36.60     232.10    232.10    262.30
 2            10.80      43.40     43.40     60.10     33           24.00    140.20     140.20    162.20        63           37.00     236.80    236.80    267.00
 3            11.80      47.60     47.60     67.00     34           24.40    143.30     143.30    165.50        64           37.60     241.00    241.00    271.90
 4            12.40      51.80     51.80     70.80     35           25.00    146.10     146.10    168.70        65           38.20     244.90    244.90    276.40
 5           13.40      55.90     55.90     74.20     36           26.00    149.10     149.10    171.60        66           38.90     249.20    249.20    281.10
 6            13.70      59.70     59.70     78.50     37           26.60    151.60     151.60    174.30        67           39.50     253.10    253.10    286.10
 7            14.00      63.30     63.30     82.70     38           26.90    154.90     154.90    177.90        68           40.70     257.40    257.40    289.90
 8            14.30      67.10     67.10     86.30     39           27.20    157.90     157.90    181.10        69           41.70     261.70    261.70    294.90
 9            14.60      71.20     71.20     89.70     40           27.50    160.80     160.80    184.30        70           42.60     265.50    265.50    299.30
 10           15.20      75.30     75.30     93.80     41           28.10    163.40     163.40    187.40        71           44.20     269.30    269.30    303.40
 11           15.60      78.60     78.60     97.30     42           28.50    165.80     165.80    190.60        72           45.20     273.00    273.00    307.60
 12           15.90      81.80     81.80    100.80     43           28.80    167.60     167.60    193.40        73           45.80     277.10    277.10    311.80
 13           16.50      84.70     84.70    104.30     44           29.10    169.80     169.80    196.20        74           46.50     281.70    281.70    316.10
 14           16.80      87.60     87.60    107.60     45           29.40    172.40     172.40    199.40        75           46.70     286.00    286.00    320.40
 15           17.10      91.20     91.20    110.90     46           29.70    176.30     176.30    202.40        76           47.10     289.90    289.90    324.20
 16           17.70      94.60     94.60    114.50     47           30.00    178.80     178.80    205.40        77           47.30     293.80    293.80    328.70
 17           18.20      97.60     97.60    117.10     48           30.30    181.30     181.30    207.90        78           47.70     297.70    297.70    332.20
 18           18.40     100.20    100.20    120.20     49           31.00    183.10     183.10    210.70        79           47.90     301.50    301.50    336.90
 19           18.80     103.00    103.00    122.70     50           31.60    183.80     183.80    213.60        80           48.50     306.00    306.00    341.50
 20           19.00     106.10    106.10    125.80     51           32.20    185.50     185.50    217.70        81           49.20     309.90    309.90    345.30
 21           19.60     108.80    108.80    128.40     52           32.80    189.00     189.00    221.20        82           49.80     313.70    313.70    350.10
 22           20.00     111.60    111.60    131.00     53           33.20    191.60     191.60    224.90        83           50.20     318.00    318.00    353.80
 23           20.20     114.00    114.00    133.40     54           33.90    194.80     194.80    228.70        84           50.40     321.90    321.90    358.40
 24           20.90     116.50    116.50    136.30     55           34.50    197.40     197.40    232.70        85           51.00     325.80    325.80    362.70
 25           21.30     118.20    118.20    139.00     56           34.70    200.90     200.90    236.70
 26           21.50    121.10     121.10    142.10     57           35.10    204.70     204.70    241.00
 27           21.90     123.60    123.60    144.70     58           35.30    210.40     210.40    244.50
 28           22.10     126.10    126.10    147.40     59           35.70    216.20     216.20    248.80
 29           22.50     128.40    128.40    150.40     60           35.90    222.40     222.40    253.60
 30           22.70     131.40    131.40    153.50
Refer to pages 47 to 52 for value-added services      – A Heavy Package sticker is required for any             corresponding to the weight of the Express
rates and other charges.                                 package weighing more than 70 pounds.                   Envelope. Express Envelopes are not recom-
– Any fraction of a pound more than the weight       *Visit ups.com® or call 1-800-Pick-UPS® for               mended for shipments of electronic media
   shown in the rate chart is rounded up to the        guarantee details, service availability, delivery         containing sensitive personal information.
   next whole pound.                                   time commitments or to request a pickup.                 †Service not available from all origin ZIP Codes.
– For large or heavy packages, addi­tional charges   **The Letter rate applies only to documents,               Refer to ups.com/rates to view your origin ZIP
  may apply. Refer to pages 7 and 8 for more             correspondence and electronic media ship-               CodeTM Zone Chart.
  information.                                           ments that do not exceed eight ounces sent
– Dimensional weight may apply. Refer to pages          in an Express Envelope. Express Envelopes
   7 and 8 for more information.                         exceeding eight ounces are subject to the rate




                                                                                                              H AWA I I         R E TA I L          R AT E S
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Alaska and Hawaii – Export
Determine the Zone
To find the destination zone that matches the service option you’ve selected,
consult the Worldwide Zone Chart on pages 54 to 57. For exports to Canada,
use the Canada Zone Chart on pages 59 to 61.

An Extended Area Surcharge may apply to certain destinations within a country.
Extended Area destinations are subject to change. For the most current information,
refer to ups.com/rates or call 1-800-782-7892.




UPS Worldwide Express Plus®, UPS Worldwide Express®,
UPS Worldwide Saver® and UPS Worldwide Expedited®
1. Locate the destination country on the Worldwide Zone Chart beginning on page 54.

2. Locate the zone for UPS Worldwide Express Plus,        Destination                               Zones
UPS Worldwide Express, UPS Worldwide Saver or                                         Express
                                                                                                Express
                                                                                                            Saver
                                                                                                                    Expedited
                                                                                       Plus               (Express)
UPS Worldwide Expedited. The service is not available
when a zone number is not shown in the appropriate        Ireland, Republic of/IE      901       901        401       631
column.                                                   Israel/IL                              905        405       635
                                                          Italy/IT                     901       901        401       631
Examples:
UPS Worldwide Express Plus service is available to
major business centers in Italy, and the zone is 901.

For a UPS Worldwide Express shipment from
anywhere in the U.S. to Italy, the zone is also 901.

For a UPS Worldwide Saver shipment from
anywhere in the U.S. to Italy, the zone is 401.

For a UPS Worldwide Expedited shipment
to the Republic of Ireland, the zone is 631.




UPS WorldShip®, UPS Internet Shipping, UPS CampusShip®,
UPS MobileTM, the UPS Developer Kit or a UPS Ready® solution
will automatically determine the zone and rate for you.
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Alaska and Hawaii – Export
UPS Worldwide Express®
G U A R A N T E E D T WO TO F O U R DAYS BY 10 :30 A . M . O R 12: 0 0 P. M .*



 Zones               81           82           84       901          903          904          905             906           907          908          909           912
 72 Lbs.        $346.25      $376.25      $385.50   $613.75     $702.75       $828.75      $839.75     $1,211.00        $1,370.00   $1,367.50      $574.00      $755.50
 74              356.75       387.25       391.25    626.50       718.75       849.75       860.25      1,237.25         1,396.75    1,407.75       584.25       787.25
 76              361.75       393.50       397.25    640.75       735.75       869.25       880.75      1,261.50         1,427.50    1,438.50       600.75       790.75
 78              363.75       394.75       402.25    655.75       752.25       888.75       900.75      1,286.25         1,456.25    1,467.50       614.00       806.25
 80              367.00       396.75       408.50    657.25       768.50       909.00       921.00      1,310.50         1,484.75    1,496.25       627.00       829.50
 82              370.75       402.50       413.25    680.00       784.25       922.75       936.50      1,328.75         1,513.00    1,524.50       638.00       839.50
 84              380.25       414.25       417.50    692.25       792.25       942.75       957.00      1,340.25         1,542.25    1,547.00       648.50       855.75
 86              386.00       424.75       423.00    699.75       813.50       971.25       979.25      1,352.50         1,571.00    1,583.25       653.25       866.50
 88              389.00       428.00       425.50    713.25       826.25       988.25       998.75      1,364.00         1,599.75    1,612.25       665.50       880.75
 90              392.25       434.75      430.50     721.50       849.75       999.50     1,029.25      1,389.00         1,644.25    1,640.50       682.75       903.00
 92              393.50       436.75      437.00     731.75       869.25     1,018.75     1,049.50      1,401.00         1,673.50    1,686.50       692.25       923.00
 94              395.25       442.50      441.00     746.25       885.25     1,037.75     1,069.00      1,412.75         1,708.50    1,692.50       706.00       944.00
 96              398.00       444.50      445.00     759.50       897.75     1,056.75     1,089.00      1,426.00         1,761.50    1,745.00       714.50       961.25
 98              403.00       446.00      449.50     773.75       912.75     1,075.50     1,108.25      1,442.25         1,790.50    1,773.50       741.50       969.00
 100             407.00       450.00      454.00     784.50       922.50     1,094.75     1,126.75      1,460.00         1,818.25    1,801.00       755.50       976.50
 105             422.50       462.25      475.75     800.50       968.50     1,126.75     1,183.00      1,513.00         1,900.00    1,891.00       789.25     1,011.50
 110             442.75       484.00      498.50     838.50     1,017.25     1,196.25     1,228.25      1,603.75         1,988.00    1,981.00       826.75     1,055.50
 115             462.75       509.00      521.00     872.50     1,061.25     1,250.75     1,284.00      1,676.25         2,078.25    2,071.25       864.25     1,100.00
 120             482.75       531.00      543.75     918.50     1,108.25     1,305.25     1,339.75      1,748.75         2,168.50    2,161.00       901.75     1,144.25
 125             503.00       553.25      566.25     961.75     1,155.75     1,359.50     1,395.50      1,824.75         2,259.00    2,251.00       939.50     1,188.75
 130             523.25       575.00      589.00    1,000.00    1,200.75     1,413.75     1,451.25      1,887.75         2,349.50    2,341.25       977.00     1,233.00
 135             543.50       597.50      611.50    1,038.50    1,244.50     1,468.25     1,507.00      1,943.50         2,439.50    2,431.25     1,014.50     1,277.50
 140             563.25      619.25       634.25    1,076.50    1,288.25     1,522.50     1,562.75      2,018.00         2,530.00    2,521.25     1,051.75     1,321.50
 145             583.50      641.50       656.75    1,115.00    1,337.50     1,577.00     1,618.50     2,074.75          2,620.50    2,611.50     1,089.50     1,366.00
 150             603.25      663.50       679.50    1,153.50    1,381.50     1,631.25     1,674.00     2,146.25          2,710.75    2,701.25     1,127.00     1,410.25



UPS Worldwide Express Shipments of More Than 150 Lbs.**
 Zones                81          82           84       901          903          904           905            906            907          908          909          912
 Price Per
                   $4.03       $4.43        $4.54      $7.70       $9.21       $10.88        $11.16          $14.31        $18.07       $18.01        $7.52        $9.40
 Pound
 Minimum
                  603.25      663.50       679.50   1,153.50    1,381.50     1,631.25      1,674.00     2,146.25         2,710.75     2,701.25     1,127.00     1,410.25
 Rate
Note: Delivery times may vary by destination          – Dimensional weight may apply. Refer to pages                 *Visit ups.com® or call 1-800-Pick-UPS® for
postal code.                                             7 and 8 for more information.                                  guarantee details, service availability, delivery
Refer to pages 72 to 74 for value-added               – For larger packages, additional charges may apply.             time commitments or to request a pickup.
services rates and other charges.                        Refer to pages 7 and 8 for more information.                 **Applies to single-package shipments with a
– The rates shown are for shipments originating      – To determine the rate for international multiple-               dimensional weight of more than 150 pounds
  in the U.S.                                           package shipments, refer to page 62.                             and multiple-package shipments of more than
                                                                                                                         150 pounds.
– Any fraction of a pound more than the weight       – A Heavy Package sticker is required for any
   shown in the rate chart is rounded up to the          package weighing more than 70 pounds.
   next listed weight.




                                                                       A L A S K A            A N D           H AWA I I               R E TA I L           R AT E S
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Alaska and Hawaii – Export
UPS Worldwide Saver®
G U A R A N T E E D T WO TO F O U R DAYS BY E N D O F DAY *



 Zones              481         482         484          401        402         403         404         405        406         407         408         409         412
 Letter**        $34.90      $36.20      $37.50        $48.60    $47.90      $55.40      $56.00      $57.60      $70.20    $106.80    $107.60       $46.50      $54.70
 Pak 1 Lbs.***    56.20       58.00       58.90         67.10      62.00       79.10      77.20       74.90       84.80     126.20      126.50       62.70       73.90
 Pak 2 Lbs.***    59.80       63.00       60.90         69.80      69.30       79.40      88.60       80.30      112.80     151.20      151.60       65.50       78.90
 1 Lbs.           59.60       65.00       62.20         72.80      71.90       88.30      82.80       82.30       95.20     132.20      130.10       69.70       80.70
 2                66.90       71.40       70.20         85.40      82.80     105.30       94.70       95.40      119.90     152.50      152.20       80.60       93.10
 3                75.90       79.30       82.90         99.90      97.00     118.70      107.20      108.50      143.10     186.90      184.80       98.00      105.80
 4                82.50       88.60       90.40        114.10    109.70      131.60      120.90      122.40      167.30     211.70      209.10      111.80      114.40
 5               85.90       94.60      100.50        126.90    123.40      140.90      133.90      135.30      191.00     237.00      234.80      124.50     126.20
 6                88.90       98.60      109.80        135.80    134.80      151.40      146.90      147.60      214.90     252.50      250.60      131.70     138.30
 7                91.70      103.90      119.40        143.30    144.10      161.50      159.60      159.50      239.00     273.60      272.00      139.30     151.10
 8                96.20      110.30      129.70        150.60    152.20      171.30      172.50      172.40      260.90     293.70      292.80      148.70     163.00
 9                99.50      114.80      135.40        159.00    152.50      183.90      184.20      185.10      282.30     312.00      310.60      155.30     175.30
 10              103.20      120.40      141.80        168.30    155.20      192.90      196.60      197.40      304.00     320.70      318.40      161.20     187.10
 11              106.90      122.60     149.50         170.90    160.50      204.10      209.20      208.70      323.30     333.80      334.50      165.30     195.00
 12              107.40      124.80     154.20         176.80    171.60      210.40      221.30      221.60      345.10     349.10      347.70      171.50     202.40
 13              116.60      134.80     160.60         187.80    181.00      218.30      233.80      234.10      366.40     391.50      388.00      179.70     218.00
 14              121.80      140.70     166.30         197.00    185.90      226.90      245.30      246.10      385.10     410.90      406.50      185.80     225.00
 15              126.50      145.40     171.80         204.00    203.70      234.40      257.80      258.30      404.80     430.90      425.00      195.80     236.10
 16              131.40      150.10     178.80         211.20    210.20      246.20      267.40      268.10      423.50     450.40      445.40      202.80     246.10
 17              135.00      154.30     185.30         218.40    219.70      254.30      276.80      278.00      440.90     471.00      463.80      209.70     257.80
 18              139.90      160.60     190.80         226.50    221.10      262.70      287.50      287.80      456.30     492.10      486.40      217.30     266.40
 19              143.70      165.50     194.50         233.10    236.60      267.90      297.00      297.80      471.90     512.00      505.40      223.80     275.00
 20              149.10      171.00     197.70         241.10    239.60      277.70      308.20      307.30      487.80     532.10      524.60      229.80     284.30
 21              153.90      175.80     200.50         248.80    240.90      286.80      315.80      317.00      505.10     555.90      543.70      239.40     292.90
 22              157.90      180.50     200.80         254.30    243.30      292.00      327.70      326.40      522.00     574.60      562.00      249.00     299.30
 23              162.00      184.30     204.00         261.30    251.20      299.70      335.50      336.60      534.10     585.20      578.00      252.80     307.80
 24              163.70      186.30     206.20         268.50    257.90      306.20      344.90      345.40      550.10     603.80      593.00     254.80      315.00
 25              165.50      188.80     210.50         275.00    264.30      314.10      354.20      355.60      566.70     618.60      610.60      259.00      322.90
 26              174.20      200.20      218.60        282.80    279.10      321.50      360.80      365.50      581.60     641.80      636.90      266.10      333.40
 27              181.90      210.60      227.40        288.80    282.20      328.00      370.00      375.20      596.80     659.70      656.30      280.20      341.80
 28              189.30      213.30      232.80        295.70    283.70      335.90      379.50      384.90      612.00     677.60      673.30      287.00      350.60
 29              192.80      216.00      236.20        301.60    291.30      343.10      389.10      394.60      624.90     694.60      690.70      292.70      359.60
 30              196.60      219.80      239.20        307.60    295.70      353.60      399.00      404.40      638.20     712.60      708.00      299.60      368.40
Note: Delivery times may vary by destination                *Visit ups.com® or call 1-800-Pick-UPS® for            ***The Pak rate will apply to Letters weighing
postal code.                                                 guarantee details, service availability, delivery          more than eight ounces, but less than the weight
Refer to pages 72 to 74 for value-added                      time commitments or to request a pickup.                   shown. Pak rates also apply when:
services rates and other charges.                          **The Letter rate applies only to documents,                – The shipment is in a UPS Pak.
– The rates shown are for shipments originating              correspondence and electronic media shipments             – UPS Pak is selected at the time of shipping.
   in the U.S.                                                of no commercial value that do not exceed                 – Customs value of the shipment is less
                                                              eight ounces sent in an Express Envelope.                    than $100.00.
– Any fraction of a pound more than the weight               Express Envelopes containing items other than
   shown in the rate chart is rounded up to the                                                                         – The shipment weighs less than or equal to
                                                              those listed above or exceeding eight ounces                 one or two pounds. Shipments above two
   next listed weight.                                        are subject to the rate corresponding to the                 pounds are rated by weight.
– Dimensional weight may apply. Refer to pages               weight of the Express Envelope. Express
   7 and 8 for more information.                              Envelopes are not recommended for shipments
                                                              of electronic media containing sensitive
– To determine the rate for international multiple-          personal information.
   package shipments, refer to page 62.
                                                                           A L A S K A            A N D          H AWA I I           R E TA I L          R AT E S
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Alaska and Hawaii – Export
UPS Worldwide Expedited®
G U A R A N T E E D DAY- D E F I N I T E T H R E E TO S E V E N DAYS BY E N D O F DAY *



 Zones               71           72           74    601/631     602/632      603/633      604/634       605/635       606/636      607/637      609/639      612/642
 92 Lbs.        $324.35     $343.00       $351.70    $495.05     $526.40       $554.55      $689.80      $614.30       $950.15         $968.55   $545.45         $608.80
 94              326.75      347.55        368.00     498.80       534.15       558.00       698.30        617.15        956.05         974.55     551.35         616.35
 96              331.35      349.95        369.05     502.85       541.60       561.45       706.40        620.80        958.05         980.15     556.90         623.50
 98              332.60      352.75        369.90     508.50       549.05       565.40       715.00        624.85        959.40         987.10     563.10         631.15
 100             337.30      353.80        378.50     519.65       562.40       568.25       723.25        630.60        960.60         991.70     574.30         638.00
 105             351.80      370.75        395.80     537.05       583.55       589.30       746.70        645.10        988.80     1,030.05       591.65         658.70
 110             366.45      387.40        412.70     556.35       611.25       605.70       768.95        663.70      1,016.45     1,064.50       613.25         678.30
 115             380.55      403.60        427.85     574.75       633.00       633.85       793.65        678.25      1,064.10     1,088.55       646.10         700.15
 120             398.85      424.35        446.65     591.25       660.45       650.65       820.15        702.90      1,109.10     1,128.90       668.50         723.45
 125             413.50      441.15        465.20     601.75       683.00       680.55       843.40        719.65      1,134.75     1,154.40       684.50         744.00
 130             429.80      453.45        483.80     617.10       706.05       688.90       867.05        722.25      1,160.20     1,174.45       695.35         764.85
 135             446.45      470.15        502.10     637.15       713.20       696.20       890.30        724.85      1,206.90     1,200.95       703.00        785.40
 140             455.65      486.80        517.05     644.80       716.35       725.90       906.20        732.80      1,248.15    1,241.80        726.45        803.90
 145             463.25      492.35        527.50     651.75       727.45       726.10       913.35        733.80      1,259.60    1,263.50        732.75        816.35
 150             470.90      495.95        548.00     661.30       734.55       727.45       933.20        735.70      1,281.45    1,300.75        747.05        826.20



UPS Worldwide Expedited Shipments of More Than 150 Lbs.**
 Zones             71           72           74     601/631    602/632       603/633      604/634       605/635       606/636      607/637       609/639      612/642
 Price Per
                $3.14        $3.31         $3.65      $4.24       $4.90         $4.86         $6.23        $4.91         $8.55          $9.17       $4.83          $5.51
 Pound
 Minimum
               470.90      495.95         548.00     661.30      734.55        727.45       933.20        735.70      1,281.45     1,300.75       747.05          826.20
 Rate
Refer to pages 72 to 74 for value-added                – Dimensional weight may apply. Refer to pages              *Visit ups.com or call 1-800-Pick-UPS for
                                                                                                                                   ®                         ®

services rates and other charges.                         7 and 8 for more information.                               guarantee details, service availability, delivery
– The rates shown are for shipments originating       – For larger packages, additional charges may apply.          time commitments or to request a pickup.
   in the U.S.                                            Refer to pages 7 and 8 for more information.              **Applies to single-package shipments with a
– Any fraction of a pound more than the weight        – To determine the rate for international multiple-            dimensional weight of more than 150 pounds
   shown in the rate chart is rounded up to the           package shipments, refer to page 62.                         and multiple-package shipments of more than
   next listed weight.                                                                                                 150 pounds.
                                                       – A Heavy Package sticker is required for any
                                                          package weighing more than 70 pounds.




                                                                        A L A S K A            A N D           H AWA I I            R E TA I L           R AT E S
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Alaska and Hawaii – Export
Other Charges*
The following information applies to all UPS international package services unless otherwise indicated.

 Charges                         Description                                                                                         Fee
 Additional Handling             – An Additional Handling charge will be assessed for any package that requires special handling,   $8.00
                                    as deter­mined by UPS in its sole discretion, including, but not limited to:
                                   • Any article that is encased in an outside shipping container made of metal or wood.
                                   • Any cylindrical-like item, such as a barrel, drum, pail or tire, that is not fully encased
                                      in a corrugated cardboard shipping container.
                                   • Any package with the longest side exceeding 60 inches or its second-longest side
                                      exceeding 30 inches.
                                   • Any package with an actual weight of more than 70 pounds.
                                   • Each package in a shipment where the average weight per package is greater than
                                      70 pounds and the weight for each package is not specified on the source document
                                      or the UPS automated shipping system used.
                                 – Will not be assessed when a Large Package Surcharge is applied.
 Address Correction              – If UPS is unable to deliver a package as addressed by the shipper or if the package has          $11.00
                                    an invalid, incorrect or incomplete address, UPS will make reasonable efforts, to be
                                    determined by UPS, to secure the correct or complete address. If the correct or complete
                                    address is secured, UPS will attempt delivery, shipper will be provided with the correct
                                    address and an Address Correction charge will be assessed for UPS Worldwide Express
                                    Plus®, UPS Worldwide Express®, UPS Worldwide Saver® and UPS Worldwide Expedited®.
 Extended Area Surcharge         – An Extended Area Surcharge applies to UPS Worldwide Express Plus, UPS Worldwide Express,         Greater of $24.00 or $0.25
                                    UPS Worldwide Saver and UPS Worldwide Expedited shipments for some inter­national                per pound
                                    origins and destinations.
                                 – Visit ups.com/rates or call 1-800-782-7892 to determine if a particular origin or destination
                                    is classified as an Extended Area.
 Large Package Surcharge         – A package is considered a “Large Package” when its length plus girth [(2 x width) +              $50.00
                                    (2 x height)] combined exceeds 130 inches, but does not exceed the maximum UPS size
                                    of 165 inches.
                                 – Large Packages are subject to a minimum billable weight of 90 pounds.
                                 – An Additional Handling charge will not be assessed when a Large Package Surcharge
                                    is applied.
 Over Maximum Limits             – Packages in the UPS system are subject to maximum limits which will result in an addi-           $50.00
                                    tional charge.
                                 – Refer to the “UPS Tariff/Terms and Conditions” beginning on page 82 for more information.
 Special Handling of             – For all international packages refused by the consignee, or which cannot be delivered            Applicable costs plus $10.00 per
 Undeliverable Packages             due to any other cause beyond UPS’s control, UPS will contact the shipper for further            undeliverable shipment
                                    instructions.
                                 – Forwarding costs, return transportation charges, duties, taxes and a return surcharge apply
                                    to any return, at the shipper’s expense.
                                 – The UPS Service Guarantee does not apply to undeliverable packages returned to the
                                    shipper.
*May vary at retail locations.
Note: Fuel surcharges apply to value-added services associated with pickup, transport and delivery. For current fuel surcharges,
where applicable, visit ups.com.




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                                                                                                                                       Effective January 3, 2011

UPS Tariff/Terms and Conditions
F O R PAC K AG E S H I P M E N T S I N T H E U N I T E D STAT E S

– loss or damage to human remains, fetal                UNDER NO CIRCUMSTANCES SHALL                            The effective Service Guide and the description
   remains, human body parts, or components              UPS BE LIABLE FOR ANY SPECIAL,                          of UPS® services at ups.com®, and any modifica­
   thereof;                                              INCIDENTAL, OR CONSEQUENTIAL                            tions or amendments of them, are hereby incor­
– loss or damage to fluorescent tubes or bulbs;         DAMAGES INCLUDING, BUT NOT                              porated by reference in these Terms. The current
                                                         LIMITED TO, DAMAGES ARISING FROM                        version of the Terms supersedes all previous UPS
– loss or damage due to war risks, acts of God,
                                                         LOSS, MIS­DELIVERY OF, OR DAMAGE                        Tariffs, UPS Terms and Conditions of Service,
   natural disasters, acts of terrorism, nuclear
                                                         TO PROPERTY, DELAYED DELIVERY,                          and UPS Tariff/Terms and Conditions of Service.
   damage, acts of public authorities acting with
                                                         OR FAILURE TO ATTEMPT DELIVERY IN                       The Terms and the UPS Source Document for
   actual or apparent authority, acts or omissions
                                                         ACCORDANCE WITH THE UPS SERVICE                         each shipment together comprise the complete
   of customs or similar authorities, authority
                                                         GUARANTEE, WHETHER OR NOT UPS                           and exclusive agreement of the parties, except as
   of law, the appli­­ca­­tion of security regulations
                                                         HAD KNOWLEDGE SUCH DAMAGES                              modified by any existing or future written agree­
   imposed by the government or otherwise appli­­-
                                                         MIGHT BE INCURRED. UNDER NO                             ment between the parties, and may not be contra­
   cable to the ship­­ment, riots, strikes or other
                                                         CIRCUMSTANCES SHALL UPS BE LIABLE                       dicted or modified by any oral agreement.
   labor disputes, civil unrest, disruptions in air
                                                         FOR ANY DAMAGES WHATSOEVER FOR
   or ground transportation networks, disruption                                                                 UPS reserves the right to unilaterally modify or
                                                         DELAYED DELIVERY, EXCEPT AS SPECIFI­
   or failure of communication and information                                                                   amend any portion of the Service Guide or the
                                                         CALLY PROVIDED FOR SHIPMENTS MADE
   systems, or natural disasters;                                                                                Terms at any time without prior notice.
                                                         UNDER THE UPS SERVICE GUARANTEE.
– loss or damage to any package for which UPS
                                                                                                                 Any failure to enforce or apply a term or provi­
   has no record reflecting that the package was         Acceptance for carriage of any package or ship­
                                                                                                                 sion of the Service Guide or the Terms shall not
   tendered to UPS by the shipper; or                    ment containing articles that shippers are prohib­
                                                                                                                 constitute a waiver of that term or provision by
– loss or damage to any package containing              ited from shipping, that UPS does not or is not
                                                                                                                 UPS, and shall not diminish or impair UPS’s right
   articles that shippers are prohibited from ship­      authorized to accept for transportation, that UPS
                                                                                                                 to enforce such term or provision in the future.
   ping, that UPS does not or is not authorized to       states it will not accept, or that UPS has a right to
                                                                                                                 If one or more provisions of the Terms shall
   accept for transportation, that UPS states that       refuse, does not constitute a waiver of any provi­
                                                                                                                 be held to be invalid, illegal, or unenforceable,
   it will not accept, or that UPS has a right to        sions of the Terms or Service Guide limiting
                                                                                                                 the validity, legality, and enforceability of the
   refuse.                                               UPS’s liability or responsibility for any such
                                                                                                                 remaining provisions shall not be so affected
                                                         package or shipment.
UPS shall not be liable for any loss or damage                                                                   or impaired.
arising from providing service to, or on behalf          50. Shipper Indemnification
of, a person or entity that obtains such services,       The shipper agrees to indemnify, defend and hold
including the delivery of property, by trick, false      harmless UPS, its parent corporation, and affili­
pretense, or other fraudulent scheme.                    ated companies, their officers, directors, employ­
                                                         ees, agents, and their successors and assigns,
UPS shall not be liable for any damages arising
                                                         from all claims, demands, expenses, liabilities,
from UPS’s inability, failure, or refusal to comply
                                                         causes of action, enforcement procedures, and
with a request to stop, return, or re-route ship­
                                                         suits of any kind or nature brought by a govern­
ment of a package after tender to UPS.
                                                         mental agency, or any other person or entity,
UPS shall not be liable for any interruption             arising from or relating to the shipper’s noncom­
of service due to causes beyond UPS’s control            pliance with governmental laws or regulations
including, but not limited to, the following: the        applicable to the package or UPS requirements
unavailability or refusal of a person to accept          applicable to the package, from shipper’s tender­
delivery of the shipment, acts of God, acts of           ing any prohibited item for shipment, or from
public authorities acting with actual or apparent        shipper’s failure to comply with the Terms.
authority, acts or omissions of customs or similar
authorities, insufficient information provided by        51. Incorporation of Terms; Waiver; Future Changes
a customer, Hazardous Materials packages                 All shipments are subject to the terms and condi­
improperly offered for transport, the application        tions contained in the Terms.
of security regulations imposed by the govern­
                                                         UPS may engage subcontractors to perform
ment or otherwise applicable to the shipment,
                                                         transportation and incidental services. UPS
riots, a government agency hold, strikes or other
                                                         contracts on its own behalf and on behalf of
labor disputes, civil unrest, disruptions of any
                                                         its servants, agents and subcontractors, each
kind in air or ground transportation networks,
                                                         of whom shall have the benefit of these Terms.
and natural disasters.
                                                         No such party has authority to waive or vary
                                                         any of these terms and conditions.
